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                     EXHIBIT 2
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New Entrant Report | U.S. Office of Government Ethics; 5 C.F.R. part 2634 | Form Approved: OMB No. (3209-0001) (March 2014)

Executive Branch Personnel
Public Financial Disclosure Report (OGE Form 278e)

Filer's Information
Kushner, Jared

Assistant to the President & Senior Adviser to the President, White House

Date of Appointment: 01/22/2017


Other Federal Government Positions Held During the Preceding 12 Months:
None



Electronic Signature - I certify that the statements I have made in this form are true, complete and correct to the best of my knowledge.

/s/ Kushner, Jared C [electronically signed on 03/09/2017 by Kushner, Jared C in Integrity.gov] - Filer received a 18 day filing extension.



Agency Ethics Official's Opinion - On the basis of information contained in this report, I conclude that the filer is in compliance with applicable laws and regulations
(subject to any comments below).
/s/ Schultz, James D, Certifying Official [electronically signed on 03/31/2017 by Schultz, James D in Integrity.gov]



Other review conducted by
/s/ Schultz, James D, Ethics Official [electronically signed on 03/31/2017 by Schultz, James D in Integrity.gov]



U.S. Office of Government Ethics Certification
/s/ Apol, David, Certifying Official [electronically signed on 07/20/2017 by Apol, David in Integrity.gov]
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Data Revised 07/20/2017


Data Revised 07/19/2017


Data Revised 07/18/2017


Data Revised 07/17/2017


Data Revised 07/15/2017


Data Revised 07/14/2017


Data Revised 07/13/2017


Data Revised 07/12/2017


Data Revised 07/11/2017


Data Revised 07/07/2017


Data Revised 06/26/2017


Data Revised 06/21/2017


Data Revised 06/13/2017


Data Revised 06/11/2017


Data Revised 06/09/2017


Data Revised 06/08/2017


Data Revised 06/06/2017
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Data Revised 06/05/2017


Data Revised 05/25/2017


Data Revised 05/24/2017


Data Revised 05/19/2017


Data Revised 05/18/2017


Data Revised 05/17/2017


Data Revised 05/16/2017


Data Revised 05/15/2017


Data Revised 05/12/2017


Data Revised 05/11/2017


Data Revised 05/10/2017


Data Revised 05/05/2017


Data Revised 05/03/2017


Data Revised 05/02/2017


Data Revised 04/27/2017


Data Revised 04/26/2017


Data Revised 04/25/2017
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Data Revised 04/19/2017


Data Revised 03/31/2017


Data Revised 03/30/2017


Data Revised 03/23/2017


Data Revised 03/22/2017
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1. Filer's Positions Held Outside United States Government
#      ORGANIZATION NAME                                             CITY, STATE     ORGANIZATION        POSITION HELD   FROM      TO
                                                                                     TYPE

1      184 Kent Associates, LLC                                      New York, New   Limited Liability   Managing        4/2015    1/2017
                                                                     York            Company             Member

2      570 West Mount Pleasant Associates, LLC                       Florham Park,   Limited Liability   Managing        1/2012    1/2017
                                                                     New Jersey      Company             Member

3      570 West Mount Pleasant Realty Corp.                          Florham Park,   Corporation         President       1/2012    1/2017
       (Residential Real Estate in Livingston, NJ)                   New Jersey

4      Chatham Hill Associates, LLC                                  Florham Park,   Limited Liability   Managing        9/2015    1/2017
                                                                     New Jersey      Company             Member

5      Gellert 80 West End, LLC                                      Florham Park,   Limited Liability   Managing        7/2013    1/2017
                                                                     New Jersey      Company             Member

6      Gowan Associates, LLC                                         New York, New   Limited Liability   Managing        8/2014    1/2017
                                                                     York            Company             Member

7      K 26 Journal Square, LLC                                      Florham Park,   Limited Liability   Non-member      9/2016    1/2017
                                                                     New Jersey      Company             Manager

8      K 30 Journal Square Manager Corp.                             Florham Park,   Corporation         President       1/2013    1/2017
       (Commercial Real Estate in Jersey City, NJ)                   New Jersey

9      K Astoria, LLC                                                New York, New   Limited Liability   Non-member      8/2015    1/2017
                                                                     York            Company             Manager

10     K GAIA Village 1 Associates, LLC                              New York, New   Limited Liability   Non-member      7/2012    1/2017
                                                                     York            Company             Manager

11     K GAIA Village 2 Associates, LLC                              New York, New   Limited Liability   Non-member      1/2013    1/2017
                                                                     York            Company             Manager

12     K Stonehage Village 1 Associates, LLC           See Endnote   New York, New   Limited Liability   Managing        9/2013    1/2017
                                                                     York            Company             Member

13     Village KF 2 KM, LLC                                          New York, New   Limited Liability   Non-member      12/2013   1/2017
                                                                     York            Company             Manager

14     Village KF 4-9-10 Associates, LLC - New York,                 New York, New   Limited Liability   Non-member      12/2012   1/2017
       NY                                                            York            Company             Manager
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#    ORGANIZATION NAME                                              CITY, STATE     ORGANIZATION        POSITION HELD   FROM      TO
                                                                                    TYPE

15   K Maryland Associates, LLC                       See Endnote   Florham Park,   Limited Liability   Managing        7/2012    1/2017
                                                                    New Jersey      Company             Member

16   K Morgan Street Manager Corp (Residential                      Florham Park,   Corporation         President       11/2014   1/2017
     Real Estate in Jersey City, NJ)                                New Jersey

17   K Morgan Street Construction Manager                           Florham Park,   Corporation         President       11/2014   1/2017
     Corp. (Residential Real Estate in Jersey City,                 New Jersey
     NJ)

18   K Morgan Street Property Manager Corp.                         Florham Park,   Corporation         President       1/2016    1/2017
     (Residential Real Estate in Jersey City, NJ)                   New Jersey

19   K One Journal Square Manager Corp.                             Florham Park,   Corporation         President       12/2014   1/2017
     (Residential Real Estate in Jersey City, NJ)                   New Jersey

20   KC Dumbo Hotel, LLC                                            New York, New   Limited Liability   Non-member      10/2013   1/2017
                                                                    York            Company             Manager

21   KC Dumbo Office, LLC                                           New York, New   Limited Liability   Non-member      10/2013   1/2017
                                                                    York            Company             Manager

22   KF Middle River, LLC                                           Florham Park,   Limited Liability   Managing        7/2014    1/2017
                                                                    New Jersey      Company             Member

23   KF Westwood Partner, LLC                                       Florham Park,   Limited Liability   Managing        7/2014    1/2017
                                                                    New Jersey      Company             Member

24   Westwood Investors JV, LP                                      Florham Park,   Limited             Manager         7/2014    1/2017
                                                                    New Jersey      Partnership

25   K/S Westwood GP, LLC (Residential Real                         Florham Park,   Limited Liability   Non-member      7/2014    1/2017
     Estate in Westwood and River Vale, NJ)                         New Jersey      Company             Manager

26   BLS Manager, LLC (Residential Real Estate in                   New York, New   Limited Liability   Non-member      4/2014    1/2017
     Brooklyn, NY)                                                  York            Company             Manager

27   KC Profit Participation, LLC (Holding                          New York, New   Limited Liability   Managing        4/2014    1/2017
     company for entities holding contingent                        York            Company             Member
     rights to ownership interests in real estate)

28   KFF 29 Second Avenue, LLC                                      New York, New   Limited Liability   Non-member      6/2014    1/2017
                                                                    York            Company             Manager

29   Kushner Midwest Partner 1, LLC                                 Florham Park,   Limited Liability   Managing        5/2011    1/2017
                                                                    New Jersey      Company             Member
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#    ORGANIZATION NAME                                         CITY, STATE     ORGANIZATION        POSITION HELD    FROM      TO
                                                                               TYPE

30   Kushner Philadelphia Member, LLC                          Florham Park,   Limited Liability   Non-member       1/2013    1/2017
                                                               New Jersey      Company             Manager

31   Monmouth Mall, LLC                                        Florham Park,   Limited Liability   Non-member       8/2015    1/2017
                                                               New Jersey      Company             Manager

32   Monmouth Mall 2, LLC                                      Florham Park,   Limited Liability   Non-member       8/2015    1/2017
                                                               New Jersey      Company             Manager

33   B Monmouth Mall, LLC                                      Florham Park,   Limited Liability   Non-member       8/2015    1/2017
                                                               New Jersey      Company             Manager

34   New Puck Corp.                                            New York, New   Corporation         President        6/2011    1/2017
                                                               York

35   New Puck Residential Corp. (Commercial                    New York, New   Corporation         Vice President   12/2013   1/2017
     Real Estate in New York, NY)                              York

36   STB Building Corp. (Residential Real Estate in            New York, New   Corporation         Vice President   3/2016    1/2017
     Leonia, NJ)                                               York

37   Skyline Kushner, LLC                                      Florham Park,   Limited Liability   Non-member       5/2012    1/2017
                                                               New Jersey      Company             Manager

38   Kushner Skyline Promote, LLC (Contingent                  Florham Park,   Limited Liability   Managing         5/2012    1/2017
     right to ownership interest in Skyline                    New Jersey      Company             Member
     Kushner LLC)

39   Skyline JV GP, LLC (Residential Real Estate in            Florham Park,   Limited Liability   Managing         5/2012    1/2017
     Hasbrouck Heights, NJ)                                    New Jersey      Company             Member

40   Times Square Associates, LLC                              New York, New   Limited Liability   Managing         10/2015   1/2017
                                                               York            Company             Member

41   Two Hundred Lafayette Kushner Manager,                    New York, New   Limited Liability   Managing         1/2012    1/2017
     LLC (Commercial Real Estate in New York,                  York            Company             Member
     NY)

42   Two Hundred Lafayette Kushner Member,                     New York, New   Limited Liability   Managing         1/2012    1/2017
     LLC (Commercial Real Estate in New York,                  York            Company             Member
     NY)

43   Two Hundred Lafayette Kushner Promote,                    New York, New   Limited Liability   Managing         1/2012    1/2017
     LLC (Commercial Real Estate in New York,                  York            Company             Member
     NY)

44   Warren at Bay Associates, LLC                             Florham Park,   Limited Liability   Non-member       1/2016    1/2017
                                                               New Jersey      Company             Manager
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#    ORGANIZATION NAME                                       CITY, STATE     ORGANIZATION        POSITION HELD   FROM      TO
                                                                             TYPE

45   WT 25 Columbia, LLC                                     New York, New   Limited Liability   Non-member      8/2016    1/2017
                                                             York            Company             Manager

46   55 Challenger Road Associates, LLC                      Florham Park,   Limited Liability   Managing        6/2012    1/2017
                                                             New Jersey      Company             Member

47   80 ML, LLC                                              New York, New   Limited Liability   Managing        8/2014    1/2017
                                                             York            Company             Member

48   Stone 16 Associates, LLC                                New York, New   Limited Liability   Non-member      3/2015    1/2017
                                                             York            Company             Manager

49   P.V. Development, LLC                                   Florham Park,   Limited Liability   Non-member      11/2015   1/2017
                                                             New Jersey      Company             Manager

50   Bruckner Plaza Center Corp.                             New York, New   Corporation         President       1/2007    1/2017
                                                             York

51   666 KC Management, LLC                                  New York, New   Limited Liability   Managing        10/2011   1/2017
                                                             York            Company             Member

52   JK2 Westminster, LLC (Management                        New York, New   Limited Liability   Managing        6/2012    12/2016
     Company, New York, NY)                                  York            Company             Member

53   Westminster Management, LLC                             New York, New   Limited Liability   Managing        1/2014    1/2017
                                                             York            Company             Member

54   Kushner Credit Opportunity Fund, LLC                    New York, New   Limited Liability   Managing        12/2016   1/2017
                                                             York            Company             Member

55   Flatbush 340 Lender, LLC                                New York, New   Limited Liability   Non-member      12/2015   1/2017
                                                             York            Company             Manager

56   Observer Media, LLC                                     New York, New   Limited Liability   Managing        1/2014    1/2017
                                                             York            Company             Member

57   Broadband Proliferation Partners, LLC                   New York, New   Limited Liability   Managing        12/2012   1/2017
                                                             York            Company             Member

58   DJNJ Frito, LLC                                         New York, New   Limited Liability   Non-member      1/2011    1/2017
                                                             York            Company             Manager

59   New Jersey Renewable Power Corp.                        Florham Park,   Corporation         President       5/2012    1/2017
                                                             New Jersey

60   Westminster Title Associates, LLC                       New York, New   Limited Liability   Managing        12/2012   1/2017
                                                             York            Company             Member
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#    ORGANIZATION NAME                                        CITY, STATE     ORGANIZATION        POSITION HELD      FROM      TO
                                                                              TYPE

61   Westminster Title Realty Corp. (Insurance                New York, New   Corporation         President          12/2012   1/2017
     brokerage license)                                       York

62   2 Rector Kushner Member, LLC                             New York, New   Limited Liability   Managing           6/2013    3/2016
                                                              York            Company             Member

63   O Townhomes KFF, LP (Loan originating                    New York, New   Limited             General Partner    6/2014    8/2016
     entity, New York, NY)                                    York            Partnership

64   K One Journal Square LLC                                 New York, New   Limited Liability   Managing           2/2014    1/2017
                                                              York            Company             Member

65   K2 One Journal Square Member LLC                         New York, New   Limited Liability   Manager            12/2014   1/2017
                                                              York            Company

66   One Journal Square Partners Holdings LLC                 New York, New   Limited Liability   President &        12/2014   1/2017
                                                              York            Company             Secretary

67   One Journal Square Tower North Holdings                  New York, New   Limited Liability   President &        12/2014   1/2017
     LLC                                                      York            Company             Secretary

68   One Journal Square Tower South Holdings                  New York, New   Limited Liability   President &        12/2014   1/2017
     LLC                                                      York            Company             Secretary

69   Columbia Corporate Center Building Corp.                 Florham Park,   Corporation         Vice President     3/2011    1/2017
     (Commercial Real Estate in Florham Park, NJ)             New Jersey

70   Columbia Corporate Center Development                    Florham Park,   Limited Liability   Special Member     3/2011    1/2017
     Associates, LLC                                          New Jersey      Company             & Vice President

71   25-30 Columbia Heights (Brooklyn) Venture,               New York, New   Limited Liability   Key Person         5/2016    1/2017
     LLC                                                      York            Company

72   K2 26JS Member LLC                                       New York, New   Limited Liability   Manager            4/2015    1/2017
                                                              York            Company

73   K2W2 26JS Holdings LLC                                   New York, New   Limited Liability   President &        4/2015    1/2017
                                                              York            Company             Secretary

74   Thirty Corp. (Office Space in Florham Park,              Florham Park,   Corporation         Vice President     3/2012    1/2017
     NJ)                                                      New Jersey

75   30 Journal Square Partners, LLC                          New York, New   Limited Liability   Manager            1/2013    1/2017
                                                              York            Company

76   K 30 Journal Square, LLC                                 New York, New   Limited Liability   Manager            1/2013    1/2017
                                                              York            Company
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#    ORGANIZATION NAME                                          CITY, STATE     ORGANIZATION        POSITION HELD    FROM      TO
                                                                                TYPE

77   Thirty Vreeland Associates, LLC                            Florham Park,   Limited Liability   Successor        9/2012    1/2017
                                                                New Jersey      Company             Manager

78   Vreeland Investment Realty Corp.                           Florham Park,   Corporation         Vice President   8/2008    1/2017
     (Commercial Real Estate in Florham Park, NJ)               New Jersey

79   55 Challenger, LLC                                         Florham Park,   Limited Liability   Manager          8/2012    1/2017
                                                                New Jersey      Company

80   Morgan Street Developers Joint Venture, LLC                New York, New   Limited Liability   Manager          7/2014    1/2017
                                                                York            Company

81   80 Maid LLC                                                New York, New   Limited Liability   Manager          8/2014    1/2017
                                                                York            Company

82   NK 80 Maiden Holdings LLC                                  New York, New   Limited Liability   Executive        8/2014    1/2017
                                                                York            Company             Committee

83   Village KF 2 Associates LLC                                New York, New   Limited Liability   President        12/2013   1/2017
                                                                York            Company

84   KCLW Acquisition Manager LLC                               New York, New   Limited Liability   Manager          1/2015    1/2017
                                                                York            Company

85   RP/K Kent Avenue, LLC                                      New York, New   Limited Liability   Executive        8/2014    1/2017
                                                                York            Company             Committee &
                                                                                                    Key Person

86   BLS Investors LLC (Residential Real Estate in              New York, New   Limited Liability   President        4/2014    1/2017
     Brooklyn, NY)                                              York            Company

87   KF-BLS Member LLC                                          New York, New   Limited Liability   President &      4/2014    1/2017
                                                                York            Company             Secretary

88   BLS Associates LLC                                         New York, New   Limited Liability   President        4/2014    1/2017
                                                                York            Company

89   K-BLS Portfolio LLC                                        New York, New   Limited Liability   Manager &        4/2014    1/2017
                                                                York            Company             President

90   27 Monroe Place LLC                                        New York, New   Limited Liability   Key Person       4/2014    1/2017
                                                                York            Company

91   38 Monroe Place LLC                                        New York, New   Limited Liability   Manager          4/2014    1/2017
                                                                York            Company

92   100 Pierrepoint Street LLC                                 New York, New   Limited Liability   President        4/2014    1/2017
                                                                York            Company
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#     ORGANIZATION NAME                                           CITY, STATE     ORGANIZATION        POSITION HELD    FROM      TO
                                                                                  TYPE

93    18 Sydney Place LLC                                         New York, New   Limited Liability   Managing         9/2014    1/2017
                                                                  York            Company             Member

94    89 Hicks Street LLC                                         New York, New   Limited Liability   Manager          9/2014    1/2017
                                                                  York            Company

95    144 Willow Street LLC                                       New York, New   Limited Liability   President &      9/2014    1/2017
                                                                  York            Company             Secretary

96    The Landings, Inc. (Real Estate in Perth                    Florham Park,   Corporation         Executive Vice   2/2007    1/2017
      Amboy, New Jersey)                                          New Jersey                          President &
                                                                                                      Authorized
                                                                                                      Signatory

97    Chatham Hill Holdings, LLC                                  New York, New   Limited Liability   Key Person       10/2015   1/2017
                                                                  York            Company

98    Landings Chicago Holding, LLC                               New York, New   Limited Liability   Manager          12/2007   1/2017
                                                                  York            Company

99    Landings Chicago Member, LLC                                New York, New   Limited Liability   Manager          1/2008    1/2017
                                                                  York            Company

100   Landings Chicago Associates, LLC                            New York, New   Limited Liability   Manager          1/2008    1/2017
                                                                  York            Company

101   Wallkill Chicago Holding, LLC                               New York, New   Limited Liability   Executive        12/2007   1/2017
                                                                  York            Company             Committee

102   Wallkill Chicago Member, LLC                                New York, New   Limited Liability   President        1/2008    1/2017
                                                                  York            Company

103   Wallkill Chicago Associates, LLC                            New York, New   Limited Liability   Manager          1/2008    1/2017
                                                                  York            Company

104   Elmwood Chicago Holding, LLC                                New York, New   Limited Liability   Executive        12/2007   1/2017
                                                                  York            Company             Committee &
                                                                                                      Key Person

105   Elmwood Chicago Member, LLC                                 New York, New   Limited Liability   President        1/2008    1/2017
                                                                  York            Company

106   Elmwood Chicago Associates, LLC                             New York, New   Limited Liability   President &      1/2008    1/2017
                                                                  York            Company             Secretary

107   Oakwood Chicago Holding, LLC                                New York, New   Limited Liability   President        12/2007   1/2017
                                                                  York            Company
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#     ORGANIZATION NAME                                         CITY, STATE     ORGANIZATION        POSITION HELD      FROM      TO
                                                                                TYPE

108   Oakwood Chicago Member, LLC                               New York, New   Limited Liability   Manager &          1/2008    1/2017
                                                                York            Company             President

109   Oakwood Chicago Associates, LLC                           New York, New   Limited Liability   Manager &          1/2008    1/2017
                                                                York            Company             President

110   Fifth K Two LLC                                           New York, New   Limited Liability   Manager            12/2011   1/2017
                                                                York            Company

111   95 Bauer Drive Associates, LLC                            New York, New   Limited Liability   Vice President &   5/2014    1/2017
                                                                York            Company             Secretary

112   19-05 Nevins Road Associates, LLC                         New York, New   Limited Liability   Vice President &   5/2014    1/2017
                                                                York            Company             Secretary

113   15-00 Pollitt Drive Associates, LLC                       New York, New   Limited Liability   Vice President &   5/2014    1/2017
                                                                York            Company             Secretary

114   17-01 Pollitt Drive Associates, LLC                       New York, New   Limited Liability   Vice President &   5/2014    1/2017
                                                                York            Company             Secretary

115   19-00 Pollitt Drive Associates, LLC                       New York, New   Limited Liability   Vice President &   5/2014    1/2017
                                                                York            Company             Secretary

116   40 Potash Road Associates, LLC                            New York, New   Limited Liability   Vice President &   5/2014    1/2017
                                                                York            Company             Secretary

117   5 Thornton Road Associates, LLC                           New York, New   Limited Liability   Vice President &   5/2014    1/2017
                                                                York            Company             Secretary

118   128 Bauer Drive Associates, LLC                           New York, New   Limited Liability   Vice President &   5/2014    1/2017
                                                                York            Company             Secretary

119   125 Algonquin Associates, LLC                             New York, New   Limited Liability   Vice President &   5/2014    1/2017
                                                                York            Company             Secretary

120   145 Algonquin Associates, LLC                             New York, New   Limited Liability   Vice President &   5/2014    1/2017
                                                                York            Company             Secretary

121   156 Algonquin Associates, LLC                             New York, New   Limited Liability   Vice President &   5/2014    1/2017
                                                                York            Company             Secretary

122   30 Leslie Associates, LLC                                 New York, New   Limited Liability   Vice President &   5/2014    1/2017
                                                                York            Company             Secretary

123   Colts Neck Building Corp. (Undeveloped                    Florham Park,   Corporation         Vice President &   2/2007    1/2017
      Real Estate in Colts Neck, NJ)                            New Jersey                          Secretary
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#     ORGANIZATION NAME                                          CITY, STATE     ORGANIZATION        POSITION HELD      FROM      TO
                                                                                 TYPE

124   340 Flatbush Lender, LLC                                   New York, New   Limited Liability   President &        12/2015   1/2017
                                                                 York            Company             Authorized
                                                                                                     Signatory

125   54 Barrow Street Associates LLC                            New York, New   Limited Liability   President & Vice   12/2015   1/2017
                                                                 York            Company             President

126   99 East 7th Street Realty LLC                              New York, New   Limited Liability   President & Vice   1/2015    1/2017
                                                                 York            Company             President

127   120 MacDougal Street Realty LLC                            New York, New   Limited Liability   President & Vice   1/2015    1/2017
                                                                 York            Company             President

128   156 Sullivan Street Realty LLC                             New York, New   Limited Liability   President & Vice   1/2015    1/2017
                                                                 York            Company             President

129   267 East 10th Street Realty LLC                            New York, New   Limited Liability   President & Vice   1/2015    1/2017
                                                                 York            Company             President

130   318 East 6th Street Realty LLC                             New York, New   Limited Liability   President & Vice   1/2015    1/2017
                                                                 York            Company             President

131   318 East 11th Street Realty LLC                            New York, New   Limited Liability   President & Vice   1/2015    1/2017
                                                                 York            Company             President

132   435 East 9th Street Realty LLC                             New York, New   Limited Liability   President & Vice   1/2015    1/2017
                                                                 York            Company             President

133   Village JV 129 First Avenue LLC                            New York, New   Limited Liability   President &        2/2015    1/2017
                                                                 York            Company             Secretary

134   Village JV 143 First Avenue LLC                            New York, New   Limited Liability   Executive Vice     2/2015    1/2017
                                                                 York            Company             President &
                                                                                                     Authorized
                                                                                                     Signatory

135   Village JV 165 Avenue A LLC                                New York, New   Limited Liability   Key Person         2/2015    1/2017
                                                                 York            Company

136   Village JV 191-193 Avenue A LLC                            New York, New   Limited Liability   Manager            2/2015    1/2017
                                                                 York            Company

137   Village JV 201 East 2nd LLC                                New York, New   Limited Liability   Special Member     2/2015    1/2017
                                                                 York            Company             & Vice President

138   Village JV 211 Avenue A LLC                                New York, New   Limited Liability   Vice President &   2/2015    1/2017
                                                                 York            Company             Secretary
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#     ORGANIZATION NAME                                        CITY, STATE     ORGANIZATION        POSITION HELD      FROM      TO
                                                                               TYPE

139   Village JV 338 East 11th LLC                             New York, New   Limited Liability   Vice President &   2/2015    1/2017
                                                               York            Company             Secretary

140   Village JV 435 East 12th LLC                             New York, New   Limited Liability   Vice President &   2/2015    1/2017
                                                               York            Company             Secretary

141   Village JV 500 East 11th LLC                             New York, New   Limited Liability   Vice President &   2/2015    1/2017
                                                               York            Company             Secretary

142   KCLW 3rd Street LLC                                      New York, New   Limited Liability   Manager            8/2014    1/2017
                                                               York            Company

143   175-225 Third Owner LLC                                  New York, New   Limited Liability   Officer            12/2014   1/2017
                                                               York            Company

144   KKC Managing Member LLC (Residential                     New York, New   Limited Liability   Managing           5/2013    1/2017
      Real Estate in Kansas City, MO)                          York            Company             Member &
                                                                                                   President

145   44th Street Realty Associates, LLC                       New York, New   Limited Liability   Manager            12/2007   1/2017
      (Residential Real Estate in New York, NY)                York            Company

146   Kushner Village 3 SPE LLC                                New York, New   Limited Liability   President          3/2013    1/2017
                                                               York            Company

147   Kushner Village 4 SPE LLC                                New York, New   Limited Liability   President          3/2013    1/2017
                                                               York            Company

148   118-120 East Fourth Owner LLC                            New York, New   Limited Liability   President          3/2013    1/2017
                                                               York            Company

149   195 East Fourth Owner LLC                                New York, New   Limited Liability   President          3/2013    1/2017
                                                               York            Company

150   199-203 East Fourth Owner LLC                            New York, New   Limited Liability   President          3/2013    1/2017
                                                               York            Company

151   315 East 10th Street LLC                                 New York, New   Limited Liability   President          3/2013    1/2017
                                                               York            Company

152   Kushner Village 329 East 9th LLC                         New York, New   Limited Liability   President          11/2014   1/2017
                                                               York            Company

153   East 9th Manager LLC                                     New York, New   Limited Liability   President          11/2014   1/2017
                                                               York            Company

154   Kushner Village 325 East 10th LLC                        New York, New   Limited Liability   President          3/2013    1/2017
                                                               York            Company
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#     ORGANIZATION NAME                                         CITY, STATE     ORGANIZATION        POSITION HELD    FROM      TO
                                                                                TYPE

155   Lacey Township Building Corp. (Real Estate                Florham Park,   Corporation         Executive Vice   12/2007   1/2017
      in Lacey, NJ)                                             New Jersey                          President &
                                                                                                    Authorized
                                                                                                    Signatory

156   ST Leonia, LLC                                            New York, New   Limited Liability   Manager          3/2016    1/2017
                                                                York            Company

157   Livingston Hills Building Corp. (Real Estate              Florham Park,   Corporation         Executive Vice   2/2007    1/2017
      Under Construction in Livingston, NJ)                     New Jersey                          President

158   Middle River JV LLC                                       New York, New   Limited Liability   Principal        5/2014    1/2017
                                                                York            Company

159   Georgetown Village I Owner LLC                            New York, New   Limited Liability   Special Member   6/2011    1/2017
                                                                York            Company

160   Georgetown Village II Owner LLC                           New York, New   Limited Liability   Special Member   6/2011    1/2017
                                                                York            Company

161   Georgetown Village III Owner LLC                          New York, New   Limited Liability   Special Member   6/2011    1/2017
                                                                York            Company

162   Georgetown Village IV Owner LLC                           New York, New   Limited Liability   Special Member   6/2011    1/2017
                                                                York            Company

163   Bavarian Woods Owner LLC                                  New York, New   Limited Liability   Special Member   6/2011    1/2017
                                                                York            Company

164   Cedarwood Riverbend Owner LLC                             New York, New   Limited Liability   Special Member   6/2011    1/2017
                                                                York            Company

165   Cedarwood Village Apartments I & II Owner                 New York, New   Limited Liability   Special Member   6/2011    1/2017
      LLC                                                       York            Company

166   Cedarwood Village Apartments III Owner                    New York, New   Limited Liability   Special Member   6/2011    1/2017
      LLC                                                       York            Company

167   Columbus Park Property Owner LLC                          New York, New   Limited Liability   Special Member   8/2011    1/2017
                                                                York            Company

168   Coppertree Properties Owner LLC                           New York, New   Limited Liability   Manager          11/2012   1/2017
                                                                York            Company

169   Hunters Ridge Property Owner LLC                          New York, New   Limited Liability   Special Member   6/2013    1/2017
                                                                York            Company
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#     ORGANIZATION NAME                                        CITY, STATE     ORGANIZATION        POSITION HELD    FROM      TO
                                                                               TYPE

170   Miracle Manor Property Owner LLC                         New York, New   Limited Liability   Special Member   6/2013    1/2017
                                                               York            Company

171   Midwest Partners 1 LLC                                   New York, New   Limited Liability   Manager          11/2012   1/2017
                                                               York            Company

172   Sunnydale Estates Property Owner LLC                     New York, New   Limited Liability   Special Member   6/2013    1/2017
                                                               York            Company

173   Westminster Mgt GP Corp. (General Partner                Florham Park,   Corporation         Executive Vice   6/2011    1/2017
      of Westminster Management, LLC)                          New Jersey                          President &
                                                                                                   Authorized
                                                                                                   Signatory

174   Milford Building Corp. (Real Estate in                   Florham Park,   Corporation         Executive Vice   2/2007    1/2017
      Milford, PA)                                             New Jersey                          President &
                                                                                                   Authorized
                                                                                                   Signatory

175   Eatontown Monmouth Mall LLC                              New York, New   Limited Liability   Manager          8/2015    1/2017
                                                               York            Company

176   VM Kushner (Junior Mezz) LLC                             New York, New   Limited Liability   Manager          8/2015    1/2017
                                                               York            Company

177   Eatontown Monmouth Mall (Junior Mezz)                    New York, New   Limited Liability   Manager          8/2015    1/2017
      LLC                                                      York            Company

178   Eatontown Monmouth Mall (Senior Mezz)                    New York, New   Limited Liability   Manager          8/2015    1/2017
      LLC                                                      York            Company

179   Eatontown Monmouth Mall Holdings LLC                     New York, New   Limited Liability   Manager          8/2015    1/2017
                                                               York            Company

180   VM Kushner (Senior Mezz) LLC                             New York, New   Limited Liability   Manager          8/2015    1/2017
                                                               York            Company

181   VM Kushner LLC                                           New York, New   Limited Liability   Manager          8/2015    1/2017
                                                               York            Company

182   Landings NYT Owner, LLC                                  New York, New   Limited Liability   Manager          10/2015   1/2017
                                                               York            Company

183   Wallkill NYT Owner, LLC                                  New York, New   Limited Liability   Manager          10/2015   1/2017
                                                               York            Company

184   Oakwood NYT Owner, LLC                                   New York, New   Limited Liability   Manager          10/2015   1/2017
                                                               York            Company
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#     ORGANIZATION NAME                                      CITY, STATE     ORGANIZATION        POSITION HELD      FROM      TO
                                                                             TYPE

185   Elmwood NYT Owner, LLC                                 New York, New   Limited Liability   Manager            10/2015   1/2017
                                                             York            Company

186   Landings NYT Mezz, LLC                                 New York, New   Limited Liability   Manager            10/2015   1/2017
                                                             York            Company

187   Wallkill NYT Mezz, LLC                                 New York, New   Limited Liability   Manager            10/2015   1/2017
                                                             York            Company

188   Oakwood NYT Mezz, LLC                                  New York, New   Limited Liability   Manager            10/2015   1/2017
                                                             York            Company

189   Elmwood NYT Mezz, LLC                                  New York, New   Limited Liability   Manager            10/2015   1/2017
                                                             York            Company

190   Landings NYT Holdings, LLC                             New York, New   Limited Liability   Manager            10/2015   1/2017
                                                             York            Company

191   Wallkill NYT Holdings, LLC                             New York, New   Limited Liability   Manager            10/2015   1/2017
                                                             York            Company

192   Oakwood NYT Holdings, LLC                              New York, New   Limited Liability   Manager            10/2015   1/2017
                                                             York            Company

193   Elmwood NYT Holdings, LLC                              New York, New   Limited Liability   Manager            10/2015   1/2017
                                                             York            Company

194   Landings NYT Principal, LLC                            New York, New   Limited Liability   Authorized         10/2015   1/2017
                                                             York            Company             Signatory

195   Wallkill NYT Principal, LLC                            New York, New   Limited Liability   Authorized         10/2015   1/2017
                                                             York            Company             Signatory

196   Oakwood NYT Principal, LLC                             New York, New   Limited Liability   Authorized         10/2015   1/2017
                                                             York            Company             Signatory

197   Elmwood NYT Principal, LLC                             New York, New   Limited Liability   Authorized         10/2015   1/2017
                                                             York            Company             Signatory

198   Pier Village III JV LLC                                New York, New   Limited Liability   Vice President     7/2015    1/2017
                                                             York            Company

199   Pier Village II Urban Renewal Company LLC              New York, New   Limited Liability   Springing          12/2014   1/2017
                                                             York            Company             Member

200   Pinecrest Building Corp. (Undeveloped Real             Florham Park,   Corporation         Vice President &   2/2007    1/2017
      Estate in Tobyhanna Township, PA)                      New Jersey                          Authorized
                                                                                                 Signatory
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#     ORGANIZATION NAME                                          CITY, STATE     ORGANIZATION        POSITION HELD      FROM     TO
                                                                                 TYPE

201   Powerhouse Associates, LLC (potential                      New York, New   Limited Liability   Authorized         1/2016   1/2017
      future real estate development)                            York            Company             Signatory

202   New Puck, LLC                                              New York, New   Limited Liability   Special Member     6/2011   1/2017
                                                                 York            Company

203   New Puck Investors, LLC                                    New York, New   Limited Liability   Special Member     6/2011   1/2017
                                                                 York            Company

204   Riverhead Reeves Building Corp. (Residential               Florham Park,   Corporation         Executive Vice     2/2007   1/2017
      Real Estate in Riverhead, NY)                              New Jersey                          President &
                                                                                                     Authorized
                                                                                                     Signatory

205   Riverhead Sound Building Corp. (Residential                Florham Park,   Corporation         Executive Vice     2/2007   1/2017
      Real Estate in Riverhead, NY)                              New Jersey                          President &
                                                                                                     Authorized
                                                                                                     Signatory

206   Riverhead Sound Associates LLC (Residential                New York, New   Limited Liability   Vice President &   2/2007   1/2017
      Real Estate in Riverhead, NY)                              York            Company             Authorized
                                                                                                     Signatory

207   Rues Lane Building Corp. (Real Estate in East              Florham Park,   Corporation         Executive Vice     2/2007   1/2017
      Brunswick, NJ)                                             New Jersey                          President &
                                                                                                     Authorized
                                                                                                     Signatory

208   Maryland Apartment Holdings 10-Pack JV,                    New York, New   Limited Liability   Executive          8/2012   1/2017
      LLC                                                        York            Company             Committee &
                                                                                                     Venture
                                                                                                     Coordinator

209   Stone Portfolio LLC                                        New York, New   Limited Liability   Vice President     2/2015   1/2017
                                                                 York            Company

210   KC3 - 101 MacDougal Street, LLC                            New York, New   Limited Liability   Vice President     3/2015   1/2017
                                                                 York            Company

211   KC3 - 104 East 7th Street, LLC                             New York, New   Limited Liability   Vice President     3/2015   1/2017
                                                                 York            Company

212   KC3 - 233 East 82nd Street, LLC                            New York, New   Limited Liability   Vice President     3/2015   1/2017
                                                                 York            Company

213   KC3 - 234-238 East 33rd Street, LLC                        New York, New   Limited Liability   Vice President     3/2015   1/2017
                                                                 York            Company
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#     ORGANIZATION NAME                                             CITY, STATE     ORGANIZATION        POSITION HELD    FROM     TO
                                                                                    TYPE

214   KC3 - 310 East 83rd Street, LLC                               New York, New   Limited Liability   Vice President   3/2015   1/2017
                                                                    York            Company

215   KC3 - 319-321 East 78th Street, LLC                           New York, New   Limited Liability   Vice President   3/2015   1/2017
                                                                    York            Company

216   KC3 - 325 East 83rd Street, LLC                               New York, New   Limited Liability   Vice President   3/2015   1/2017
                                                                    York            Company

217   KC3 - 354-356 State Street, LLC                               New York, New   Limited Liability   Vice President   3/2015   1/2017
                                                                    York            Company

218   KC3 - 410 East 64th Street, LLC                               New York, New   Limited Liability   Vice President   3/2015   1/2017
                                                                    York            Company

219   KC3 - 438-440 East 13th Street, LLC                           New York, New   Limited Liability   Vice President   3/2015   1/2017
                                                                    York            Company

220   KC3 - 504 East 88th Street, LLC                               New York, New   Limited Liability   Vice President   3/2015   1/2017
                                                                    York            Company

221   EV JV Partnership, L.P.                                       New York, New   Limited             President        8/2013   1/2017
                                                                    York            Partnership

222   EV JV GP LLC (Residential Real Estate in New    See Endnote   New York, New   Limited Liability   President        8/2013   1/2017
      York, NY)                                                     York            Company

223   Village UK Venture LLC                                        New York, New   Limited Liability   President        8/2013   1/2017
                                                                    York            Company

224   EV Avenue A Property Owner, L.P.                              New York, New   Limited             President        8/2013   1/2017
                                                                    York            Partnership

225   EV 1st Avenue Property Owner, L.P.                            New York, New   Limited             President        8/2013   1/2017
                                                                    York            Partnership

226   Iroquois Properties Realty Corp. (Residential                 Florham Park,   Corporation         President        2/2007   1/2017
      Real Estate in New York, NY)                                  New Jersey

227   Village KF 12th Associates, LLC                               New York, New   Limited Liability   Manager          8/2013   1/2017
                                                                    York            Company

228   Village KF 504 East 12th LLC                                  New York, New   Limited Liability   President        8/2013   1/2017
                                                                    York            Company

229   Village KF 516 East 13th LLC                                  New York, New   Limited Liability   President        8/2013   1/2017
                                                                    York            Company
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#     ORGANIZATION NAME                                         CITY, STATE     ORGANIZATION        POSITION HELD      FROM      TO
                                                                                TYPE

230   Warren at Bay Holdings LLC                                New York, New   Limited Liability   KC                 1/2016    1/2017
                                                                York            Company             Representative

231   Astoria Portfolio Member LLC (Residential                 New York, New   Limited Liability   Authorized         1/2015    1/2017
      Real Estate in Astoria, NY)                               York            Company             Signatory

232   Astoria 23-05 30th LLC (Residential Real    See Endnote   New York, New   Limited Liability   Authorized         6/2016    1/2017
      Estate in Astoria, NY)                                    York            Company             Signatory

233   Astoria 23-15 30th LLC (Residential Real    See Endnote   New York, New   Limited Liability   Authorized         6/2016    1/2017
      Estate in Astoria, NY)                                    York            Company             Signatory

234   Astoria 21-80 38th LLC (Residential Real    See Endnote   New York, New   Limited Liability   Authorized         6/2016    1/2017
      Estate in Astoria, NY)                                    York            Company             Signatory

235   Astoria 21-81 38th LLC (Residential Real    See Endnote   New York, New   Limited Liability   Authorized         6/2016    1/2017
      Estate in Astoria, NY)                                    York            Company             Signatory

236   Cadre Astoria 23-05 30th LLC (Residential                 New York, New   Limited Liability   Authorized         1/2015    1/2017
      Real Estate in Astoria, NY)                               York            Company             Signatory

237   Cadre Astoria 23-15 30th LLC (Residential                 New York, New   Limited Liability   Authorized         1/2015    1/2017
      Real Estate in Astoria, NY)                               York            Company             Signatory

238   Cadre Astoria 21-80 38th LLC (Residential                 New York, New   Limited Liability   Authorized         1/2015    1/2017
      Real Estate in Astoria, NY)                               York            Company             Signatory

239   Cadre Astoria 21-81 38th LLC (Residential                 New York, New   Limited Liability   Authorized         1/2015    1/2017
      Real Estate in Astoria, NY)                               York            Company             Signatory

240   Leland Point GP LLC                                       New York, New   Limited Liability   Springing          6/2011    1/2017
                                                                York            Company             Member

241   Leland Point Partners LP LLC                              New York, New   Limited Liability   Springing          6/2011    1/2017
                                                                York            Company             Member

242   Leland Point Partners GP LLC                              New York, New   Limited Liability   Springing          6/2011    1/2017
                                                                York            Company             Member

243   200 East 62nd 25B, LLC                                    New York, New   Limited Liability   Managing           12/2015   1/2017
                                                                York            Company             Member

244   Florham Park Developers Corp. (Commercial                 Florham Park,   Corporation         Vice President &   6/2009    1/2017
      Real Estate in Florham Park, NJ)                          New Jersey                          Authorized
                                                                                                    Signatory

245   KKC Associates LLC                                        New York, New   Limited Liability   Tax Matters        5/2013    1/2017
                                                                York            Company             Manager
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#     ORGANIZATION NAME                                            CITY, STATE     ORGANIZATION        POSITION HELD     FROM      TO
                                                                                   TYPE

246   Westminster Linden Realty Corp.                              Florham Park,   Corporation         President         2/2007    1/2017
      (Residential Real Estate in Brooklyn, NY and                 New Jersey
      Florham Park, NJ)

247   West End Building Associates, LLC                            Florham Park,   Limited Liability   President &       1/2009    1/2017
                                                                   New Jersey      Company             Authorized
                                                                                                       Signatory

248   New York Observer                                            New York, New   Limited             Publisher         7/2006    1/2017
                                                                   York            Partnership

249   Kushner Companies LLC (Real Estate                           Florham Park,   Limited Liability   Chief Executive   10/2008   1/2017
      Company in New York, NY)                                     New Jersey      Company             Officer

250   Kushner Family Foundation (Charitable          See Endnote   Mountainside,   Non-Profit          Board Member      6/2010    1/2017
      Foundation)                                                  New Jersey

251   Friends of IDF (Non-Profit)                                  New York, New   Non-Profit          Board Member      3/2014    1/2017
                                                                   York

252   Global Gateway Alliance (Advocacy                            New York, New   Non-Profit          Board Member      1/2013    1/2017
      Organization)                                                York

253   Megalith Capital Management (Real Estate                     New York, New   Limited Liability   Board Member      10/2013   1/2017
      Company)                                                     York            Company

254   Partnership for New York City (Advocacy and                  New York, New   Non-Profit          Board Member      12/2014   8/2016
      Economic Development Organization)                           York

255   Real Estate Board of New York (REBNY) (Real    See Endnote   New York, New   Trade               Board Member      6/2008    1/2017
      Estate Organization)                                         York            Association

256   Thrive Capital Partners LLC (Venture Capital                 New York, New   Limited Liability   Board Member      5/2010    1/2017
      Firm)                                                        York            Company

257   Thrive Capital Partners II, LP                               New York, New   Limited             Investment        8/2011    1/2017
                                                                   York            Partnership         Committee
                                                                                                       Member

258   Thrive Capital Partners III, LP                              New York, New   Limited             Investment        8/2012    1/2017
                                                                   York            Partnership         Committee
                                                                                                       Member

259   42Floors (Real Estate Company)                               New York, New   Corporation         Board Member      5/2012    1/2017
                                                                   York

260   Quadro Partners, Inc. (d/b/a Cadre) (Real                    New York, New   Corporation         Board Member      5/2015    1/2017
      Estate Platform)                                             York
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#      ORGANIZATION NAME                                           CITY, STATE     ORGANIZATION        POSITION HELD   FROM         TO
                                                                                   TYPE

261    Honest Buildings (Real Estate Software                      New York, New   Corporation         Board Member    11/2013      11/2015
       Company)                                                    York

262    President-Elect's Transition Team                           Washington,     Presidential        Member          11/2016      1/2017
                                                                   District of     Transition
                                                                   Columbia

263    BFPS Ventures LLC                             See Endnote   New York, New   Limited Liability   Managing        9/2011       5/2017
                                                                   York            Company             Member

264    JCK Cadre LLC                                 See Endnote   New York, New   Limited Liability   Managing        7/2014       5/2017
                                                                   York            Company             Member

265    MMLL LLC                                      See Endnote   New York, New   Limited Liability   Managing        8/2015       5/2017
                                                                   York            Company             Member

266    K Astoria I LLC (Residential Real Estate in                 New York, New   Limited Liability   Authorized      1/2015       1/2017
       Astoria, NY)                                                York            Company             Signatory



2. Filer's Employment Assets & Income and Retirement Accounts
#      DESCRIPTION                                                 EIF             VALUE               INCOME TYPE     INCOME
                                                                                                                       AMOUNT

1      Westminster Management, LLC                                 N/A             $1,000,001 -        Gross           $1,593,457
       (Management company; New York, NY)                                          $5,000,000          Management
                                                                                                       Fee Income,
                                                                                                       Wages, and
                                                                                                       Dividends

2      OBSERVER MEDIA, LLC (New York Observer        See Endnote   N/A             None (or less       Newspaper-      $4,500,000
       & Commercial Observer; New York, NY)                                        than $1,001)        Related
                                                                                                       Revenue



3. Filer's Employment Agreements and Arrangements

None
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4. Filer's Sources of Compensation Exceeding $5,000 in a Year
#      SOURCE NAME                                                CITY, STATE     BRIEF DESCRIPTION OF DUTIES

1      Westminster Management, LLC                                New York, New   Real Estate Management Company Executive - plan and execute
                                                                  York            acquisition/sales/financing of real estate investments and oversee the
                                                                                  company's operations

2      OBSERVER MEDIA, LLC (New York Observer                     New York, New   Media Company Executive - publisher for print and online media
       & Commercial Observer)                                     York            company



5. Spouse's Employment Assets & Income and Retirement Accounts
#      DESCRIPTION                                                EIF             VALUE             INCOME TYPE        INCOME
                                                                                                                       AMOUNT

1      Ivanka M. Trump Business Trust (IT           See Endnote   N/A             Over                                 None (or less
       Collection LLC, Holding Company in New                                     $50,000,000                          than $201)
       York, NY))

1.1    IT Operations LLC (Management Company                      N/A
       in New York, NY)

1.2    IT Operations Managing Member Corp                         N/A
       (Pass-Thru Company for IT Operations LLC;
       New York, NY)

1.3    IT Apparel II LLC (Licensing contracts for                 N/A
       clothing and cold weather accessories; New
       York, NY)

1.4    IT Apparel II Managing Member Corp (Pass-    See Endnote   N/A
       Thru Company for IT Apparel II LLC; New
       York, NY)

1.5    IT Baby Home LLC (Licensing contracts for                  N/A
       baby products - bedding giftables; New
       York, NY)

1.6    IT Baby Home Member Corp (Pass-Thru          See Endnote   N/A
       Company for IT Baby Home LLC; New York,
       NY)

1.7    IT Eyewear LLC (Licensing contracts for                    N/A
       sunglasses; New York, NY)
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#      DESCRIPTION                                                 EIF        VALUE          INCOME TYPE   INCOME
                                                                                                           AMOUNT

1.8    IT Eyewear Manager Corp (Pass-Thru            See Endnote   N/A
       Company for IT Eyewear LLC; New York, NY)

1.9    IT Fashion Jewelry LLC (Licensing contracts                 N/A
       for costume jewelry; New York, NY)

1.10   IT Fashion Jewelry Member Corp (Pass-Thru     See Endnote   N/A
       Company for IT Fashion Jewelry LLC; New
       York, NY)

1.11   IT Fragrance LLC (Licensing contracts for                   N/A
       perfume; New York, NY)

1.12   IT Fragrance Manager Corp (Pass-Thru          See Endnote   N/A
       Company for IT Fragrance LLC; New York,
       NY)

1.13   IT Handbags LLC (Licensing contracts for                    N/A
       handbags; New York; NY)

1.14   IT Handbags Member Corp (Pass-Thru            See Endnote   N/A
       Company for IT Handbags LLC; New York,
       NY)

1.15   IT Home Marks LLC (Licensing contracts for                  N/A
       home products; New York, NY)

1.16   IT Home Marks Managing Member Corp            See Endnote   N/A
       (Pass-Thru Company for IT Home Marks
       LLC; New York, NY)

1.17   IT Promotions LLC (Event Promoter in New                    N/A
       York, NY)

1.18   Ivanka Trump Marks LLC (Owner of Various      See Endnote   N/A
       Trademarks; New York, NY)

1.19   Ivanka Marks Holding Corp (Pass-Thru          See Endnote   N/A
       Company for Ivanka Trump Marks LLC; New
       York, NY)

1.20   Ivanka Trump Marks II LLC (Licensing                        N/A
       contracts for shoes; New York, NY)

1.21   Ivanka Trump Marks II Member Corp (Pass-      See Endnote   N/A
       Thru Company for Ivanka Trump Marks II
       LLC; New York, NY)
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#      DESCRIPTION                                                 EIF        VALUE          INCOME TYPE       INCOME
                                                                                                               AMOUNT

1.22   Ivanka Trump Marks Jewelry LLC (Licensing                   N/A
       contracts for fine jewelry; New York, NY)

1.23   Ivanka Trump Marks Jewelry Member Corp        See Endnote   N/A
       (Pass-Thru Company for Ivanka Trump
       Marks Jewelry LLC; New York, NY)

2      IT WWW PUB LLC (Book Contract with            See Endnote   N/A
       Penguin Random House LLC; New York, NY)

2.1    "Women Who Work," Penguin Random                            N/A                       Advance
       House LLC (value not readily ascertainable)

3      Ivanka OPO LLC (Investment in Trump Old                     N/A        $5,000,001 -   Hotel-Related
       Post Office LLC; Washington, DC)                                       $25,000,000    Revenue

4      T International Realty LLC (Luxury Real       See Endnote   N/A        $1,000,001 -   Commissions
       Estate Brokerage Company; New York, NY)                                $5,000,000

5      TTT Consulting LLC (Consulting, licensing,    See Endnote   N/A        $5,000,001 -   Consulting Fees
       and management services for real estate                                $25,000,000
       projects; New York, NY)

6      TTTT Venture LLC (Royalties and licensing     See Endnote   N/A        $5,000,001 -   Rent or
       for real estate projects; New York, NY)                                $25,000,000    Royalties

6.1    4T Holdings One LLC (Holding company for
       future interests in Trump hotel manager
       entities; New York, NY)

6.2    4T Holdings Two LLC (Holding company for
       future interests in Scion and Szion manager
       entities; New York, NY)

6.3    DT Bali Golf Manager LLC (management of
       future golf course; New York, NY)

6.4    DT Bali Hotel Manager LLC (Management of
       future hotel; New York, NY)

6.5    DT Bali Technical Services Manager LLC
       (Technical services for hotel construction;
       New York, NY)

6.6    DT Dubai II Golf Manager LLC (Management
       of future golf course; New York, NY)
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#      DESCRIPTION                                                  EIF        VALUE          INCOME TYPE    INCOME
                                                                                                             AMOUNT

6.7    DT Lido Golf Manager LLC (Management of
       future golf course; New York, NY)

6.8    DT Lido Hotel Manager LLC (Management of
       Future Hotel; New York, NY)

6.9    DT Lido Technical Services Manager LLC
       (Technical services for hotel construction;
       New York, NY)

6.10   DT Tower Gurgaon LLC (license deal in India;
       New York, NY)

7      TRUMP PAYROLL CORP (New York, NY)              See Endnote   N/A                       Salary and
                                                                                              Severance

8      GCM Trust (Trustee; New York, NY)              See Endnote   N/A                       Trustee Fees

9      Trump Payroll Corp, 401(k) plan                              No

9.1    Fidelity Overseas Fund (FOSFX)                               Yes        $50,001 -                     None (or less
                                                                               $100,000                      than $201)

9.2    Fidelity Growth Company (FDGRX)                              Yes        $50,001 -                     None (or less
                                                                               $100,000                      than $201)

9.3    Fidelity Value Fund (FDVLX)                                  Yes        $50,001 -                     None (or less
                                                                               $100,000                      than $201)

9.4    Fidelity Dividend Growth Fund (FDGFX)                        Yes        $50,001 -                     None (or less
                                                                               $100,000                      than $201)

9.5    Fidelity Freedom 2040 Fund (FFFFX)                           Yes        $50,001 -                     None (or less
                                                                               $100,000                      than $201)

10     "The Trump Card," Simon & Schuster (value                    N/A                                      None (or less
       not readily ascertainable)                                                                            than $201)

11     IT OPERATIONS LLC (all assets reflected in     See Endnote   N/A                       Rent or        Over $5,000,000
       the Ivanka M. Trump Business Trust)                                                    Royalties

12     WWW OPERATIONS LLC (holds URL                                N/A                                      None (or less
       associated with Women Who Work; value                                                                 than $201)
       not readily ascertainable; New York, NY)

13     TTT Consulting LLC (Consulting, licensing,     See Endnote   N/A                       Guaranteed     $14,374
       and management services for real estate                                                Payment
       projects; New York, NY)
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#      DESCRIPTION                                                EIF         VALUE          INCOME TYPE     INCOME
                                                                                                             AMOUNT

14     Screen Actors Guild - Producers Pension      See Endnote   N/A                                        None (or less
       Plan (defined benefit pension plan - value                                                            than $201)
       not readily ascertainable)

15     Universal City Studios LLC (Residuals from   See Endnote   N/A                        Rent or         $201 - $1,000
       appearances on Saturday Night Live and                                                Royalties
       Late Night with Jimmy Fallon) (value not
       readily ascertainable)

16     MGM/Mark Burnett Productions (Residuals      See Endnote   N/A                                        None (or less
       from The Apprentice) (value not readily                                                               than $201)
       ascertainable)

17     Ivanka OPO, LLC (Investment in Trump Old     See Endnote   N/A                        Hotel-Related   $529,590
       Post Office LLC; Washington, DC)                                                      Revenue



6. Other Assets and Income
#      DESCRIPTION                                                EIF         VALUE          INCOME TYPE     INCOME
                                                                                                             AMOUNT

1      Trust #1                                                   No

1.1    ELMWOOD V. ASSOCIATES, LP (Commercial        See Endnote   N/A         $100,001 -     Rent or         $100,001 -
       Real Estate in Chicago, IL)                                            $250,000       Royalties       $1,000,000

1.2    LANDINGS APARTMENTS, LLC (Commercial         See Endnote   N/A         $50,001 -      Rent or         $50,001 -
       Real Estate in Chicago, IL)                                            $100,000       Royalties       $100,000

1.3    OAKWOOD GARDEN ASSOCIATES, LLC               See Endnote   N/A         $1,000,001 -   Rent or         $1,000,001 -
       (Commercial Real Estate in Chicago, IL)                                $5,000,000     Royalties       $5,000,000

1.4    WALLKILL APARTMENTS ASSOCIATES, LP           See Endnote   N/A         $500,001 -     Rent or         $100,001 -
       (Commercial Real Estate in Chicago, IL)                                $1,000,000     Royalties       $1,000,000

1.5    VILLAGE KF 4-9-10 ASSOCIATES, LLC            See Endnote   N/A         $5,000,001 -   Rent or         $100,001 -
       (Residential Real Estate in New York, NY)                              $25,000,000    Royalties       $1,000,000

1.6    PUCK BUILDING, LP (Commercial Real Estate    See Endnote   N/A         $5,000,001 -   Rent or         $1,000,001 -
       in New York, NY)                                                       $25,000,000    Royalties       $5,000,000

1.7    U.S. bank account #1 (checking)                            N/A         $250,001 -                     None (or less
                                                                              $500,000                       than $201)
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#      DESCRIPTION                                                   EIF       VALUE           INCOME TYPE     INCOME
                                                                                                               AMOUNT

1.8    BRUCKNER PLAZA CENTER, LLC (Commercial          See Endnote   N/A       None (or less   Rent or         Over $5,000,000
       Real Estate in New York, NY)                                            than $1,001)    Royalties
                                                                                               Capital Gains

1.9    Development Corporation for Israel/Israel       See Endnote   N/A       None (or less   Interest        $1,001 - $2,500
       Bonds                                                                   than $1,001)

2      Trust #2                                                      No

2.1    ELMWOOD V. ASSOCIATES, LP (Commercial           See Endnote   N/A       $15,001 -       Rent or         $15,001 -
       Real Estate in Chicago, IL)                                             $50,000         Royalties       $50,000

2.2    LANDINGS APARTMENTS, LLC (Commercial            See Endnote   N/A       $15,001 -       Rent or         $15,001 -
       Real Estate in Chicago, IL)                                             $50,000         Royalties       $50,000

2.3    OAKWOOD GARDEN ASSOCIATES, LLC                  See Endnote   N/A       $250,001 -      Rent or         $100,001 -
       (Commercial Real Estate in Chicago, IL)                                 $500,000        Royalties       $1,000,000

2.4    WALLKILL APARTMENTS ASSOCIATES, LP              See Endnote   N/A       $100,001 -      Rent or         $100,001 -
       (Commercial Real Estate in Chicago, IL)                                 $250,000        Royalties       $1,000,000

2.5    VILLAGE KF 4-9-10 ASSOCIATES, LLC               See Endnote   N/A       $1,000,001 -    Rent or         $100,001 -
       (Residential Real Estate in New York, NY)                               $5,000,000      Royalties       $1,000,000

2.6    K GAIA VILLAGE 1 ASSOCIATES, LLC                See Endnote   N/A       $500,001 -      Rent or         $100,001 -
       (Residential Real Estate in New York, NY)                               $1,000,000      Royalties       $1,000,000

2.7    K GAIA VILLAGE 2 ASSOCIATES, LLC                See Endnote   N/A       $500,001 -      Rent or         $100,001 -
       (Residential Real Estate in New York, NY)                               $1,000,000      Royalties       $1,000,000

2.8    KUSHNER PHILADELPHIA MEMBER, LLC                See Endnote   N/A       $500,001 -      Rent or         $100,001 -
       (Residential Real Estate in Philadelphia, PA)                           $1,000,000      Royalties       $1,000,000

2.9    PINECREST LAKE BUILDING ASSOCIATES, LP                        N/A       $100,001 -                      None (or less
       (Undeveloped Real Estate in Tobyhanna                                   $250,000                        than $201)
       Township, PA)

2.10   PUCK BUILDING, LP (Commercial Real Estate       See Endnote   N/A       $1,000,001 -    Rent or         $100,001 -
       in New York, NY)                                                        $5,000,000      Royalties       $1,000,000

2.11   PUCK RESIDENTIAL ASSOCIATES, LLC                See Endnote   N/A       $5,000,001 -    Rent or         Over $5,000,000
       (Residential Real Estate in New York, NY and                            $25,000,000     Royalties
       Leonia, NJ)

2.12   715 PARK AVENUE ASSOCIATES, LP                                N/A       $250,001 -      Rent or         $5,001 - $15,000
       (Residential Real Estate in New York, NY)                               $500,000        Royalties
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#      DESCRIPTION                                                   EIF        VALUE           INCOME TYPE     INCOME
                                                                                                                AMOUNT

2.13   SIXTY ONE ASSOCIATES, LLC (Commercial                         N/A        $1,000,001 -    Rent or         $50,001 -
       Real Estate in New York, NY)                                             $5,000,000      Royalties       $100,000

2.14   WESTMIN MAD ASSOCIATES, L.L.C.                                N/A        $250,001 -      Rent or         $15,001 -
       (Commercial Real Estate in New York, NY)                                 $500,000        Royalties       $50,000

2.15   WEST END BUILDING ASSOCIATES, LLC                             N/A        $1,000,001 -    Rent or         $15,001 -
       (Residential Real Estate in New York, NY)                                $5,000,000      Royalties       $50,000

2.16   WESTMINSTER LINDEN, LLC (Residential Real                     N/A        $250,001 -      Rent or         $15,001 -
       Estate in Brooklyn, NY)                                                  $500,000        Royalties       $50,000

2.17   U.S. money market account #1 (cash)                           N/A        $15,001 -                       None (or less
                                                                                $50,000                         than $201)

2.18   COLUMBIA WINDOWS, LLC (Investment in            See Endnote   N/A        None (or less   Gross Revenue   $549,429
       DHD Windows and Doors; New York, NY)                                     than $1,001)

2.19   DJNJ FRITO, LLC (Insurance brokerage            See Endnote   N/A        None (or less   Brokerage       $17,375
       license; Florham Park, NJ)                                               than $1,001)    commissions

2.20   KF- C-III RECOVERY FUND II, LLC (Financial      See Endnote   No         None (or less   Capital Gains   $201 - $1,000
       investments in C-III Recovery Fund II, LP;                               than $1,001)    Interest
       Irving, TX)

2.21   KF- Faire Fund II, LLC (Financial investments   See Endnote   No         None (or less   Capital Gains   $5,001 - $15,000
       in The Faire Fund II, LP; Israel)                                        than $1,001)

2.22   KF- Park Street Capital PE Fund IX, LLC         See Endnote   No         None (or less   Capital Gains   $15,001 -
       (Financial investments in Park Street Capital                            than $1,001)    Interest        $50,000
       Private Equity Fund; Boston, MA)

2.23   KF- RCG Longview Debt Fund IV, LLC              See Endnote   No         None (or less   Capital Gains   $5,001 - $15,000
       (Financial investments in RCG Longview                                   than $1,001)    Interest
       Debt Fund IV LP; New York, NY)

2.24   LW Investors, LLC (Financial investments in     See Endnote   No         None (or less   Capital Gains   $15,001 -
       Leeds Equity Partners IV, LP; New York, NY)                              than $1,001)    Interest        $50,000

2.25   Kushner Media Ventures, LLC (Financial          See Endnote   No         None (or less   Capital Gains   $100,001 -
       investments in Thrive Capital Partners, LLC;                             than $1,001)    Interest        $1,000,000
       New York, NY)

2.26   Thrive Capital Partners II, LP (Financial       See Endnote   No         None (or less   Capital Gains   $100,001 -
       investments; New York, NY)                                               than $1,001)    Interest        $1,000,000

2.27   Thrive Capital Partners III, LP (Financial      See Endnote   No         None (or less   Capital Gains   $1,000,001 -
       investments; New York, NY)                                               than $1,001)    Interest        $5,000,000
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#      DESCRIPTION                                                    EIF     VALUE              INCOME TYPE     INCOME
                                                                                                                 AMOUNT

2.28   Claremount IV Associates LP (Financial           See Endnote   No      None (or less      Interest        $201 - $1,000
       Investments; New York, NY)                                             than $1,001)       Capital Gains

3      Trust #3                                                       No

3.1    30 FLORHAM ASSOCIATES, LLC (Commercial                         N/A     $250,001 -         Rent or         $100,001 -
       Real Estate in Florham Park, NJ)                                       $500,000           Royalties       $1,000,000

3.2    CK BERGEN ASSOCIATES, LLC (Industrial Real       See Endnote   N/A     $1,000,001 -       Rent or         $100,001 -
       Estate in Fairlawn & Oakland, NJ)                                      $5,000,000         Royalties       $1,000,000

3.3    COLTS NECK BUILDING ASSOCIATES, LLC                            N/A     $500,001 -                         None (or less
       (Undeveloped Real Estate in Colts Neck, NJ)                            $1,000,000                         than $201)

3.4    COLUMBIA CORPORATE CENTER                                      N/A     $1,000,001 -       Rent or         $1,000,001 -
       DEVELOPMENT ASSOCIATES, LLC                                            $5,000,000         Royalties       $5,000,000
       (Commercial Real Estate in Florham Park, NJ)

3.5    DEER TREE BUILDING ASSOCIATES, LLC                             N/A     $1,001 - $15,000                   None (or less
       (Undeveloped Real Estate in Hardyston                                                                     than $201)
       Township, NJ)

3.6    FLORHAM PARK REALTY ASSOCIATES, LLC                            N/A     $1,000,001 -       Rent or         $100,001 -
       (Commercial Real Estate in Florham Park, NJ)                           $5,000,000         Royalties       $1,000,000

3.7    LANDINGS AT CASPIAN POINTE, LLC                                N/A     $250,001 -                         None (or less
       (Undeveloped Real Estate in Atlantic City, NJ)                         $500,000                           than $201)

3.8    LIVINGSTON HILLS BUILDING ASSOCIATES,                          N/A     $50,001 -          Income from     $372,000
       LLC (Real Estate Under Construction in                                 $100,000           Sale of
       Livingston, NJ)                                                                           Townhome
                                                                                                 Units

3.9    MAGNOLIA BUILDING ASSOCIATES, LLC                              N/A     $1,001 - $15,000                   None (or less
       (Undeveloped Assets in Pemberton, NJ)                                                                     than $201)

3.10   MONMOUTH MALL, LLC (Commercial Real              See Endnote   N/A     $1,000,001 -       Rent or         $1,000,001 -
       Estate in Eatontown, NJ)                                               $5,000,000         Royalties       $5,000,000

3.11   MONMOUTH MALL 2, LLC (Commercial Real            See Endnote   N/A     $1,000,001 -       Rent or         $1,000,001 -
       Estate in Eatontown, NJ)                                               $5,000,000         Royalties       $5,000,000

3.12   B MONMOUTH MALL, LLC (Commercial Real            See Endnote   N/A     $1,000,001 -       Rent or         $100,001 -
       Estate in Eatontown, NJ)                                               $5,000,000         Royalties       $1,000,000

3.13   ROUTE 10 ASSOCIATES, LLC (Industrial Real        See Endnote   N/A     $500,001 -         Rent or         $100,001 -
       Estate in Whippany, NJ)                                                $1,000,000         Royalties       $1,000,000
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#      DESCRIPTION                                                   EIF      VALUE           INCOME TYPE     INCOME
                                                                                                              AMOUNT

3.14   SIXTY-SIX WEST ASSOCIATES, LLC                                N/A      $250,001 -      Rent or         $50,001 -
       (Commercial Real Estate in Livingston, NJ)                             $500,000        Royalties       $100,000

3.15   SKYLINE KUSHNER, LLC (Residential Real          See Endnote   N/A      $500,001 -      Rent or         $100,001 -
       Estate in Hasbrouck Heights & Lodi, NJ)                                $1,000,000      Royalties       $1,000,000

3.16   THE LANDINGS AT HARBORSIDE, LLC                               N/A      $1,000,001 -    Rent or         $15,001 -
       (Residential Real Estate and Undeveloped                               $5,000,000      Royalties       $50,000
       Assets in Perth Amboy, NJ)

3.17   VREELAND AVENUE ASSOCIATES, LLC                 See Endnote   N/A      $500,001 -      Rent or         $100,001 -
       (Commercial Real Estate in Florham Park, NJ)                           $1,000,000      Royalties       $1,000,000

3.18   55 CHALLENGER ROAD ASSOCIATES, LLC              See Endnote   N/A      $1,000,001 -    Rent or         $100,001 -
       (Commercial Real Estate in Ridgefield Park,                            $5,000,000      Royalties       $1,000,000
       NJ)

3.19   LINDENLAWN APARTMENT ASSOCIATES, LLC                          N/A      $500,001 -      Rent or         $15,001 -
       (Residential Real Estate in Englewood, NJ)                             $1,000,000      Royalties       $50,000

3.20   MERRITT ASSOCIATES, LLC (Residential Real                     N/A      $50,001 -       Rent or         $5,001 - $15,000
       Estate in Dumont, NJ)                                                  $100,000        Royalties

3.21   CRANBURY BUILDING ASSOCIATES, LLC               See Endnote   N/A      None (or less   Gross income    $75,000
       (Undeveloped real estate in Cranbury, NJ)                              than $1,001)    from sale of
                                                                                              land

3.22   GALLANT FUNDING, LP (Lending to real            See Endnote   N/A      None (or less   Interest        $15,001 -
       estate developers for real estate projects in                          than $1,001)                    $50,000
       New York and New Jersey)

3.23   NEW JERSEY RENEWABLE POWER, LLC                 See Endnote   N/A      None (or less   Solar power     $33,457
       (operation of solar panels; Florham Park, NJ)                          than $1,001)    income

3.24   KF-CENTERVIEW, LLC (Financial investments       See Endnote   No       None (or less   Capital Gains   $5,001 - $15,000
       in Centerview Capital, LP; New York, NY)                               than $1,001)

3.25   SQ ASSOCIATES, LLC (Financial investments       See Endnote   No       None (or less   Capital Gains   $15,001 -
       in Square Mile Partners, LP; New York, NY)                             than $1,001)                    $50,000

3.26   SQK ASSOCIATES, LLC (Financial investments      See Endnote   No       None (or less   Capital Gains   $5,001 - $15,000
       in Square Mile Partners, LP; New York, NY)                             than $1,001)

3.27   CK LIVINGSTON ESPLANADE, LLC                    See Endnote   N/A      None (or less   Hotel revenue   $661,123
       (Westminster Hotel; Livingston, NJ)                                    than $1,001)

4      Trust #4                                                      No
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#      DESCRIPTION                                                   EIF       VALUE           INCOME TYPE     INCOME
                                                                                                               AMOUNT

4.1    184 KENT ASSOCIATES, LLC (Residential Real      See Endnote   N/A       $250,001 -      Rent or         $15,001 -
       Estate in Brooklyn, NY)                                                 $500,000        Royalties       $50,000

4.2    CHATHAM HILL ASSOCIATES, LLC                    See Endnote   N/A       $250,001 -      Rent or         $100,001 -
       (Residential Real Estate in Chatham, NJ)                                $500,000        Royalties       $1,000,000

4.3    ELMWOOD V. ASSOCIATES, LP (Commercial           See Endnote   N/A       $15,001 -       Rent or         $15,001 -
       Real Estate in Chicago, IL)                                             $50,000         Royalties       $50,000

4.4    LANDINGS APARTMENTS, LLC (Commercial            See Endnote   N/A       $250,001 -      Rent or         $100,001 -
       Real Estate in Chicago, IL)                                             $500,000        Royalties       $1,000,000

4.5    GELLERT 80 WEST END, LLC (Residential and       See Endnote   N/A       $1,000,001 -    Rent or         $1,000,001 -
       Commercial Real Estate in Long Branch, NJ                               $5,000,000      Royalties       $5,000,000
       and Astoria, NY)

4.6    GOWAN ASSOCIATES, LLC (Undeveloped              See Endnote   N/A       $250,001 -      Rent or         $2,501 - $5,000
       Real Estate in Brooklyn, NY)                                            $500,000        Royalties

4.7    IROQOUIS PROPERTIES, LP (Residential Real       See Endnote   N/A       $1,000,001 -    Rent or         $100,001 -
       Estate in New York, NY)                                                 $5,000,000      Royalties       $1,000,000

4.8    K 26 JOURNAL SQUARE, LLC (Commercial            See Endnote   N/A       $50,001 -       Rent or         $15,001 -
       Real Estate in Jersey City, NJ)                                         $100,000        Royalties       $50,000

4.9    K 30 JOURNAL SQUARE, LLC (Commercial            See Endnote   N/A       $1,000,001 -    Rent or         $15,001 -
       Real Estate in Jersey City, NJ)                                         $5,000,000      Royalties       $50,000

4.10   K ASTORIA, LLC (Residential Real Estate in      See Endnote   N/A       $500,001 -      Rent or         $50,001 -
       Astoria, NY)                                                            $1,000,000      Royalties       $100,000

4.11   K STONEHAGE VILLAGE 1 ASSOCIATES, LLC           See Endnote   N/A       $100,001 -      Rent or         $15,001 -
       (Residential Real Estate in New York, NY)                               $250,000        Royalties       $50,000

4.12   VILLAGE KF 2 KM, LLC (Residential Real          See Endnote   N/A       $1,000,001 -    Rent or         $100,001 -
       Estate in New York, NY)                                                 $5,000,000      Royalties       $1,000,000

4.13   VILLAGE KF 4-9-10 ASSOCIATES, LP                See Endnote   N/A       $1,000,001 -    Rent or         $100,001 -
       (Residential Real Estate in New York, NY)                               $5,000,000      Royalties       $1,000,000

4.14   65 BAY, LLC (f/k/a GAIA JC, LLC) (Residential   See Endnote   N/A       $1,000,001 -    Rent or         $15,001 -
       Real Estate in Jersey City, NJ)                                         $5,000,000      Royalties       $50,000

4.15   K ONE JOURNAL SQUARE, LLC (Undeveloped          See Endnote   N/A       None (or less   Capital Gains   $1,000,001 -
       Real Estate in Jersey City, NJ)                                         than $1,001)                    $5,000,000

4.16   KC DUMBO HOTEL, LLC (Option to Purchase         See Endnote   N/A       $1,000,001 -                    None (or less
       Commercial Real Estate in Brooklyn, NY)                                 $5,000,000                      than $201)
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#      DESCRIPTION                                                   EIF      VALUE              INCOME TYPE   INCOME
                                                                                                               AMOUNT

4.17   KC DUMBO OFFICE, LLC (Commercial Real           See Endnote   N/A      $1,000,001 -       Rent or       $50,001 -
       Estate in Brooklyn, NY)                                                $5,000,000         Royalties     $100,000

4.18   KF MIDDLE RIVER, LLC (Residential Real          See Endnote   N/A      $1,000,001 -       Rent or       $100,001 -
       Estate in Middle River & Essex, MD)                                    $5,000,000         Royalties     $1,000,000

4.19   KF WESTWOOD PARTNER, LLC (Residential           See Endnote   N/A      $500,001 -         Rent or       $100,001 -
       Real Estate in Westwood & River Vale, NJ)                              $1,000,000         Royalties     $1,000,000

4.20   KF-BLS MEMBER, LLC (Residential Real            See Endnote   N/A      $500,001 -         Rent or       $50,001 -
       Estate in Brooklyn, NY)                                                $1,000,000         Royalties     $100,000

4.21   PUCK BUILDING, LP (Commercial Real Estate       See Endnote   N/A      $5,000,001 -       Rent or       $100,001 -
       in New York, NY)                                                       $25,000,000        Royalties     $1,000,000

4.22   ROUTE 10 ASSOCIATES, LLC (Industrial Real       See Endnote   N/A      $100,001 -         Rent or       $15,001 -
       Estate in Whippany, NJ)                                                $250,000           Royalties     $50,000

4.23   STATE TOWER OF SYRACUSE ASSOCIATES,             See Endnote   N/A      $50,001 -          Rent or       $15,001 -
       LLC (Residential Real Estate in Leonia, NJ)                            $100,000           Royalties     $50,000

4.24   TIMES SQUARE ASSOCIATES, LLC                    See Endnote   N/A      $5,000,001 -       Rent or       $1,000,001 -
       (Commercial Real Estate in New York, NY)                               $25,000,000        Royalties     $5,000,000

4.25   WARREN AT BAY ASSOCIATES, LLC                   See Endnote   N/A      $100,001 -         Rent or       $2,501 - $5,000
       (Commercial Real Estate in Jersey City, NJ)                            $250,000           Royalties

4.26   WT 25 COLUMBIA, LLC (Real Estate Under          See Endnote   N/A      $250,001 -                       None (or less
       Construction in Brooklyn, NY)                                          $500,000                         than $201)

4.27   115 EAST 87, LLC (Contingent right to                         N/A      $250,001 -                       None (or less
       ownership interest in Residential Real Estate                          $500,000                         than $201)
       in New York, NY)

4.28   80 ML, LLC (Commercial Real Estate in New       See Endnote   N/A      $100,001 -         Rent or       $15,001 -
       York, NY)                                                              $250,000           Royalties     $50,000

4.29   KF-WIP CO. INVESTORS I, LLC (Industrial Real                  N/A      $15,001 -          Rent or       $50,001 -
       Estate in Middletown, PA)                                              $50,000            Royalties     $100,000

4.30   KKC ASSOCIATES, LLC (Residential Real           See Endnote   N/A      $1,001 - $15,000                 None (or less
       Estate in Kansas City, MO)                                                                              than $201)

4.31   STONE 16 ASSOCIATES, LLC (Residential Real      See Endnote   N/A      $500,001 -         Rent or       $50,001 -
       Estate in New York, NY)                                                $1,000,000         Royalties     $100,000

4.32   P.V. DEVELOPMENT, LLC (Undeveloped Real         See Endnote   N/A      $500,001 -         Interest      $1,001 - $2,500
       Estate in Long Branch, NJ)                                             $1,000,000
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#      DESCRIPTION                                                EIF       VALUE           INCOME TYPE     INCOME
                                                                                                            AMOUNT

4.33   FLATBUSH 340 LENDER, LLC (Loan               See Endnote   N/A       $250,001 -      Interest        $100,001 -
       Receivable from 9 Dekalb Owner LLC;                                  $500,000                        $1,000,000
       Brooklyn, NY)

4.34   KCOF-215 MOORE, LLC (Loan Receivable                       N/A       $100,001 -      Interest        $100,001 -
       from Heritage Equities; Brooklyn, NY)                                $250,000                        $1,000,000

4.35   OBSERVER CAPITAL SM SPV, LLC (Shares of                    N/A       $5,000,001 -                    None (or less
       Corp. Stock in Source Media Holdings Inc.;                           $25,000,000                     than $201)
       New York, NY)

4.36   OC PARTNERS, LLC (Cash; New York, NY)        See Endnote   N/A       None (or less   Capital Gains   $1,000,001 -
                                                                            than $1,001)                    $5,000,000

4.37   BRUCKNER P CORP. (Commercial Real Estate     See Endnote   N/A       None (or less   Rent or         Over $5,000,000
       in New York, NY)                                                     than $1,001)    Royalties
                                                                                            Capital Gains

4.38   BRUCKNER PLAZA CENTER, LLC (Commercial       See Endnote   N/A       None (or less   Rent or         Over $5,000,000
       Real Estate in New York, NY)                                         than $1,001)    Royalties
                                                                                            Capital Gains

4.39   FIFTH ASSOCIATES, LLC (Commercial Real       See Endnote   N/A       None (or less   Rent or         Over $5,000,000
       Estate in New York, NY)                                              than $1,001)    Royalties
                                                                                            Capital Gains

4.40   CK REALTY HOLDINGS, LLC (Commercial          See Endnote   N/A       None (or less   Rent or         Over $5,000,000
       Real Estate in New York, NY and Wippany,                             than $1,001)    Royalties
       NJ)                                                                                  Capital Gains

4.41   29 Second Avenue Realty, LLC (Residential                  N/A       None (or less   Capital Gains   $15,001 -
       Real Estate in New York, NY)                                         than $1,001)    Rent or         $50,000
                                                                                            Royalties

4.42   KFF 29 SECOND AVENUE, LLC (Residential       See Endnote   N/A       $100,001 -      Rent or         $15,001 -
       Real Estate in New York, NY)                                         $250,000        Royalties       $50,000

5      Trust #5                                                   No

5.1    BRYNWOOD GARDENS (Residential Real                         N/A       $100,001 -      Rent or         $15,001 -
       Estate in Old Bridge, NJ)                                            $250,000        Royalties       $50,000

5.2    CHERRY PINES APARTMENTS (Residential                       N/A       $100,001 -      Rent or         $15,001 -
       Real Estate in Elizabeth, NJ)                                        $250,000        Royalties       $50,000

5.3    COLONIAL HEIGHTS, LLC (Residential Real                    N/A       $1,000,001 -    Rent or         $100,001 -
       Estate in Parsippany, NJ)                                            $5,000,000      Royalties       $1,000,000
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#      DESCRIPTION                                               EIF           VALUE              INCOME TYPE   INCOME
                                                                                                                AMOUNT

5.4    DARTMOUTH VILLAGE, LLC (Residential Real                  N/A           $250,001 -         Rent or       $15,001 -
       Estate in Parsippany, NJ)                                               $500,000           Royalties     $50,000

5.5    EASTON NORTH ASSOCIATES, LP                               N/A           $500,001 -         Rent or       $50,001 -
       (Residential Real Estate in Franklin                                    $1,000,000         Royalties     $100,000
       Township, NJ)

5.6    FELMORE ASSOCIATES (Residential Real                      N/A           $100,001 -         Rent or       $15,001 -
       Estate in South River, NJ)                                              $250,000           Royalties     $50,000

5.7    FIVE ACRE JV (Industrial Real Estate in Union,            N/A           $1,001 - $15,000   Rent or       $2,501 - $5,000
       NJ)                                                                                        Royalties

5.8    KAY & ARR REALTY ASSOCIATES (Residential                  N/A           $15,001 -          Rent or       $5,001 - $15,000
       Real Estate in Elizabeth, NJ)                                           $50,000            Royalties

5.9    LMP JV (Industrial Real Estate in Edison, NJ)             N/A           $50,001 -          Rent or       $5,001 - $15,000
                                                                               $100,000           Royalties

5.10   LODI PHILLIPSBURG APARTMENT                               N/A           $100,001 -         Rent or       $15,001 -
       ASSOCIATES (Residential Real Estate in Lodi,                            $250,000           Royalties     $50,000
       NJ)

5.11   MARTHA BELL ASSOCIATES, LLC (Residential                  N/A           $50,001 -          Rent or       $5,001 - $15,000
       Real Estate in Elizabeth, NJ)                                           $100,000           Royalties

5.12   MT. PLEASANT JV (Commercial Real Estate in                N/A           $1,001 - $15,000   Rent or       $5,001 - $15,000
       West Orange, NJ)                                                                           Royalties

5.13   NETCONG HEIGHTS ASSOCIATES, LLC                           N/A           $500,001 -         Rent or       $50,001 -
       (Residential Real Estate in Netcong, NJ)                                $1,000,000         Royalties     $100,000

5.14   OXFORD ARMS ASSOCIATES LIMITED                            N/A           $500,001 -         Rent or       $100,001 -
       PARTNERSHIP (Residential Real Estate in                                 $1,000,000         Royalties     $1,000,000
       Edison, NJ)

5.15   PARK LAKE VILLAGE (Residential Real Estate                N/A           $500,001 -         Rent or       $50,001 -
       in Parsippany, NJ)                                                      $1,000,000         Royalties     $100,000

5.16   PARK LANE MOBILE HOME PARK                                N/A           $50,001 -          Rent or       $2,501 - $5,000
       (Residential Real Estate in Union, NJ)                                  $100,000           Royalties

5.17   PINEFIELD MANOR, LLC (Residential Real                    N/A           $100,001 -         Rent or       $15,001 -
       Estate in Denville, NJ)                                                 $250,000           Royalties     $50,000

5.18   PRINCETON HORIZON APARTMENTS                              N/A           $250,001 -         Rent or       $50,001 -
       (Residential Real Estate in South Brunswick,                            $500,000           Royalties     $100,000
       NJ)
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#       DESCRIPTION                                              EIF           VALUE              INCOME TYPE   INCOME
                                                                                                                AMOUNT

5.19    RIVER EDGE APARTMENTS (Residential Real                  N/A           $500,001 -         Rent or       $100,001 -
        Estate in Ewing, NJ)                                                   $1,000,000         Royalties     $1,000,000

5.20    SKYTOP GARDENS (Residential Real Estate in               N/A           $1,000,001 -       Rent or       $50,001 -
        Sayreville, NJ)                                                        $5,000,000         Royalties     $100,000

5.21    TAYLOR EDISON JV (Industrial Real Estate in              N/A           $15,001 -          Rent or       $1,001 - $2,500
        Edison, NJ)                                                            $50,000            Royalties

5.22    THE PINES APARTMENTS (Residential Real                   N/A           $50,001 -          Rent or       $5,001 - $15,000
        Estate in Elizabeth, NJ)                                               $100,000           Royalties

5.23    TOV MANOR ASSOCIATES, LP (Residential                    N/A           $500,001 -         Rent or       $50,001 -
        Real Estate in New Brunswick, NJ)                                      $1,000,000         Royalties     $100,000

5.24    WESTFIELD JV (Commercial Real Estate in                  N/A           $1,001 - $15,000   Rent or       $5,001 - $15,000
        Westfield, NJ)                                                                            Royalties

5.25    SCHOOLHOUSE JV (Commercial Real Estate                   N/A           $1,001 - $15,000   Rent or       $2,501 - $5,000
        in Milburn, NJ)                                                                           Royalties

6       Trust #6                                                 No

6.1     200 EAST 62ND 25A, LLC (Residential Real                 N/A           $100,001 -         Rent or       $15,001 -
        Estate in New York, NY)                                                $250,000           Royalties     $50,000

6.2     200 EAST 62ND 25B, LLC (Residential Real                 N/A           $100,001 -         Rent or       $15,001 -
        Estate in New York, NY)                                                $250,000           Royalties     $50,000

6.3     200 EAST 62ND 26D, LLC (Residential Real                 N/A           $100,001 -         Rent or       $15,001 -
        Estate in New York, NY)                                                $250,000           Royalties     $50,000

6.4     212 5TH 7C, LLC (Residential Real Estate in              N/A           $100,001 -                       None (or less
        New York, NY)                                                          $250,000                         than $201)

6.5     212 5TH 8C, LLC (Residential Real Estate in              N/A           $100,001 -                       None (or less
        New York, NY)                                                          $250,000                         than $201)

6.6     212 5TH 9C, LLC (Residential Real Estate in              N/A           $100,001 -                       None (or less
        New York, NY)                                                          $250,000                         than $201)

7       Trust #7                                                 No

7.1     Lincoln National Life Insurance Company,                 No
        Variable Life

7.1.1   SSGA Bond Index Fund                                     Yes           $100,001 -                       None (or less
                                                                               $250,000                         than $201)
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#       DESCRIPTION                                                 EIF        VALUE              INCOME TYPE   INCOME
                                                                                                                AMOUNT

7.1.2   JPMorgan High Yield Fund                                    Yes        $15,001 -                        None (or less
                                                                               $50,000                          than $201)

7.1.3   Delaware Diversified Floating Rate Fund                     Yes        $15,001 -                        None (or less
                                                                               $50,000                          than $201)

7.1.4   Delaware VIP REIT Series                                    Yes        $50,001 -                        None (or less
                                                                               $100,000                         than $201)

7.1.5   Dimensional International Core Equity Fund                  Yes        $100,001 -                       None (or less
                                                                               $250,000                         than $201)

7.1.6   Dimensional U.S. Core Equity 2 Fund                         Yes        $250,001 -                       None (or less
                                                                               $500,000                         than $201)

8       55 CHALLENGER ROAD ASSOCIATES, LLC            See Endnote   N/A        $1,000,001 -       Rent or       $1,000,001 -
        (Commercial Real Estate in Ridgefield Park,                            $5,000,000         Royalties     $5,000,000
        NJ)

9       570 WEST MT. PLEASANT ASSOCIATES, LLC                       N/A        $500,001 -         Rent or       $100,001 -
        (Residential Real Estate in Livingston, NJ)                            $1,000,000         Royalties     $1,000,000

10      CHATHAM HILL ASSOCIATES, LLC                  See Endnote   N/A        $1,001 - $15,000   Rent or       $201 - $1,000
        (Residential Real Estate in Chatham, NJ)                                                  Royalties

11      GELLERT 80 WEST END, LLC (Residential and     See Endnote   N/A        $1,000,001 -       Rent or       $100,001 -
        Commercial Real Estate in Long Branch, NJ                              $5,000,000         Royalties     $1,000,000
        and Astoria, NY)

12      K 30 JOURNAL Manager Corp. (Commercial                      N/A        $1,001 - $15,000                 None (or less
        Real Estate in Jersey City, NJ)                                                                         than $201)

13      K MARYLAND ASSOCIATES, LLC (Residential       See Endnote   N/A        $500,001 -         Rent or       $100,001 -
        Real Estate in Baltimore & Prince George’s                             $1,000,000         Royalties     $1,000,000
        County, MD)

14      KUSHNER MIDWEST PARTNERS 1 LLC                See Endnote   N/A        $5,000,001 -       Rent or       Over $5,000,000
        (Residential Real Estate in Toledo,                                    $25,000,000        Royalties
        Middletown, Akron & Bedford Heights, OH,
        Pittsburgh, PA & Speedway, IN)

15      NEW PUCK CORP. (Commercial Real Estate        See Endnote   N/A        $1,000,001 -       Rent or       $50,001 -
        in New York, NY)                                                       $5,000,000         Royalties     $100,000

16      TIMES SQUARE ASSOCIATES, LLC                  See Endnote   N/A        $5,000,001 -       Rent or       $1,000,001 -
        (Commercial Real Estate in New York, NY)                               $25,000,000        Royalties     $5,000,000
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#       DESCRIPTION                                                  EIF       VALUE              INCOME TYPE     INCOME
                                                                                                                  AMOUNT

17      411 WEST PUTNAM AVENUE (Commercial                           N/A       $1,001 - $15,000                   None (or less
        Real Estate in Greenwich, CT)                                                                             than $201)

18      KUSHNER CREDIT OPPORTUNITY FUND, LLC           See Endnote   N/A       $15,001 -                          None (or less
        (Management Company; New York, NY)                                     $50,000                            than $201)

19      BFPS VENTURES, LLC (Holding Company;           See Endnote   No        $5,000,001 -       Capital Gains   $1,000,001 -
        New York, NY)                                                          $25,000,000        Rent or         $5,000,000
                                                                                                  Royalties
                                                                                                  Interest

19.1    U.S. bank account #2 (cash)                                  N/A       $100,001 -                         None (or less
                                                                               $250,000                           than $201)

19.2    U.S. money market account #2 (cash)                          N/A       $15,001 -                          None (or less
                                                                               $50,000                            than $201)

19.3    Quadro Partners (d/b/a Cadre) (Real Estate     See Endnote   N/A       $5,000,001 -                       None (or less
        Investment Platform in New York, NY)                                   $25,000,000                        than $201)

19.4    Kushner Village 2 Member LLC (Rental           See Endnote   N/A       None (or less      Capital Gains   $100,001 -
        Apartments in New York, NY)                                            than $1,001)       Rent or         $1,000,000
                                                                                                  Royalties

19.5    2 Rector Kushner Member LLC (Commercial        See Endnote   N/A       None (or less      Capital Gains   $1,000,001 -
        Real Estate in New York, NY)                                           than $1,001)                       $5,000,000

19.6    Kaszek Ventures II (Venture Capital Fund)      See Endnote   No        None (or less      Capital Gains   $1,001 - $2,500
                                                                               than $1,001)

19.7    Sixty Capital Fund (Hedge Fund)                See Endnote   No        None (or less      Dividends       $15,001 -
                                                                               than $1,001)       Interest        $50,000
                                                                                                  Capital Gains

19.8    FabFitFun (Beauty and Wellness                 See Endnote   N/A       $15,001 -                          None (or less
        Subscription Service)                                                  $50,000                            than $201)

19.9    JCK Cadre LLC (prior holding company for       See Endnote   N/A       None (or less      Capital Gains   $100,001 -
        Quadro Partners; New York, NY)                                         than $1,001)                       $1,000,000

19.10   Contingent rights to ownership interests in    See Endnote   N/A                                          None (or less
        entities holding real estate directly or                                                                  than $201)
        indirectly (value not readily ascertainable)
        (entities listed in endnote)

20      BROADBAND PROLIFERATION PARTNERS,              See Endnote   N/A       $5,000,001 -       Ordinary        $4,500,000
        LLC (WiredScore; New York, NY)                                         $25,000,000        Business
                                                                                                  Income
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#    DESCRIPTION                                                   EIF       VALUE              INCOME TYPE     INCOME
                                                                                                                AMOUNT

21   REGAL BANK (Shares of Corp. Stock;              See Endnote   N/A       $1,000,001 -                       None (or less
     Livingston, NJ)                                                         $5,000,000                         than $201)

22   JKM CAPITAL, LLC (interest in venture capital   See Endnote   No        None (or less      Capital Gains   $100,001 -
     fund; New York, NY)                                                     than $1,001)                       $1,000,000

23   THRIVE PARTNERS II GP, LLC (interest in         See Endnote   No        None (or less      Capital Gains   $1,000,001 -
     venture capital fund; New York, NY)                                     than $1,001)                       $5,000,000

24   THRIVE PARTNERS III GP, LLC (interest in        See Endnote   No        None (or less      Capital Gains   Over $5,000,000
     venture capital fund; New York, NY)                                     than $1,001)

25   JK Thrive IV LLC (interest in venture capital   See Endnote   No        None (or less      Capital Gains   $1,000,001 -
     fund; New York, NY)                                                     than $1,001)                       $5,000,000

26   JK Thrive V, LLC (interest in venture capital   See Endnote   No        None (or less      Capital Gains   $201 - $1,000
     fund; New York, NY)                                                     than $1,001)

27   U.S. money market account #3 (cash)                           N/A       $1,000,001 -       Interest        $201 - $1,000
                                                                             $5,000,000

28   U.S. bank account #3 (cash)                                   N/A       $50,001 -                          None (or less
                                                                             $100,000                           than $201)

29   U.S. money market account #4 (cash)                           N/A       $1,001 - $15,000                   None (or less
                                                                                                                than $201)

30   U.S. bank account #4 (cash)                                   N/A       $1,000,001 -                       None (or less
                                                                             $5,000,000                         than $201)

31   U.S. bank account #5 (cash)                                   N/A       $1,001 - $15,000                   None (or less
                                                                                                                than $201)

32   U.S. bank account #6 (cash)                                   N/A       $100,001 -         Interest        $201 - $1,000
                                                                             $250,000

33   U.S. bank account #7 (cash)                                   N/A       $250,001 -                         None (or less
                                                                             $500,000                           than $201)

34   Pepsico, Inc. (28 shares)                       See Endnote   N/A       $1,001 - $15,000                   None (or less
                                                                                                                than $201)

35   Yum Brands, Inc. (8 shares)                     See Endnote   N/A       None (or less                      None (or less
                                                                             than $1,001)                       than $201)

36   U.S. bank account #8 (cash)                                   N/A       $100,001 -                         None (or less
                                                                             $250,000                           than $201)
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#    DESCRIPTION                                            EIF           VALUE          INCOME TYPE   INCOME
                                                                                                       AMOUNT

37   EATON VANCE ATLANTA CAP SMID CAP                       Yes           $250,001 -                   $5,001 - $15,000
     FUND CLASS I (EISMX)                                                 $500,000

38   ISHARES MSCI EAFE ETF (EFA)                            Yes           $50,001 -                    None (or less
                                                                          $100,000                     than $201)

39   OPPENHEIMER DEVELOPING MARKETS                         Yes           $250,001 -                   $5,001 - $15,000
     CLASS Y (ODVYX)                                                      $500,000

40   POWERSHARES S&P 500 LOW VOLATILITY                     Yes           $100,001 -                   $15,001 -
     PORTFOLIO ETF (SPLV)                                                 $250,000                     $50,000

41   THORNBURG INTL VALUE FUND I (TGVIX)                    Yes           $500,001 -                   $201 - $1,000
                                                                          $1,000,000

42   VANGUARD GROWTH ETF (VUG)                              Yes           $250,001 -                   $2,501 - $5,000
                                                                          $500,000

43   VANGUARD VALUE ETF (VTV)                               Yes           $100,001 -                   $1,001 - $2,500
                                                                          $250,000

44   VIRTUS SMALL-CAP CORE FUND CLASS I                     Yes           $100,001 -                   $5,001 - $15,000
     (PKSFX)                                                              $250,000

45   HARTFORD WORLD BOND FUND I (HWDIX)                     Yes           $250,001 -                   None (or less
                                                                          $500,000                     than $201)

46   LORD ABBETT INTERMEDIATE TAX FREE                      Yes           $1,000,001 -                 $15,001 -
     FUND CLASS F (LISFX)                                                 $5,000,000                   $50,000

47   LORD ABBETT HIGH YIELD FUND CLASS F                    Yes           $250,001 -                   $15,001 -
     (LHYFX)                                                              $500,000                     $50,000

48   RIVERNORTH/DOUBLELINE STRATEGIC                        Yes           $100,001 -                   $5,001 - $15,000
     INCOME FUND I (RNSIX)                                                $250,000

49   TEMPLETON GLOBAL BOND ADV (TGBAX)                      Yes           $100,001 -                   $2,501 - $5,000
                                                                          $250,000

50   VANGUARD TOTAL BOND MKT ETF (BND)                      Yes           $100,001 -                   None (or less
                                                                          $250,000                     than $201)

51   WELLS FARGO INTERMEDIATE                               Yes           $1,000,001 -                 $15,001 -
     TAX/AMTFREE FUND CLASS INST (WITIX)                                  $5,000,000                   $50,000

52   VAN ECK CM COMMODITY INDEX FUND Y                      Yes           $250,001 -                   $15,001 -
     (CMCYX)                                                              $500,000                     $50,000
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#    DESCRIPTION                                              EIF           VALUE              INCOME TYPE     INCOME
                                                                                                               AMOUNT

53   U.S. bank account #9 (cash)                              N/A           $1,001 - $15,000                   None (or less
                                                                                                               than $201)

54   Blackstone Strategic Alliance Fund II LP   See Endnote   Yes           $250,001 -                         $100,001 -
                                                                            $500,000                           $1,000,000

55   A&Q LONG/SHORT STRATEGIES FUND LLC         See Endnote   N/A           $1,001 - $15,000                   None (or less
     PROMISSORY NOTE                                                                                           than $201)

56   PIMCO RAE FUNDAMENTAL ADVANTAGE            See Endnote   Yes           None (or less                      $2,501 - $5,000
     PLUS FUND CLASS P (PFATX)                                              than $1,001)

57   POWERSHARES S&P 500 DOWNSIDE                             Yes           None (or less                      $1,001 - $2,500
     HEDGED PORTFOLIO ETF (PHDG)                                            than $1,001)

58   U.S. bank account #10 (cash)                             N/A           $250,001 -                         None (or less
                                                                            $500,000                           than $201)

59   EATON VANCE ATLANTA CAP SMID CAP                         Yes           $15,001 -                          $201 - $1,000
     FUND CLASS I (EISMX)                                                   $50,000

60   SIGNATURE BANK NEW YORK NY                 See Endnote   N/A           None (or less      Capital Gains   $15,001 -
                                                                            than $1,001)                       $50,000

61   PIMCO TOTAL RETURN FUND CLASS P                          Yes           $50,001 -                          $1,001 - $2,500
     (PTTPX)                                                                $100,000

62   FIRST EAGLE GLOBAL FUNDS CLASS I (SGIIX)                 Yes           $15,001 -                          $5,001 - $15,000
                                                                            $50,000

63   U.S. bank account #11 (cash)                             N/A           $1,001 - $15,000                   None (or less
                                                                                                               than $201)

64   EATON VANCE ATLANTA CAP SMID CAP                         Yes           $15,001 -                          None (or less
     FUND CLASS I (EISMX)                                                   $50,000                            than $201)

65   SIGNATURE BANK NEW YORK NY                 See Endnote   N/A           None (or less      Capital Gains   $15,001 -
                                                                            than $1,001)                       $50,000

66   PIMCO TOTAL RETURN FUND CLASS P                          Yes           $15,001 -                          $1,001 - $2,500
     (PTTPX)                                                                $50,000

67   FIRST EAGLE GLOBAL FUNDS CLASS I (SGIIX)                 Yes           $15,001 -                          $1,001 - $2,500
                                                                            $50,000

68   PRINCIPAL SM-MD CP DIV P (PMDPX)                         Yes           $1,001 - $15,000                   None (or less
                                                                                                               than $201)
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#    DESCRIPTION                                                EIF         VALUE              INCOME TYPE     INCOME
                                                                                                               AMOUNT

69   SIGNATURE BANK NEW YORK NY                   See Endnote   N/A         None (or less      Capital Gains   $5,001 - $15,000
                                                                            than $1,001)

70   PIMCO TOTAL RETURN FUND CLASS P                            Yes         $1,001 - $15,000                   None (or less
     (PTTPX)                                                                                                   than $201)

71   FIRST EAGLE GLOBAL FUNDS CLASS I (SGIIX)                   Yes         $1,001 - $15,000                   None (or less
                                                                                                               than $201)

72   EuroPacific Growth Fund - 529-A (1016)                     Yes         $50,001 -                          None (or less
     (CEUAX)                                                                $100,000                           than $201)

73   Washington Mutual Investors Fund - 529-A                   Yes         $100,001 -                         None (or less
     (1001) (CWMAX)                                                         $250,000                           than $201)

74   EuroPacific Growth Fund - 529-A (1016)                     Yes         $50,001 -                          None (or less
     (CEUAX)                                                                $100,000                           than $201)

75   Washington Mutual Investors Fund - 529-A                   Yes         $100,001 -                         None (or less
     (1001) (CWMAX)                                                         $250,000                           than $201)

76   EuroPacific Growth Fund - 529-A (1016)                     Yes         $50,001 -                          None (or less
     (CEUAX)                                                                $100,000                           than $201)

77   Washington Mutual Investors Fund - 529-A                   Yes         $50,001 -                          None (or less
     (1001) (CWMAX)                                                         $100,000                           than $201)

78   502 6G LLC (Residential Real Estate in New                 N/A         $1,000,001 -       Rent or         $100,001 -
     York, NY)                                                              $5,000,000         Royalties       $1,000,000

79   K MARYLAND ASSOCIATES, LLC (Residential      See Endnote   N/A         $500,001 -         Rent or         $100,001 -
     Real Estate in Baltimore, Garrett & Prince                             $1,000,000         Royalties       $1,000,000
     George, MD)

80   KUSHNER MIDWEST PARTNERS 1 LLC               See Endnote   N/A         $1,000,001 -       Rent or         $1,000,001 -
     (Residential Real Estate in Toledo,                                    $5,000,000         Royalties       $5,000,000
     Middletown, Akron & Bedford Heights, OH,
     Pittsburgh, PA & Speedway, IN)

81   Flatbush 340 Lender LLC (Loan Receivable     See Endnote   N/A         $100,001 -         Interest        $15,001 -
     from 9 Dekalb Owner LLC; Brooklyn, NY)                                 $250,000                           $50,000

82   The Obsidian Fund LLC Class C                See Endnote   Yes         $1,000,001 -                       $100,001 -
                                                                            $5,000,000                         $1,000,000

83   Hennessy Gas Utility Index Fund Investor     See Endnote   Yes         None (or less                      $15,001 -
     Class Shares (GASFX)                                                   than $1,001)                       $50,000
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#    DESCRIPTION                                            EIF           VALUE              INCOME TYPE     INCOME
                                                                                                             AMOUNT

84   ISHARES 20+ YEAR TREAS BOND ETF (TLT)    See Endnote   Yes           None (or less                      $15,001 -
                                                                          than $1,001)                       $50,000

85   JP MORGAN CORE BOND FUND SELECT          See Endnote   Yes           None (or less                      $201 - $1,000
     (WOBDX)                                                              than $1,001)

86   NUVEEN ENHANCED AMT-FREE MUNICIPAL       See Endnote   Yes           None (or less                      $5,001 - $15,000
     CREDIT OPPORTUNITIES FUND (NVG)                                      than $1,001)

87   PIMCO ENHANCED SHORT MAT ACTIVE ETF      See Endnote   Yes           None (or less                      $1,001 - $2,500
     (MINT)                                                               than $1,001)

88   SIGNATURE BANK NEW YORK NY               See Endnote   N/A           None (or less      Capital Gains   $100,001 -
                                                                          than $1,001)                       $1,000,000

89   TEMPLETON GLOBAL INCOME FUND (GIM)       See Endnote   Yes           None (or less                      $2,501 - $5,000
                                                                          than $1,001)

90   BOEING COMPANY                           See Endnote   N/A           None (or less      Capital Gains   $201 - $1,000
                                                                          than $1,001)       Dividends

91   DOMINION RESOURCES INC VA                See Endnote   N/A           None (or less      Capital Gains   $201 - $1,000
                                                                          than $1,001)       Dividends

92   ISHARES MSCI EAFE ETF (EFA)                            Yes           $1,001 - $15,000                   None (or less
                                                                                                             than $201)

93   HOME DEPOT INC                           See Endnote   N/A           None (or less      Dividends       $201 - $1,000
                                                                          than $1,001)       Capital Gains

94   MICROSOFT CORP                           See Endnote   N/A           None (or less      Dividends       $1,001 - $2,500
                                                                          than $1,001)       Capital Gains

95   NEXTERA ENERGY INC                       See Endnote   N/A           None (or less      Dividends       $1,001 - $2,500
                                                                          than $1,001)       Capital Gains

96   OPPENHEIMER DEVELOPING MARKETS                         Yes           $1,001 - $15,000                   None (or less
     (ODVYX)                                                                                                 than $201)

97   ROCKWELL AUTOMATION INC                  See Endnote   N/A           None (or less      Dividends       $1,001 - $2,500
                                                                          than $1,001)       Capital Gains

98   SCHLUMBERGER LTD NETHERLANDS             See Endnote   N/A           None (or less      Dividends       $201 - $1,000
     ANTILLES                                                             than $1,001)       Capital Gains

99   VANGUARD VALUE ETF (VTV)                               Yes           $15,001 -                          None (or less
                                                                          $50,000                            than $201)
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#     DESCRIPTION                                          EIF           VALUE           INCOME TYPE     INCOME
                                                                                                         AMOUNT

100   VANGUARD GROWTH ETF (VUG)                            Yes           $15,001 -                       None (or less
                                                                         $50,000                         than $201)

101   EATON VANCE GLOBAL MACRO ABSOLUTE      See Endnote   Yes           None (or less                   $201 - $1,000
      RETURN ADV FUND (EGRIX)                                            than $1,001)

102   BOEING COMPANY                         See Endnote   N/A           None (or less   Dividends       $1,001 - $2,500
                                                                         than $1,001)    Capital Gains

103   DOMINION RESOURCES INC VA              See Endnote   N/A           None (or less   Dividends       $201 - $1,000
                                                                         than $1,001)    Capital Gains

104   HOME DEPOT INC                         See Endnote   N/A           None (or less   Dividends       $201 - $1,000
                                                                         than $1,001)    Capital Gains

105   MICROSOFT CORP                         See Endnote   N/A           None (or less   Dividends       $1,001 - $2,500
                                                                         than $1,001)    Capital Gains

106   NEXTERA ENERGY INC                     See Endnote   N/A           None (or less   Dividends       $1,001 - $2,500
                                                                         than $1,001)    Capital Gains

107   OPPENHEIMER DEVELOPING MARKETS                       Yes           $15,001 -                       None (or less
      (ODVYX)                                                            $50,000                         than $201)

108   PRINCIPAL SM-MID CP DIV P (PMDPX)                    Yes           $50,001 -                       None (or less
                                                                         $100,000                        than $201)

109   ROCKWELL AUTOMATION INC                See Endnote   N/A           None (or less   Dividends       $1,001 - $2,500
                                                                         than $1,001)    Capital Gains

110   SCHLUMBERGER LTD NETHERLANDS           See Endnote   N/A           None (or less   Capital Gains   $201 - $1,000
      ANTILLES                                                           than $1,001)    Dividends

111   VANGUARD VALUE ETF (VTV)                             Yes           $15,001 -                       None (or less
                                                                         $50,000                         than $201)

112   VANGUARD GROWTH ETF (VUG)                            Yes           $15,001 -                       None (or less
                                                                         $50,000                         than $201)

113   BOEING COMPANY                         See Endnote   N/A           None (or less   Dividends       $201 - $1,000
                                                                         than $1,001)    Capital Gains

114   DOMINION RESOURCES INC VA              See Endnote   N/A           None (or less                   None (or less
                                                                         than $1,001)                    than $201)

115   HOME DEPOT INC                         See Endnote   N/A           None (or less                   None (or less
                                                                         than $1,001)                    than $201)
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#     DESCRIPTION                                                 EIF       VALUE              INCOME TYPE     INCOME
                                                                                                               AMOUNT

116   ISHARES MSCI EAFE ETF (EFA)                                 Yes       $1,001 - $15,000                   None (or less
                                                                                                               than $201)

117   MICROSOFT CORP                                See Endnote   N/A       None (or less      Capital Gains   $201 - $1,000
                                                                            than $1,001)       Dividends

118   NEXTERA ENERGY INC                            See Endnote   N/A       None (or less                      None (or less
                                                                            than $1,001)                       than $201)

119   OPPENHEIMER DEVELOPING MARKETS                              Yes       $1,001 - $15,000                   None (or less
      (ODVYX)                                                                                                  than $201)

120   ROCKWELL AUTOMATION INC                       See Endnote   N/A       None (or less      Dividends       $201 - $1,000
                                                                            than $1,001)       Capital Gains

121   SCHLUMBERGER LTD NETHERLANDS                  See Endnote   N/A       None (or less                      None (or less
      ANTILLES                                                              than $1,001)                       than $201)

122   VANGUARD VALUE ETF (VTV)                                    Yes       $1,001 - $15,000                   None (or less
                                                                                                               than $201)

123   VANGUARD GROWTH ETF (VUG)                                   Yes       $1,001 - $15,000                   None (or less
                                                                                                               than $201)

124   80 ML, LLC (Commercial real estate in New     See Endnote   N/A       $1,001 - $15,000   Rent or         $201 - $1,000
      York, NY)                                                                                Royalties

125   KF MIDDLE RIVER, LLC (Residential real        See Endnote   N/A       $1,001 - $15,000   Rent or         $201 - $1,000
      estate in Middle River & Essex, MD)                                                      Royalties

126   KF WESTWOOD PARTNER, LLC (Residential         See Endnote   N/A       $1,001 - $15,000   Rent or         $1,001 - $2,500
      real estate in Westwood & River Vale, NJ)                                                Royalties

127   WESTMINSTER TITLE ASSOCIATES, LLC             See Endnote   N/A       None (or less      Brokerage       $157,947
      (Insurance brokerage license; Florham Park,                           than $1,001)       commissions
      NJ)

128   BRUCKNER PLAZA CENTER CORP.                   See Endnote   N/A       None (or less      Rent or         $100,001 -
      (Commercial Real Estate in New York, NY)                              than $1,001)       Royalties       $1,000,000
                                                                                               Capital Gains

129   NEWS CORPORATION                              See Endnote   N/A       None (or less      Capital Gains   $1,001 - $2,500
                                                                            than $1,001)

130   21ST CENTURY FOX                              See Endnote   N/A       None (or less      Capital Gains   $5,001 - $15,000
                                                                            than $1,001)
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#     DESCRIPTION                                        EIF           VALUE          INCOME TYPE   INCOME
                                                                                                    AMOUNT

131   ISHARES MSCI EAFE ETF                              Yes           $15,001 -                    None (or less
                                                                       $50,000                      than $201)

132   UBS RMA Government Money Market Fund               Yes           $15,001 -                    None (or less
      (RMGXX)                                                          $50,000                      than $201)

133   Treasury Note                                      N/A           $1,000,001 -                 None (or less
                                                                       $5,000,000                   than $201)

134   Treasury Note                                      N/A           $1,000,001 -                 None (or less
                                                                       $5,000,000                   than $201)

135   Treasury Note                                      N/A           $1,000,001 -                 None (or less
                                                                       $5,000,000                   than $201)

136   Treasury Note                                      N/A           $1,000,001 -                 None (or less
                                                                       $5,000,000                   than $201)

137   Treasury Note                                      N/A           $1,000,001 -                 None (or less
                                                                       $5,000,000                   than $201)

138   Treasury Note                                      N/A           $1,000,001 -                 None (or less
                                                                       $5,000,000                   than $201)

139   Treasury Note                                      N/A           $1,000,001 -                 None (or less
                                                                       $5,000,000                   than $201)

140   Treasury Note                                      N/A           $1,000,001 -                 None (or less
                                                                       $5,000,000                   than $201)

141   Treasury Note                                      N/A           $1,000,001 -                 None (or less
                                                                       $5,000,000                   than $201)

142   Treasury Note                                      N/A           $1,000,001 -                 None (or less
                                                                       $5,000,000                   than $201)

143   Treasury Note                                      N/A           $1,000,001 -                 None (or less
                                                                       $5,000,000                   than $201)

144   Treasury Note                                      N/A           $1,000,001 -                 None (or less
                                                                       $5,000,000                   than $201)

145   Treasury Note                                      N/A           $1,000,001 -                 None (or less
                                                                       $5,000,000                   than $201)

146   Treasury Note                                      N/A           $1,000,001 -                 None (or less
                                                                       $5,000,000                   than $201)
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#     DESCRIPTION                                                   EIF       VALUE           INCOME TYPE     INCOME
                                                                                                              AMOUNT

147   iShares Russell 1000 ETF (IWB)                                Yes       $1,000,001 -                    None (or less
                                                                              $5,000,000                      than $201)

148   Powershares Nasdaq 100 ETF (QQQ)                              Yes       $1,000,001 -                    None (or less
                                                                              $5,000,000                      than $201)

149   Janus Enterprise Fund Class 1 (JMGRX)                         Yes       $1,000,001 -                    None (or less
                                                                              $5,000,000                      than $201)

150   Wells Fargo Special Small Cap Value (ESPNX)                   Yes       $1,000,001 -                    None (or less
                                                                              $5,000,000                      than $201)

151   Metlife                                         See Endnote   N/A       $50,001 -       Dividends       $1,001 - $2,500
                                                                              $100,000

152   U.S. bank account #12 (cash)                                  N/A       $1,000,001 -                    None (or less
                                                                              $5,000,000                      than $201)

153   U.S. bank account #13 (cash)                                  N/A       $1,000,001 -                    None (or less
                                                                              $5,000,000                      than $201)

154   C-III Recovery Fund I LP (Financial             See Endnote   No        None (or less   Capital Gains   $100,001 -
      Investments; Irving, TX)                                                than $1,001)    Rent or         $1,000,000
                                                                                              Royalties

155   20 de Bariloche LP (Real Estate in Argentina)   See Endnote   N/A       None (or less   Capital Gains   $1,001 - $2,500
                                                                              than $1,001)

156   666 KC MANAGEMENT, LLC (Management              See Endnote   N/A       None (or less   Management      $3,000,000
      company; New York, NY)                                                  than $1,001)    Fee Income

157   A&Q LONG/SHORT STRATEGIES FUND LLC              See Endnote   Yes       None (or less                   $2,501 - $5,000
                                                                              than $1,001)

158   2 Rector Kushner Member LLC (Commercial         See Endnote   N/A       None (or less   Capital Gains   Over $5,000,000
      Real Estate in New York, NY)                                            than $1,001)

159   Artwork                                         See Endnote   N/A       $5,000,001 -                    None (or less
                                                                              $25,000,000                     than $201)

160   MMLL LLC (liquor license for restaurant at      See Endnote   N/A       $500,001 -                      None (or less
      Monmouth Mall, Eatontown, NJ)                                           $1,000,000                      than $201)

161   ERIE CNTY NY FISCAL STABILITY AUTH SALES        See Endnote   N/A       None (or less   Interest        $2,501 - $5,000
      TAX & ST AID SECD A, bonds                                              than $1,001)

162   NEW YORK ST DORM AUTH ST PERSONAL               See Endnote   N/A       None (or less   Interest        $1,001 - $2,500
      INCOME TAX REVENUE RFDG SER E, bonds                                    than $1,001)    Capital Gains
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#     DESCRIPTION                                             EIF       VALUE           INCOME TYPE     INCOME
                                                                                                        AMOUNT

163   NEW YORK ST SER E, bonds                  See Endnote   N/A       None (or less   Interest        $201 - $1,000
                                                                        than $1,001)

164   DUTCHESS CNTY NY, bonds                   See Endnote   N/A       None (or less   Interest        $1,001 - $2,500
                                                                        than $1,001)    Capital Gains

165   NEW YORK NY VAR SUBSER L 4, bonds         See Endnote   N/A       None (or less   Interest        $2,501 - $5,000
                                                                        than $1,001)

166   NEW YORK ST DORM AUTH SALES TAX           See Endnote   N/A       None (or less   Interest        $1,001 - $2,500
      REVENUE RFDG SER A, bonds                                         than $1,001)    Capital Gains

167   NEW YORK ST DORM AUTH ST PERSONAL         See Endnote   N/A       None (or less   Interest        $1,001 - $2,500
      INCOME TAX REVENUE UNREFUNDED SER A,                              than $1,001)
      bonds

168   SALES TAX ASSET RECEIVABLE CORP NY        See Endnote   N/A       None (or less   Interest        $201 - $1,000
      RFDG FISCAL 2015 SER A, bonds                                     than $1,001)

169   MET TRANSPRTN AUTH NY REVENUE RFDG        See Endnote   N/A       None (or less   Interest        $2,501 - $5,000
      TRANSPRTN SER C, bonds                                            than $1,001)

170   NEW YORK ST SER A, bonds                  See Endnote   N/A       None (or less   Interest        $5,001 - $15,000
                                                                        than $1,001)

171   NEW YORK NY SER B, bonds                  See Endnote   N/A       None (or less   Interest        $2,501 - $5,000
                                                                        than $1,001)

172   BATTERY PARK CITY NY AUTH SENIOR SER A,   See Endnote   N/A       None (or less   Interest        $1,001 - $2,500
      bonds                                                             than $1,001)

173   NEW YORK CITY NY MUNI WTR FIN AUTH        See Endnote   N/A       None (or less   Interest        $1,001 - $2,500
      WTR & SWR SYS REVEN SER AA, bonds                                 than $1,001)

174   NEW YORK ST DORM AUTH REVS NONST          See Endnote   N/A       None (or less   Interest        $2,501 - $5,000
      SUPPORTED DEBT CORNELL UNIV B, bonds                              than $1,001)

175   PORT AUTH OF NEW YORK & NEW JERSEY        See Endnote   N/A       None (or less   Interest        $5,001 - $15,000
      NY SER 179, bonds                                                 than $1,001)

176   NEW YORK NY SER E, bonds                  See Endnote   N/A       None (or less   Interest        $2,501 - $5,000
                                                                        than $1,001)

177   JP MORGAN CHASE BANK, bonds               See Endnote   N/A       None (or less   Interest        $1,001 - $2,500
                                                                        than $1,001)

178   NEW YORK ST LOCAL GOVT ASSISTANCE         See Endnote   N/A       None (or less   Interest        $2,501 - $5,000
      CORP RFDG SUB LIEN SER A, bonds                                   than $1,001)
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#     DESCRIPTION                                          EIF          VALUE           INCOME TYPE     INCOME
                                                                                                        AMOUNT

179   NEW YORK ST DORM AUTH REVENUES ST      See Endnote   N/A          None (or less   Interest        $2,501 - $5,000
      SUPPORTED DEBT THIRD GEN RESOLUTION                               than $1,001)
      ST UNIV EDL FACS SER A, bonds

180   NEW YORK ST ENVIRON FACS CORP ST       See Endnote   N/A          None (or less   Interest        $5,001 - $15,000
      CLEAN WTR & DRINKING REVOLVING FDS-                               than $1,001)
      NYC MUN WTR A, bonds

181   CALIFORNIA ST DEPT OF WTR RESOURCES    See Endnote   N/A          None (or less   Interest        $2,501 - $5,000
      PWR SPLY REVENUE SER M, bonds                                     than $1,001)

182   NEW YORK STATE URBAN DEV CORP REV      See Endnote   N/A          None (or less   Interest        $2,501 - $5,000
      RFDG SVC CONTRACT SER B, bonds                                    than $1,001)

183   DURHAM CNTY N C RFDG, bonds            See Endnote   N/A          None (or less   Interest        $2,501 - $5,000
                                                                        than $1,001)

184   TRIBOROUGH NY BRIDGE & TUNNEL AUTH     See Endnote   N/A          None (or less   Interest        $2,501 - $5,000
      REVENUES GEN SER A RMKT, bonds                                    than $1,001)

185   EXXON MOBIL CORPORATION, bonds         See Endnote   N/A          None (or less   Interest        $201 - $1,000
                                                                        than $1,001)

186   CHARLOTTE NC RFDG, bonds               See Endnote   N/A          None (or less   Interest        $5,001 - $15,000
                                                                        than $1,001)

187   MET TRANSPRTN AUTH NY REVENUE          See Endnote   N/A          None (or less   Interest        $1,001 - $2,500
      TRANSN SER A, bonds                                               than $1,001)

188   NEW YORK ST URBAN DEV CORP REV ST      See Endnote   N/A          None (or less   Interest        $5,001 - $15,000
      PERS INCOME TAX SER A1, bonds                                     than $1,001)

189   WAKE CNTY NC RFDG, bonds               See Endnote   N/A          None (or less   Interest        $2,501 - $5,000
                                                                        than $1,001)

190   ALABAMA ST PUBLIC SCH & CLG AUTH CAP   See Endnote   N/A          None (or less   Interest        $5,001 - $15,000
      IMPT, bonds                                                       than $1,001)

191   ECOLAB INC, bonds                      See Endnote   N/A          None (or less   Interest        $1,001 - $2,500
                                                                        than $1,001)

192   UTAH ST SER A, bonds                   See Endnote   N/A          None (or less   Interest        $1,001 - $2,500
                                                                        than $1,001)

193   UNIV OF TEXAS TX PERMANENT UNIV FND    See Endnote   N/A          None (or less   Interest        $1,001 - $2,500
      SER B, bonds                                                      than $1,001)    Capital Gains
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#     DESCRIPTION                                           EIF           VALUE           INCOME TYPE   INCOME
                                                                                                        AMOUNT

194   NASSAU CNTY NY INTERIM FIN AUTH RFDG    See Endnote   N/A           None (or less   Interest      $2,501 - $5,000
      SALES TAX SECURED SER A, bonds                                      than $1,001)

195   OREGON ST DEPT OF TRANSPRTN HIGHWAY     See Endnote   N/A           None (or less   Interest      $2,501 - $5,000
      USER TAX REVENUE SER A, bonds                                       than $1,001)

196   CNA FINL CORP, bonds                    See Endnote   N/A           None (or less   Interest      $201 - $1,000
                                                                          than $1,001)

197   GOLDMAN SACHS GROUP INC SR GLOBAL       See Endnote   N/A           None (or less   Interest      $5,001 - $15,000
      NT, bonds                                                           than $1,001)

198   FORD MTR CR CO NT, bonds                See Endnote   N/A           None (or less   Interest      $5,001 - $15,000
                                                                          than $1,001)

199   UTAH ST RFDG SER C, bonds               See Endnote   N/A           None (or less   Interest      $1,001 - $2,500
                                                                          than $1,001)

200   CISCO SYS INC SR NT, bonds              See Endnote   N/A           None (or less   Interest      $201 - $1,000
                                                                          than $1,001)

201   GREENBURGH NY, bonds                    See Endnote   N/A           None (or less   Interest      $1,001 - $2,500
                                                                          than $1,001)

202   JP MORGAN CHASE & CO, bonds             See Endnote   N/A           None (or less   Interest      $1,001 - $2,500
                                                                          than $1,001)

203   MORGAN STANLEY, bonds                   See Endnote   N/A           None (or less   Interest      $1,001 - $2,500
                                                                          than $1,001)

204   NEW YORK ST THRUWAY AUTH 2ND GEN        See Endnote   N/A           None (or less   Interest      $1,001 - $2,500
      HIGHWAY & BRIDGE TRUST FUND SER A,                                  than $1,001)
      bonds

205   WELLS FARGO COMPANY, bonds              See Endnote   N/A           None (or less   Interest      $1,001 - $2,500
                                                                          than $1,001)

206   NEW YORK ST, bonds                      See Endnote   N/A           None (or less   Interest      $5,001 - $15,000
                                                                          than $1,001)

207   NEW YORK ST, bonds                      See Endnote   N/A           None (or less   Interest      $1,001 - $2,500
                                                                          than $1,001)

208   NEW YORK ST, bonds                      See Endnote   N/A           None (or less   Interest      $2,501 - $5,000
                                                                          than $1,001)

209   ONONDAGA CNTY NY, bonds                 See Endnote   N/A           None (or less   Interest      $1,001 - $2,500
                                                                          than $1,001)
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 #        DESCRIPTION                                                   EIF           VALUE              INCOME TYPE   INCOME
                                                                                                                       AMOUNT

 210      WESTCHESTER CNTY NY, bonds                      See Endnote   N/A           None (or less      Interest      $1,001 - $2,500
                                                                                      than $1,001)

 211      WHITE PLAINS NY, bonds                          See Endnote   N/A           None (or less      Interest      $1,001 - $2,500
                                                                                      than $1,001)

 212      CALIFORNIA ST, bonds                            See Endnote   N/A           None (or less      Interest      $2,501 - $5,000
                                                                                      than $1,001)

 213      GEORGIA ST, bonds                               See Endnote   N/A           None (or less      Interest      $5,001 - $15,000
                                                                                      than $1,001)

 214      MARYLAND ST DEPT TRANSN, bonds                  See Endnote   N/A           None (or less      Interest      $2,501 - $5,000
                                                                                      than $1,001)

 215      BOSTON MA, bonds                                See Endnote   N/A           None (or less      Interest      $2,501 - $5,000
                                                                                      than $1,001)

 216      MASSACHUSETTS ST WTR POLLUTN, bonds             See Endnote   N/A           None (or less      Interest      $5,001 - $15,000
                                                                                      than $1,001)

 217      MECKLENBERG CNTY NC, bonds                      See Endnote   N/A           None (or less      Interest      $2,501 - $5,000
                                                                                      than $1,001)

 218      WAKE CNTY NC, bonds                             See Endnote   N/A           None (or less      Interest      $5,001 - $15,000
                                                                                      than $1,001)

 219      VIRGINIA BEACH VA, bonds                        See Endnote   N/A           None (or less      Interest      $1,001 - $2,500
                                                                                      than $1,001)

 220      VIRGINIA ST, bonds                              See Endnote   N/A           None (or less      Interest      $1,001 - $2,500
                                                                                      than $1,001)

 221      UBS RMA Government money market fund                          Yes           $1,001 - $15,000                 None (or less
          (RMGXX)                                                                                                      than $201)



7. Transactions

(N/A) - Not required for this type of report
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8. Liabilities
#       CREDITOR NAME                                      TYPE              AMOUNT         YEAR       RATE              TERM
                                                                                            INCURRED

1       Valley National Bank                               Unsecured line    $5,000,001 -   2015       PRIME+0.75%       revolving
                                                           of credit         $25,000,000

2       Deutsche Bank                        See Endnote   Unsecured line    $5,000,001 -   2015       LIBOR+2.5%        revolving
                                                           of credit         $25,000,000

3       Bank of America                      See Endnote   Unsecured line    $1,000,001 -   2016       LIBOR+2.5%        revolving
                                                           of credit         $5,000,000

4       IDB Bank                             See Endnote   Unsecured line    $1,000,001 -   2016       4.5%              revolving
                                                           of credit         $5,000,000

5       New York Community Bank              See Endnote   Unsecured line    $1,000,001 -   2016       PRIME (3.25% F)   revolving
                                                           of credit         $5,000,000

6       Citi Group                           See Endnote   Unsecured line    $1,000,001 -   2015       LIBOR+2.9%        revolving
                                                           of credit         $5,000,000

7       Signature Bank                       See Endnote   Unsecured line    $1,000,001 -   2016       PRIME+0.5%        revolving
                                                           of credit         $5,000,000                (4% F)

8       Investors Savings Bank                             Unsecured line    $1,000,001 -   2015       PRIME (3.25% F)   revolving
                                                           of credit         $5,000,000

9       Millington Bank                                    Unsecured line    $1,000,001 -   2016       PRIME (3.5% F)    revolving
                                                           of credit         $5,000,000

10      Signature Bank                                     Secured line of   $1,000,001 -   2016       PRIME+0.5%        revolving
                                                           credit            $5,000,000                (4% F)

11      Bank of America                      See Endnote   Note payable      $1,000,001 -   2015       LIBOR+2.75%       6/15/2018
                                                                             $5,000,000

12      Visa                                               Credit Card       $100,001 -     2008       13.74%            revolving
                                                                             $250,000

13      Visa                                               Credit Card       $15,001 -      2008       13.74%            revolving
                                                                             $50,000



9. Gifts and Travel Reimbursements
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(N/A) - Not required for this type of report




Endnotes
 PART                  #                                       ENDNOTE

 1.                    12                                      This entity was previously named Village UK Kushner Member LLC

 1.                    15                                      This entity was previously named Kushner Maryland Associates, LLC

 1.                    222                                     This entity was previously named Village UK Venture LLC

 1.                    232                                     Start date is estimated.

 1.                    233                                     Start date is estimated.

 1.                    234                                     Start date is estimated.

 1.                    235                                     Start date is estimated.

 1.                    250                                     Start date is estimated

 1.                    255                                     Start date is estimated.

 1.                    263                                     The filer intended to resign from this position in January 2017 and has not personally functioned as an
                                                               officer since that time.

 1.                    264                                     The filer intended to resign from this position in January 2017 and has not personally functioned as an
                                                               officer since that time.

 1.                    265                                     The filer intended to resign from this position in January 2017 and has not personally functioned as an
                                                               officer since that time.

 2.                    2                                       This asset has been divested.

 5.                    1                                       Trust was formed on March 9, 2017, and therefore had no income during the reporting period.
                                                               Income for IT Operations LLC entities during the reporting period is reported on Line 11.

 5.                    1.4                                     This asset has been merged into IT Operations Managing Member Corp.

 5.                    1.6                                     This asset has been merged into IT Operations Managing Member Corp.

 5.                    1.8                                     This asset has been merged into IT Operations Managing Member Corp.

 5.                    1.10                                    This asset has been merged into IT Operations Managing Member Corp.
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PART   #                      ENDNOTE

5.     1.12                   This asset has been merged into IT Operations Managing Member Corp.

5.     1.14                   This asset has been merged into IT Operations Managing Member Corp.

5.     1.16                   This asset has been merged into IT Operations Managing Member Corp.

5.     1.18                   This entity holds the following intellectual property: (1) name- and initial-related trademarks registered
                              in the United States, Canada, Mexico, UAE, EU, New Zealand, Saudi Arabia, Australia, Azerbaijan,
                              Bahrain, Brazil, China, Indonesia, Israel, India, Japan, Kuwait, Panama, Philippines, Puerto Rico, Qatar,
                              Turkey, Russia, Nigeria, Hong Kong, Korea, Taiwan; (2) "Women Who Work"-related trademarks
                              registered in the United States; (3) copyrights related to Ivanka Trump branded jewelry registered in
                              the United States; and (4) name- and initial-related copyrights registered in China and Scotland.

5.     1.19                   This asset has been merged into IT Operations Managing Member Corp.

5.     1.21                   This asset has been merged into IT Operations Managing Member Corp.

5.     1.23                   This asset has been merged into IT Operations Managing Member Corp.

5.     2                      As of July 20, 2017, the book had been published (release date was May 2, 2017)

5.     4                      Filer's spouse previously received fees through these businesses that varied based on the
                              performance of the business, but now will receive fixed payments that have been cross-guaranteed.

                              As of the filing date, filer's spouse had not yet received any of the guaranteed fixed payments.

5.     5                      Filer's spouse previously received fees through these businesses that varied based on the
                              performance of the business, but now will receive fixed payments that have been cross-guaranteed.

                              The guaranteed fixed payments received to date as of March 9, 2017 are reported as a separate line
                              item.

5.     6                      Filer's spouse previously received fees through these businesses that varied based on the
                              performance of the business, but now will receive fixed payments that have been cross-guaranteed.

                              As of the filing date, filer's spouse had not yet received any of the guaranteed fixed payments.

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

5.     7                      Filer's spouse resigned from her positions at the Trump Organization in January 2017.

5.     8                      Filer's spouse resigned from her position as trustee in December 2016.

5.     11                     January 2016 - March 8, 2017 income for assets currently held in the Ivanka M. Trump Business Trust,
                              as reflected in Line 1.

5.     13                     Filer's spouse previously received fees through these businesses that varied based on the
                              performance of the business, but now will receive fixed payments that have been cross-guaranteed.
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PART   #                     ENDNOTE

5.     14                    After having been inadvertently omitted, this underlying asset was added during the ordinary review
                             process with OGE.

5.     15                    After having been inadvertently omitted, this underlying asset was added during the ordinary review
                             process with OGE.

5.     16                    After having been inadvertently omitted, this underlying asset was added during the ordinary review
                             process with OGE.

5.     17                    Value reflected at Part 5, Line 3. This line item reflects income received from Ivanka OPO LLC between
                             filer's spouse's resignation from the entity in January 2017 and March 9, 2017.

6.     1.1                   The structure of this entity is as follows:
                             1.1.1 ELMWOOD CHICAGO HOLDING, LLC (Commercial Real Estate in Chicago, IL)
                             1.1.1.1 ELMWOOD CHICAGO MEMBER, LLC (Commercial Real Estate in Chicago, IL)
                             1.1.1.1.1 ELMWOOD CHICAGO ASSOCIATES, LLC (Commercial Real Estate in Chicago, IL)

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     1.2                   The structure of this entity is as follows:
                             1.2.1 LANDINGS CHICAGO HOLDING, LLC (Commercial Real Estate in Chicago, IL)
                             1.2.1.1 LANDINGS CHICAGO MEMBER, LLC (Commercial Real Estate in Chicago, IL)
                             1.2.1.1.1 LANDINGS CHICAGO ASSOCIATES, LLC (Commercial Real Estate in Chicago, IL)

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     1.3                   The structure of this entity is as follows:
                             1.3.1 OAKWOOD CHICAGO HOLDING, LLC (Commercial Real Estate in Chicago, IL)
                             1.3.1.1 OAKWOOD CHICAGO MEMBER, LLC (Commercial Real Estate in Chicago, IL)
                             1.3.1.1.1 OAKWOOD CHICAGO ASSOCIATES, LLC (Commercial Real Estate in Chicago, IL)

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     1.4                   The structure of this entity is as follows:
                             1.4.1 WALLKILL CHICAGO HOLDING, LLC (Commercial Real Estate in Chicago, IL)
                             1.4.1.1 WALLKILL CHICAGO MEMBER, LLC (Commercial Real Estate in Chicago, IL)
                             1.4.1.1.1 WALLKILL CHICAGO ASSOCIATES, LLC (Commercial Real Estate in Chicago, IL)

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.
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PART   #                     ENDNOTE

6.     1.5                   The structure of this entity is as follows:
                             1.5.1 EAST 9TH MANAGER LLC (Residential Real Estate in New York, NY)
                             1.5.1.1 KUSHNER VILLAGE 329 EAST 9TH LLC (Residential Real Estate in New York, NY)
                             1.5.2 KUSHNER VILLAGE 3 SPE LLC (Residential Real Estate in New York, NY)
                             1.5.2.1 KUSHNER VILLAGE 329 EAST 9TH LLC (Residential Real Estate in New York, NY)
                             1.5.2.2 KUSHNER VILLAGE 325 EAST 10TH LLC (Residential Real Estate in New York, NY)
                             1.5.3 KUSHNER VILLAGE 4 SPE LLC (Residential Real Estate in New York, NY)
                             1.5.3.1 315 EAST 10TH STREET LLC (Residential Real Estate in New York, NY)
                             1.5.3.2 118-120 EAST FOURTH OWNER LLC (Residential Real Estate in New York, NY)
                             1.5.3.3 195 EAST FOURTH OWNER LLC (Residential Real Estate in New York, NY)
                             1.5.3.4 199-203 EAST FOURTH OWNER LLC (Residential Real Estate in New York, NY)

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     1.6                   The structure of this entity is as follows:
                             1.6.1 NEW PUCK INVESTORS, LLC (Commercial Real Estate in New York, NY)
                             1.6.1.1 NEW PUCK, LLC (Commercial Real Estate in New York, NY)

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     1.8                   This asset has been divested.

                             The structure of this entity is as follows:
                             1.8.1 BPA CENTER LLC (Commercial Real Estate in New York, NY)
                             1.8.1.1 666 ASSOCIATES, LP (Commercial Real Estate in New York, NY)
                             1.8.1.1.1 FIFTH K TWO, L.L.C. (Commercial Real Estate in New York, NY)
                             1.8.1.1.1.1 666 FIFTH EQUITY LLC (Commercial Real Estate in New York, NY)
                             1.8.1.1.1.1.1 666 FIFTH ASSOCIATES LLC (Commercial Real Estate in New York, NY)
                             1.8.1.1.2 666 KUSHNER LENDER LLC (Commercial Real Estate in New York, NY)
                             1.8.1.1.2.1 666 FIFTH ASSOCIATES LLC (Commercial Real Estate in New York, NY)
                             1.8.1.1.3 666 FIFTH CLEANING LLC (Commercial Real Estate in New York, NY)

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     1.9                   This asset has been divested.

                             After having been inadvertently omitted, this underlying asset was added during the ordinary review
                             process with OGE.

6.     2.1                   See item 1.1 for entity structure.

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.
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PART   #                     ENDNOTE

6.     2.2                   See item 1.2 for entity structure.

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     2.3                   See item 1.3 for entity structure.

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     2.4                   See item 1.4 for entity structure.

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     2.5                   See item 1.5 for entity structure.

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     2.6                   The structure of this entity is as follows:
                             2.6.1 VILLAGE JV SPE LLC (Residential Real Estate in New York, NY)
                             2.6.1.1 120 MACDOUGAL STREET REALTY LLC (Residential Real Estate in New York, NY)
                             2.6.1.2 267 EAST 10TH STREET REALTY LLC (Residential Real Estate in New York, NY)
                             2.6.1.3 435 EAST 9TH STREET REALTY LLC (Residential Real Estate in New York, NY)
                             2.6.1.4 156 SULLIVAN STREET REALTY LLC (Residential Real Estate in New York, NY)
                             2.6.1.5 318 EAST 11TH STREET REALTY LLC (Residential Real Estate in New York, NY)
                             2.6.1.6 54 BARROW STREET ASSOCIATES LLC (Residential Real Estate in New York, NY)
                             2.6.1.7 99 EAST 7TH STREET REALTY LLC (Residential Real Estate in New York, NY)
                             2.6.1.8 318 EAST 6TH STREET REALTY LLC (Residential Real Estate in New York, NY)

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     2.7                   The structure of this entity is as follows:
                             2.7.1 VILLAGE 2 JV SPE LLC (Residential Real Estate in New York, NY)
                             2.7.1.1 VILLAGE JV 129 FIRST AVENUE LLC (Residential Real Estate in New York, NY)
                             2.7.1.2 VILLAGE JV 143 FIRST AVENUE LLC (Residential Real Estate in New York, NY)
                             2.7.1.3 VILLAGE JV 165 AVENUE A LLC (Residential Real Estate in New York, NY)
                             2.7.1.4 VILLAGE JV 191-193 AVENUE A LLC (Residential Real Estate in New York, NY)
                             2.7.1.5 VILLAGE JV 201 EAST 2ND STREET LLC (Residential Real Estate in New York, NY)
                             2.7.1.6 VILLAGE JV 211 AVENUE A LLC (Residential Real Estate in New York, NY)
                             2.7.1.7 VILLAGE JV 338 EAST 11TH LLC (Residential Real Estate in New York, NY)
                             2.7.1.8 VILLAGE JV 435 12TH LLC (Residential Real Estate in New York, NY)
                             2.7.1.9 VILLAGE JV 500 EAST 11TH LLC (Residential Real Estate in New York, NY)

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.
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PART   #                      ENDNOTE

6.     2.8                    The structure of this entity is as follows:
                              2.8.1 Northern Liberties, JV (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1 Northern Liberties GP, LLC (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.1 Liberties Walk Associates, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.2 Piazza, LLC (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.3 Piazza Partners I, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.4 1050 North Hancock Partners, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.5 1010 North Hancock Partners, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.6 109 Wildey Partners, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.7 1011 North Hancock Partners, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.8 1022 Associates, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.9 LW Townhome Partners, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.10 George Street Partners, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.11 LW Partners III, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.1.12 1031 Germantown Partners, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.2 Liberties Walk Associates, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.3 Piazza, LLC (Residential Real Estate in Philadelphia, PA)
                              2.8.1.4 Piazza Partners I, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.5 1050 North Hancock Partners, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.6 1010 North Hancock Partners, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.7 109 Wildey Partners, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.8 1011 North Hancock Partners, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.9 1022 Associates, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.10 LW Townhome Partners, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.11 George Street Partners, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.12 LW Partners III, LP (Residential Real Estate in Philadelphia, PA)
                              2.8.1.13 1031 Germantown Partners, LP (Residential Real Estate in Philadelphia, PA)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     2.10                   See item 1.6 for entity structure.

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     2.11                   The structure of this entity is as follows:

                              2.11.1 BROOKLYN KF NORTH 1 ASSOCIATES, LLC (Residential Real Estate in Brooklyn, NY)
                              2.11.1.1 50 NORTH ONE LLC (Residential Real Estate in Brooklyn, NY)
                              2.11.2 PUCK LEONIA LLC (Residential Real Estate in Leonia, NJ)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     2.18                   This asset has been divested.

6.     2.19                   This asset has been divested.
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PART   #                      ENDNOTE

6.     2.20                   This asset has been divested. Income amount is estimated.

6.     2.21                   This asset has been divested. Income amount is estimated.

6.     2.22                   This asset has been divested. Income amount is estimated.

6.     2.23                   This asset has been divested. Income amount is estimated.

6.     2.24                   This asset has been divested. Income amount is estimated.

6.     2.25                   This asset has been divested. Income amount is estimated.

6.     2.26                   This asset has been divested. Income amount is estimated.

6.     2.27                   This asset has been divested. Income amount is estimated.

6.     2.28                   This asset has been divested. Income amount is estimated.

                              After having been inadvertently omitted, this underlying asset was added during the ordinary review
                              process with OGE.

6.     3.2                    The structure of this entity is as follows:
                              3.2.1 95 BAUER DRIVE ASSOCIATES, LLC (Industrial Real Estate in Fairlawn & Oakland, NJ)
                              3.2.2 19-05 NEVINS ROAD ASSOCIATES, LLC (Industrial Real Estate in Fairlawn & Oakland, NJ)
                              3.2.3 15-00 POLLITT DRIVE ASSOCIATES, LLC (Industrial Real Estate in Fairlawn & Oakland, NJ)
                              3.2.4 17-01 POLLITT DRIVE ASSOCIATES, LLC (Industrial Real Estate in Fairlawn & Oakland, NJ)
                              3.2.5 19-00 POLLITT DRIVE ASSOCIATES, LLC (Industrial Real Estate in Fairlawn & Oakland, NJ)
                              3.2.6 40 POTASH ROAD ASSOCIATES, LLC (Industrial Real Estate in Fairlawn & Oakland, NJ)
                              3.2.7 5 THORNTON ROAD ASSOCIATES, LLC (Industrial Real Estate in Fairlawn & Oakland, NJ)
                              3.2.8 128 BAUER DRIVE ASSOCIATES, LLC (Industrial Real Estate in Fairlawn & Oakland, NJ)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     3.10                   As of July 20, 2017, this asset has been divested.

                              The structure of this entity is as follows:
                              3.10.1 NJ MALL ASSOCIATES LLC (Commercial Real Estate in Eatontown, NJ)
                              3.10.1.1 EATONTOWN MONMOUTH MALL HOLDINGS LLC (Commercial Real Estate in Eatontown, NJ)
                              3.10.1.1.1 EATONTOWN MONMOUTH MALL (JUNIOR MEZZ) LLC (Commercial Real Estate in Eatontown,
                              NJ)
                              3.10.1.1.1.1 EATONTOWN MONMOUTH MALL (SENIOR MEZZ) LLC (Commercial Real Estate in
                              Eatontown, NJ)
                              3.10.1.1.1.1.1 EATONTOWN MONMOUTH MALL LLC (Commercial Real Estate in Eatontown, NJ)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.
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PART   #                      ENDNOTE

6.     3.11                   As of July 20, 2017, this asset has been divested.

                              The structure of this entity is as follows:
                              3.11.1 EATONTOWN MONMOUTH MALL HOLDINGS LLC (Commercial Real Estate in Eatontown, NJ)
                              3.11.1.1 EATONTOWN MONMOUTH MALL (JUNIOR MEZZ) LLC (Commercial Real Estate in Eatontown,
                              NJ)
                              3.11.1.1.1 EATONTOWN MONMOUTH MALL (SENIOR MEZZ) LLC (Commercial Real Estate in Eatontown,
                              NJ)
                              3.11.2 EATONTOWN MONMOUTH MALL LLC (Commercial Real Estate in Eatontown, NJ)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     3.12                   As of July 20, 2017, this asset has been divested.

                              The structure of this entity is as follows:
                              3.12.1 VM KUSHNER (JUNIOR MEZZ) LLC (Commercial Real Estate in Eatontown, NJ)
                              3.12.1.1 VM KUSHNER (SENIOR MEZZ) LLC (Commercial Real Estate in Eatontown, NJ)
                              3.12.1.1.1 VM KUSHNER LLC (Commercial Real Estate in Eatontown, NJ)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     3.13                   The structure of this entity is as follows:
                              3.13.1 125 ALGONQUIN ASSOCIATES, LLC (Industrial Real Estate in Whippany, NJ)
                              3.13.2 145 ALGONQUIN ASSOCIATES, LLC (Industrial Real Estate in Whippany, NJ)
                              3.13.3 156 ALGONQUIN ASSOCIATES, LLC (Industrial Real Estate in Whippany, NJ)
                              3.13.4 30 LESLIE ASSOCIATES, LLC (Industrial Real Estate in Whippany, NJ)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     3.15                   The structure of this entity is as follows:
                              3.15.1 SKYLINE JV PARTNERSHIP, L.P. (Residential Real Estate in Hasbrouck Heights & Lodi, NJ)
                              3.15.1.1 SKYLINE GP, LLC (Residential Real Estate in Hasbrouck Heights & Lodi, NJ)
                              3.15.1.1.1 SKYLINE PROPERTY OWNER, LP (Residential Real Estate in Hasbrouck Heights & Lodi, NJ)
                              3.15.1.2 SKYLINE PROPERTY OWNER, LP (Residential Real Estate in Hasbrouck Heights & Lodi, NJ)
                              3.15.1.3 BOULEVARD GP, LLC (Residential Real Estate in Hasbrouck Heights & Lodi, NJ)
                              3.15.1.3.1 BOULEVARD PROPERTY OWNER, LP (Residential Real Estate in Hasbrouck Heights & Lodi, NJ)
                              3.15.1.4 BOULEVARD PROPERTY OWNER, LP (Residential Real Estate in Hasbrouck Heights & Lodi, NJ)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     3.17                   The structure of this entity is as follows:
                              3.17.1 THIRTY VREELAND ASSOCIATES, LLC (Commercial Real Estate in Florham Park, NJ)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.
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PART   #                      ENDNOTE

6.     3.18                   The structure of this entity is as follows:
                              3.18.1 55 CHALLENGER LLC (Commercial Real Estate in Ridgefield Park, NJ)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     3.21                   This asset has been divested.

6.     3.22                   This asset has been divested.

6.     3.23                   This asset has been divested.

6.     3.24                   This asset has been divested. Income amount is estimated.

6.     3.25                   This asset has been divested. Income amount is estimated.

6.     3.26                   This asset has been divested. Income amount is estimated.

6.     3.27                   This asset has been divested.

6.     4.1                    The structure of this entity is as follows:
                              4.1.1 KCLW ACQUISITION MANAGER LLC (Residential Real Estate in Brooklyn, NY)
                              4.1.1.1 KCLW ACQUISITION LLC (Residential Real Estate in Brooklyn, NY)
                              4.1.1.1.1 RP/K KENT AVENUE, LLC (Residential Real Estate in Brooklyn, NY)
                              4.1.1.1.1.1 MARATHON/JTR WILLIAMSBURG HOLDINGS, LLC (Residential Real Estate in Brooklyn, NY)
                              4.1.1.1.1.1.1 184 KENT FEE, LLC (Residential Real Estate in Brooklyn, NY)
                              4.1.1.1.1.1.1.1 184 KENT FEE, LLC (Residential Real Estate in Brooklyn, NY)
                              4.1.1.1.1.1.1.1.1 184 KENT OWNER, LLC (Residential Real Estate in Brooklyn, NY)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.2                    The structure of this entity is as follows:
                              4.2.1 CHATHAM HILL HOLDINGS, LLC (Residential Real Estate in Chatham, NJ)
                              4.2.1.1 CHATHAM PARENT, LLC (Residential Real Estate in Chatham, NJ)
                              4.2.1.1.1 CHATHAM HOLDER, LLC (Residential Real Estate in Chatham, NJ)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.3                    See item 1.1 for entity structure.

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.4                    See item 1.2 for entity structure.

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.
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6.     4.5                   The structure of this entity is as follows:
                             4.5.1 80 WEST END PARTNERS LLC (Residential Real estate in Long Branch, NJ and Commercial Real
                             Estate in Astoria, NY)
                             4.5.1.1 PIER VILLAGE I URBAN RENEWAL COMPANY LLC (Residential Real Estate in Long Branch, NJ)
                             4.5.1.2 PIER VILLAGE II URBAN RENEWAL COMPANY LLC (Residential Real Estate in Long Branch, NJ)
                             4.5.1.3 KB ASTORIA LLC (Commercial Real Estate in Astoria, NY)

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     4.6                   The structure of this entity is as follows:
                             4.6.1 KCLW 3RD STREET LLC (Undeveloped Real Estate in Brooklyn, NY)
                             4.6.1.1 175-225 THIRD JV LLC (Undeveloped Real Estate in Brooklyn, NY)
                             4.6.1.1.1 175-225 THIRD OWNER LLC (Undeveloped Real Estate in Brooklyn, NY)

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     4.7                   The structure of this entity is as follows:
                             4.7.1 HARLEM PORTFOLIO PROPERTIES, LLC (Residential Real Estate in New York, NY)
                             4.7.1.1 HARLEM 151-133 ASSOCIATES, LLC (Residential Real Estate in New York, NY)
                             4.7.1.1.1 VILLAGE KF 12TH ASSOCIATES, LLC (Residential Real Estate in New York, NY)
                             4.7.1.1.1.1 VILLAGE KF 516 EAST 13TH LLC (Residential Real Estate in New York, NY)
                             4.7.1.1.1.2 VILLAGE KF 504 EAST 12TH LLC (Residential Real Estate in New York, NY)

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     4.8                   The structure of this entity is as follows:
                             4.8.1 K2 26JS MEMBER LLC (Commercial Real Estate in Jersey City, NJ)
                             4.8.1.1 K2W2 26JS HOLDINGS LLC (Commercial Real Estate in Jersey City, NJ)
                             4.8.1.1.1 26 JOURNAL MASTER TENANT LLC (Commercial Real Estate in Jersey City, NJ)
                             4.8.1.1.2 26 JOURNAL SQUARE MEMBER LLC (Commercial Real Estate in Jersey City, NJ)
                             4.8.1.1.2.1 26 JOURNAL SQUARE OWNER LLC (Commercial Real Estate in Jersey City, NJ)

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     4.9                   The structure of this entity is as follows:
                             4.9.1 30 JOURNAL SQUARE PARTNERS, LLC (Undeveloped Real Estate in Jersey City, NJ)

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.
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6.     4.10                   The structure of this entity is as follows:
                              4.10.1 CADRE ASTORIA LLC (Residential Real Estate in Astoria, NY)
                              4.10.1.1 CADRE ASTORIA 23-05 30TH LLC (Residential Real Estate in Astoria, NY)
                              4.10.1.2 CADRE ASTORIA 23-15 30TH LLC (Residential Real Estate in Astoria, NY)
                              4.10.1.3 CADRE ASTORIA 21-80 38TH LLC (Residential Real Estate in Astoria, NY)
                              4.10.1.4 CADRE ASTORIA 21-81 38TH LLC (Residential Real Estate in Astoria, NY)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.11                   The structure of this entity is as follows:
                              4.11.1 EV JV PARTNERSHIP, L.P. (Residential Real Estate in New York, NY)
                              4.11.1.1 Village UK Venture, LLC (Residential Real Estate in New York, NY)
                              4.11.1.1.1 EV AVENUE A PROPERTY OWNER, L.P. (Residential Real Estate in New York, NY)
                              4.11.1.1.2 EV 1ST AVENUE PROPERTY OWNER, L.P. (Residential Real Estate in New York, NY)
                              4.11.1.2 EV AVENUE A PROPERTY OWNER, L.P. (Residential Real Estate in New York, NY)
                              4.11.1.3 EV 1ST AVENUE PROPERTY OWNER, L.P. (Residential Real Estate in New York, NY)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.12                   The structure of this entity is as follows:
                              4.12.1 VILLAGE KF 2 ASSOCIATES LLC (Residential Real Estate in New York, NY)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.13                   The structure of this entity is as follows:
                              4.13.1 EAST 9TH MANAGER LLC (Residential Real Estate in New York, NY)
                              4.13.1.1 KUSHNER VILLAGE 329 EAST 9TH LLC (Residential Real Estate in New York, NY)
                              4.13.2 KUSHNER VILLAGE 3 SPE LLC (Residential Real Estate in New York, NY)
                              4.13.2.1 KUSHNER VILLAGE 329 EAST 9TH LLC (Residential Real Estate in New York, NY)
                              4.13.2.2 KUSHNER VILLAGE 325 EAST 10TH LLC (Residential Real Estate in New York, NY)
                              4.13.3 KUSHNER VILLAGE 4 SPE LLC (Residential Real Estate in New York, NY)
                              4.13.3.1 315 EAST 10TH STREET LLC (Residential Real Estate in New York, NY)
                              4.13.3.2 118-120 EAST FOURTH OWNER LLC (Residential Real Estate in New York, NY)
                              4.13.3.3 195 EAST FOURTH OWNER LLC (Residential Real Estate in New York, NY)
                              4.13.3.4 199-203 EAST FOURTH OWNER LLC (Residential Real Estate in New York, NY)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.
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6.     4.14                   The structure of this entity is as follows:
                              4.14.1 K MORGAN STREET, LLC (Residential Real Estate in Jersey City, NJ)
                              4.14.1.1 MORGAN STREET DEVELOPERS JOINT VENTURE, LLC (Residential Real Estate in Jersey City, NJ)
                              4.14.1.1.1 MORGAN STREET DEVELOPERS MEZZ ASSOCIATES, LLC (Residential Real Estate in Jersey City,
                              NJ)
                              4.14.1.1.1.1 MORGAN STREET DEVELOPERS URBAN RENEWAL COMPANY, LLC (Residential Real Estate
                              in Jersey City, NJ)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.15                   This asset has been divested. Capital gains amount is estimated.

                              The structure of this entity is as follows:
                              4.15.1 K2 ONE JOURNAL SQUARE MEMBER LLC (Undeveloped Real Estate in Jersey City, NJ)
                              4.15.1.1 ONE JOURNAL SQUARE TOWER SOUTH HOLDINGS LLC (Undeveloped Real Estate in Jersey
                              City, NJ)
                              4.15.1.1.1 ONE JOURNAL SQUARE TOWER SOUTH MEMBER LLC (Undeveloped Real Estate in Jersey
                              City, NJ)
                              4.15.1.1.1.1 ONE JOURNAL SQUARE TOWER SOUTH URBAN RENEWAL COMPANY LLC (Undeveloped
                              Real Estate in Jersey City, NJ)
                              4.15.1.2 ONE JOURNAL SQUARE PARTNERS HOLDINGS LLC (Undeveloped Real Estate in Jersey City, NJ)
                              4.15.1.2.1 ONE JOURNAL SQUARE PARTNERS MEMBER LLC (Undeveloped Real Estate in Jersey City, NJ)
                              4.15.1.2.1.1 ONE JOURNAL SQUARE PARTNERS URBAN RENEWAL COMPANY LLC (Undeveloped Real
                              Estate in Jersey City, NJ)
                              4.15.1.3 ONE JOURNAL SQUARE TOWER NORTH HOLDINGS LLC (Undeveloped Real Estate in Jersey
                              City, NJ)
                              4.15.1.3.1 ONE JOURNAL SQUARE TOWER NORTH MEMBER LLC (Undeveloped Real Estate in Jersey
                              City, NJ)
                              4.15.1.3.1.1 ONE JOURNAL SQUARE TOWER NORTH URBAN RENEWAL COMPANY LLC (Undeveloped
                              Real Estate in Jersey City, NJ)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.
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6.     4.16                   The structure of this entity is as follows:
                              4.16.1 KC DUMBO HOLDING LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1 RFR/K DUMBO LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.1 WATCHOWER CONSTRUCTION MANAGER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.2 WATCHTOWER PROPERTY MANAGER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.3 WATCHTOWER LEASING LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.4 DUMBO PROMOTE (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.5 DUMBO WT VENTURE LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.5.1 DUMBO WT SUB LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.5.1.1 117 ADAMS OWNER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.5.1.2 77 SANDS OWNER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.5.1.3 55 PROSPECT OWNER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.5.1.4 81 PROSPECT OWNER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.16.1.1.5.1.5 175 PEARL OWNER LLC (Commercial Real Estate in Brooklyn, NY)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.17                   The structure of this entity is as follows:
                              4.17.1 KC DUMBO HOLDING LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1 RFR/K DUMBO LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.1 WATCHOWER CONSTRUCTION MANAGER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.2 WATCHTOWER PROPERTY MANAGER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.3 WATCHTOWER LEASING LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.4 DUMBO PROMOTE (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.5 DUMBO WT VENTURE LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.5.1 DUMBO WT SUB LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.5.1.1 117 ADAMS OWNER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.5.1.2 77 SANDS OWNER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.5.1.3 55 PROSPECT OWNER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.5.1.4 81 PROSPECT OWNER LLC (Commercial Real Estate in Brooklyn, NY)
                              4.17.1.1.5.1.5 175 PEARL OWNER LLC (Commercial Real Estate in Brooklyn, NY)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.18                   The structure of this entity is as follows:
                              4.18.1 AK MEMBER LLC (Residential Real Estate in Middle River, MD)
                              4.18.1.1 MIDDLE RIVER JV LLC (Residential Real Estate in Middle River, MD)
                              4.18.1.1.1 CARROLL PARK HOLDINGS LLC (Residential Real Estate in Middle River, MD)
                              4.18.1.1.2 MORNINGSIDE PARK HOLDINGS LLC (Residential Real Estate in Middle River, MD)
                              4.18.1.1.3 ESSEX PARK HOLDINGS LLC (Residential Real Estate in Middle River, MD)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.
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6.     4.19                   The structure of this entity is as follows:
                              4.19.1 K/S WESTWOOD PARTNER, L.P. (Residential Real Estate in Westwood & River Vale, NJ)
                              4.19.1.1 WESTWOOD INVESTORS JV, L.P. (Residential Real Estate in Westwood & River Vale, NJ)
                              4.19.1.1.1 STANFORD GP, LLC (Residential Real Estate in Westwood & River Vale, NJ)
                              4.19.1.1.1.1 WESTWOOD CENTER STANFORD PROPERTY OWNER, L.P. (Residential Real Estate in
                              Westwood & River Vale, NJ)
                              4.19.1.1.2 WESTWOOD CENTER STANFORD PROPERTY OWNER, L.P. (Residential Real Estate in
                              Westwood & River Vale, NJ)
                              4.19.1.1.3 RC VILLAGE GP, LLC (Residential Real Estate in Westwood & River Vale, NJ)
                              4.19.1.1.3.1 RIVERVALE COLLIGON VILLAGE PROPERTY OWNER, L.P. (Residential Real Estate in
                              Westwood & River Vale, NJ)
                              4.19.1.1.4 RIVERVALE COLLIGON VILLAGE PROPERTY OWNER, L.P. (Residential Real Estate in Westwood
                              & River Vale, NJ)
                              4.19.1.1.5 COVENTRY GP, LLC (Residential Real Estate in Westwood & River Vale, NJ)
                              4.19.1.1.5.1 WESTWOOD CHARLES CONVENTRY PROPERTY OWNER, L.P. (Residential Real Estate in
                              Westwood & River Vale, NJ)
                              4.19.1.1.6 WESTWOOD CHARLES CONVENTRY PROPERTY OWNER, L.P. (Residential Real Estate in
                              Westwood & River Vale, NJ)
                              4.19.1.1.7 MADISON GP, LLC (Residential Real Estate in Westwood & River Vale, NJ)
                              4.19.1.1.7.1 WESTWOOD MADISON PROPERTY OWNER, L.P. (Residential Real Estate in Westwood &
                              River Vale, NJ)
                              4.19.1.1.8 WESTWOOD MADISON PROPERTY OWNER, L.P. (Residential Real Estate in Westwood & River
                              Vale, NJ)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.20                   The structure of this entity is as follows:
                              4.20.1 K-BLS PORTFOLIO LLC (Residential Real Estate in Brooklyn, NY)
                              4.20.1.1 BLS ASSOCIATES LLC (Residential Real Estate in Brooklyn, NY)
                              4.20.1.1.1 BLS PORTFOLIO LLC (Residential Real Estate in Brooklyn, NY)
                              4.20.1.1.1.1 27 MONROE PLACE LLC (Residential Real Estate in Brooklyn, NY)
                              4.20.1.1.1.2 38 MONROE PLACE LLC (Residential Real Estate in Brooklyn, NY)
                              4.20.1.1.1.3 100 PIERREPONT STREET LLC (Residential Real Estate in Brooklyn, NY)
                              4.20.1.1.2 BLS PORTFOLIO 2 LLC (Residential Real Estate in Brooklyn, NY)
                              4.20.1.1.2.1 18 SYDNEY PLACE LLC (Residential Real Estate in Brooklyn, NY)
                              4.20.1.1.2.2 89 HICKS STREET LLC (Residential Real Estate in Brooklyn, NY)
                              4.20.1.1.2.3 144 WILLOW STREET LLC (Residential Real Estate in Brooklyn, NY)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.21                   See item 1.6 for entity structure.

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.
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6.     4.22                   See item 3.13 for entity structure.

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.23                   The structure of this entity is as follows:
                              4.23.1 ST LEONIA, LLC (Residential Real Estate in Leonia, NJ)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.24                   The structure of this entity is as follows:
                              4.24.1 ELMWOOD NYT PRINCIPAL, LLC (Commercial Real Estate in New York, NY)
                              4.24.1.1 ELMWOOD NYT HOLDINGS, LLC (Commercial Real Estate in New York, NY)
                              4.24.1.1.1 ELMWOOD NYT MEZZ, LLC (Commercial Real Estate in New York, NY)
                              4.24.1.1.1.1 ELMWOOD NYT OWNER, LLC (Commercial Real Estate in New York, NY)
                              4.24.2 OAKWOOD NYT PRINCIPAL, LLC (Commercial Real Estate in New York, NY)
                              4.24.2.1 OAKWOOD NYT HOLDINGS, LLC (Commercial Real Estate in New York, NY)
                              4.24.2.1.1 OAKWOOD NYT MEZZ, LLC (Commercial Real Estate in New York, NY)
                              4.24.2.1.1.1 OAKWOOD NYT OWNER, LLC (Commercial Real Estate in New York, NY)
                              4.24.3 WALLKILL NYT PRINCIPAL, LLC (Commercial Real Estate in New York, NY)
                              4.24.3.1 WALLKILL NYT HOLDINGS, LLC (Commercial Real Estate in New York, NY)
                              4.24.3.1.1 WALLKILL NYT MEZZ, LLC (Commercial Real Estate in New York, NY)
                              4.24.3.1.1.1 WALLKILL NYT OWNER, LLC (Commercial Real Estate in New York, NY)
                              4.24.4 LANDINGS NYT PRINCIPAL, LLC (Commercial Real Estate in New York, NY)
                              4.24.4.1 LANDINGS NYT HOLDINGS, LLC (Commercial Real Estate in New York, NY)
                              4.24.4.1.1 LANDINGS NYT MEZZ, LLC (Commercial Real Estate in New York, NY)
                              4.24.4.1.1.1 LANDINGS NYT OWNER, LLC (Commercial Real Estate in New York, NY)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.25                   The structure of this entity is as follows:
                              4.25.1 WARREN AT BAY HOLDINGS LLC (Commercial Real Estate in Jersey City, NJ)
                              4.25.1.1 WARREN AT BAY, LLC (Commercial Real Estate in Jersey City, NJ)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.26                   The structure of this entity is as follows:
                              4.26.1 KRL COLUMBIA HEIGHTS BROOKLYN LLC (Real Estate Under Construction in Brooklyn, NY)
                              4.26.1.1 25-30 COLUMBIA HEIGHTS (BROOKLYN) VENTURE, LLC (Real Estate Under Construction in
                              Brooklyn, NY)
                              4.26.1.1.1 25-30 COLUMBIA HEIGHTS (Brooklyn), LLC (Real Estate Under Construction in Brooklyn, NY)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.
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6.     4.28                   The structure of this entity is as follows:
                              4.28.1 80 MAID LLC (Commercial Real Estate in New York, NY)
                              4.28.1.1 NK 80 MAIDEN HOLDINGS, LLC (Commercial Real Estate in New York, NY)
                              4.28.1.1.1 NK 80 MAIDEN MEZZ, LLC (Commercial Real Estate in New York, NY)
                              4.28.1.1.1.1 NK 80 MAIDEN OWNER, LLC (Commercial Real Estate in New York, NY)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.30                   The structure of this entity is as follows:
                              4.30.1 BLOCK 110 RESIDENTIAL LLC (Residential Real Estate in Kansas City, MO)
                              4.30.2 BLOCK 140 RESIDENTIAL LLC (Residential Real Estate in Kansas City, MO)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.31                   The structure of this entity is as follows:
                              4.31.1 STONE PORTFOLIO JV LLC (Residential Real Estate in New York, NY)
                              4.31.1.1 STONE PORTFOLIO LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.1 KC3 - 101 MACDOUGAL STREET LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.2 KC3 - 104 EAST 7TH STREET LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.3 KC3 - 233 EAST 82ND STREET LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.4 KC3 - 234-238 EAST 33RD STREET LLC(Residential Real Estate in New York, NY)
                              4.31.1.1.5 KC3 - 310 EAST 83RD STREET LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.6 KC3 - 319-321 EAST 78TH STREET LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.7 KC3 - 325 EAST 83RD STREET LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.8 KC3 - 410 EAST 64TH STREET LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.9 KC3 - 438-440 EAST 13TH STREET LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.10 KC3 - 504 EAST 88TH STREET LLC (Residential Real Estate in New York, NY)
                              4.31.1.1.11 KC3 - 354-356 STATE STREET LLC (Residential Real Estate in New York, NY)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.32                   The structure of this entity is as follows:
                              4.32.1 PIER VILLAGE III JV LLC (Undeveloped Real Estate in Long Branch, NJ)
                              4.32.1.1 PIER VILLAGE III URBAN RENEWAL COMPANY, LLC (Undeveloped Real Estate in Long Branch,
                              NJ)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.33                   The structure of this entity is as follows:
                              4.33.1 340 Flatbush Lender LLC (Loan Receivable from 9 Dekalb Owner LLC, Brooklyn, NY)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.36                   This asset has been divested.
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6.     4.37                   This asset has been divested.

                              The structure of this entity is as follows:
                              4.37.1 666 ASSOCIATES, LP (Commercial Real Estate in New York, NY)
                              4.37.1.1 FIFTH K TWO, L.L.C. (Commercial Real Estate in New York, NY)
                              4.37.1.1.1 666 FIFTH EQUITY LLC (Commercial Real Estate in New York, NY)
                              4.37.1.1.1.1 666 FIFTH ASSOCIATES LLC (Commercial Real Estate in New York, NY)
                              4.37.1.2 666 KUSHNER LENDER LLC (Commercial Real Estate in New York, NY)
                              4.37.1.2.1 666 FIFTH ASSOCIATES LLC (Commercial Real Estate in New York, NY)
                              4.37.1.3 666 FIFTH CLEANING LLC (Commercial Real Estate in New York, NY)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.38                   This asset has been divested.

                              See item 1.8 for entity structure.

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.39                   This asset has been divested.

                              This entity has an interest in Bruckner Plaza Center, LLC. See item 1.8 for entity structure.

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.40                   This asset has been divested.

                              This entity has an interest in Bruckner Plaza Center, LLC. See item 1.8 for entity structure.

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     4.42                   After having been inadvertently omitted, this underlying asset was added during the ordinary review
                              process with OGE.

                              The structure of this entity is as follows:

                              4.42.1 Second Avenue Realty LLC (residential real estate in New York, NY)

6.     8                      The structure of this entity is as follows:
                              8.1 55 CHALLENGER LLC (Commercial Real Estate in Ridgefield Park, NJ)

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.
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6.     10                   See item 4.2 for entity structure.

                            Additional information about the structure of this asset was added during the ordinary review process
                            with OGE.

6.     11                   See item 4.5 for entity structure.

                            Additional information about the structure of this asset was added during the ordinary review process
                            with OGE.
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6.     13                   The structure of this entity is as follows:
                            13.1 KUSHNER MARYLAND PARTNERS, LLC (Residential Real Estate in Baltimore and Prince George's
                            County, MD)
                            13.1.1 KUSHNER MARYLAND INVESTMENT FUND LLC (Residential Real Estate in Baltimore and Prince
                            George's County, MD)
                            13.1.1.1 MARYLAND APARTMENT HOLDINGS 10-PACK INVESTOR, LLC (Residential Real Estate in
                            Baltimore and Prince George's County, MD)
                            13.1.1.1.1 MARYLAND APARTMENT HOLDINGS 10-PACK JV, LLC (Residential Real Estate in Baltimore
                            and Prince George's County, MD)
                            13.1.1.1.1.1 MARYLAND APARTMENT HOLDINGS PE 10-PACK JV, LLC (Residential Real Estate in
                            Baltimore and Prince George's County, MD)
                            13.1.1.1.1.1.1 RP COVE VILLAGE, LLC (Residential Real Estate in Baltimore County, MD)
                            13.1.1.1.1.1.1.1 RP COVE APARTMENTS, LLC(Residential Real Estate in Baltimore County, MD)
                            13.1.1.1.1.1.2 SRH/LA BALTIMORE PROPERTIES LLC (Residential Real Estate in Baltimore County, MD)
                            13.1.1.1.1.1.2.1 SRH/LA BALTIMORE MEZZANINE, LLC (Residential Real Estate in Baltimore County, MD)
                            13.1.1.1.1.1.2.1.1 WHITEMARSH I, II, IV MANAGER, INC. (Residential Real Estate in Baltimore County,
                            MD)
                            13.1.1.1.1.1.2.1.1.1 COMMONS AT WHITEMARSH I, II, V, LLC (Residential Real Estate in Baltimore
                            County, MD)
                            13.1.1.1.1.1.2.1.1.1.1 SRH/LA WHITEMARSH I, II, V APARTMENTS, LLC (Residential Real Estate in
                            Baltimore County, MD)
                            13.1.1.1.1.1.2.1.2 COMMONS AT WHITEMARSH I, II, V, LLC (Residential Real Estate in Baltimore County,
                            MD)
                            13.1.1.1.1.1.2.1.2.1 SRH/LA WHITEMARSH I, II, V APARTMENTS, LLC (Residential Real Estate in Baltimore
                            County, MD)
                            13.1.1.1.1.1.2.1.3 WHITEMARSH III MANAGER, INC. (Residential Real Estate in Baltimore County, MD)
                            13.1.1.1.1.1.2.1.3.1 COMMONS AT WHITEMARSH III, LLC (Residential Real Estate in Baltimore County,
                            MD)
                            13.1.1.1.1.1.2.1.3.1.1 SRH/LA WHITEMARSH III APARTMENTS, LLC (Residential Real Estate in Baltimore
                            County, MD)
                            13.1.1.1.1.1.2.1.4 COMMONS AT WHITEMARSH III, LLC (Residential Real Estate in Baltimore County,
                            MD)
                            13.1.1.1.1.1.2.1.4.1 SRH/LA WHITEMARSH III APARTMENTS, LLC (Residential Real Estate in Baltimore
                            County, MD)
                            13.1.1.1.1.1.2.1.5 WHITEMARSH IVA MANAGER, INC. (Residential Real Estate in Baltimore County, MD)
                            13.1.1.1.1.1.2.1.5.1 COMMONS AT WHITEMARSH IVA, LLC (Residential Real Estate in Baltimore County,
                            MD)
                            13.1.1.1.1.1.2.1.5.1.1 SRH/LA WHITEMARSH IVA APARTMENTS, LLC (Residential Real Estate in Baltimore
                            County, MD)
                            13.1.1.1.1.1.2.1.6 COMMONS AT WHITEMARSH IVA, LLC (Residential Real Estate in Baltimore County,
                            MD)
                            13.1.1.1.1.1.2.1.6.1 SRH/LA WHITEMARSH IVA APARTMENTS, LLC (Residential Real Estate in Baltimore
                            County, MD)
                            13.1.1.1.1.1.2.1.7 WHITEMARSH IVB MANAGER, INC. (Residential Real Estate in Baltimore County, MD)
                            13.1.1.1.1.1.2.1.7.1 COMMONS AT WHITEMARSH IVB, LLC (Residential Real Estate in Baltimore County,
                            MD)
                            13.1.1.1.1.1.2.1.7.1.1 SRH/LA WHITEMARSH IVB APARTMENTS, LLC (Residential Real Estate in Baltimore
                            County, MD)
                            13.1.1.1.1.1.2.1.8 COMMONS AT WHITEMARSH IVB, LLC (Residential Real Estate in Baltimore County,
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                           MD)
                           13.1.1.1.1.1.2.1.8.1 SRH/LA WHITEMARSH IVB APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.2.1.9 HARBOR POINT I, II, IV MANAGER, INC. (Residential Real Estate in Baltimore County,
                           MD)
                           13.1.1.1.1.1.2.1.9.1 HARBOR POINT ESTATES I, II, IV, LLC (Residential Real Estate in Baltimore County,
                           MD)
                           13.1.1.1.1.1.2.1.9.1.1 SRH/LA HARBOR POINT I, II, IV APARTMENTS, LLC (Residential Real Estate in
                           Baltimore County, MD)
                           13.1.1.1.1.1.2.1.10 HARBOR POINT ESTATES I, II, IV, LLC (Residential Real Estate in Baltimore County,
                           MD)
                           13.1.1.1.1.1.2.1.10.1 SRH/LA HARBOR POINT I, II, IV APARTMENTS, LLC (Residential Real Estate in
                           Baltimore County, MD)
                           13.1.1.1.1.1.3 SRH/LA CHESAPEAKE APARTMENTS LLC (Residential Real Estate in Baltimore Baltimore
                           and Prince George's County, MD)
                           13.1.1.1.1.1.3.1 SRH/LA CHESAPEAKE MEZZANINE, LLC (Residential Real Estate in Baltimore and Prince
                           George's County, MD)
                           13.1.1.1.1.1.3.1.1 DUTCH VILLAGE MANAGER, INC. (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.1.1 DUTCH VILLAGE, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.1.1.1 SRH/LA DUTCH VILLAGE APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.2 DUTCH VILLAGE, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.2.1 SRH/LA DUTCH VILLAGE APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.3 FONTANA MANAGER, INC. (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.3.1 FONTANA, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.3.1.1 SRH/LA FONTANA APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.4 FONTANA, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.4.1 SRH/LA FONTANA APARTMENTS, LLC (Residential Real Estate in Baltimore County,
                           MD)
                           13.1.1.1.1.1.3.1.5 HAMILTON MANOR MANAGER, INC. (Residential Real Estate in Prince George's
                           County, MD)
                           13.1.1.1.1.1.3.1.5.1 HAMILTON MANOR APARTMENTS, LLC (Residential Real Estate in Prince George's
                           County, MD)
                           13.1.1.1.1.1.3.1.5.1.1 SRH/LA HAMILTON MANOR APARTMENTS, LLC (Residential Real Estate in Prince
                           George's County, MD)
                           13.1.1.1.1.1.3.1.6 HAMILTON MANOR APARTMENTS, LLC (Residential Real Estate in Prince George's
                           County, MD)
                           13.1.1.1.1.1.3.1.6.1 SRH/LA HAMILTON MANOR APARTMENTS, LLC (Residential Real Estate in Prince
                           George's County, MD)
                           13.1.1.1.1.1.3.1.7 HIGHLAND #179 MANAGER, INC. (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.7.1 HIGHLAND #179, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.7.1.1 SRH/LA HIGHLAND #179 APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.8 HIGHLAND #179, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.8.1 SRH/LA HIGHLAND #179 APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.9 HIGHLAND #241 GP, INC. (Residential Real Estate in Baltimore County, MD)
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                           13.1.1.1.1.1.3.1.9.1 HIGHLAND #241, LLLP (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.9.1.1 SRH/LA HIGHLAND #241 APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.10 HIGHLAND #241, LLLP (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.10.1 SRH/LA HIGHLAND #241 APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.11 HIGHLAND #689 MANAGER, INC. (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.11.1 HIGHLAND #689, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.11.1.1 SRH/LA HIGHLAND #689 APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.12 HIGHLAND #689, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.12.1 SRH/LA HIGHLAND #689 APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.13 PLEASANTVIEW MANAGER, INC. (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.13.1 PLEASANTVIEW, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.13.1.1 PLEASANTVIEW APARTMENTS, LLC (Residential Real Estate in Baltimore County,
                           MD)
                           13.1.1.1.1.1.3.1.14 PLEASANTVIEW, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.14.1 PLEASANTVIEW APARTMENTS, LLC (Residential Real Estate in Baltimore County,
                           MD)
                           13.1.1.1.1.1.3.1.15 RIVERVIEW MANAGER, INC. (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.15.1 RIVERVIEW APARTMENTS, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.15.1.1 SRH/LA RIVERVIEW APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.16 RIVERVIEW APARTMENTS, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.16.1 SRH/LA RIVERVIEW APARTMENTS, LLC (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.17 WHISPERING WOODS #250 MANAGER, INC. (Residential Real Estate in Baltimore
                           County, MD)
                           13.1.1.1.1.1.3.1.17.1 WHISPERING WOODS #250, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.17.1.1 SRH/LA WHISPERING WOODS #250 APARTMENTS, LLC (Residential Real Estate in
                           Baltimore County, MD)
                           13.1.1.1.1.1.3.1.18 WHISPERING WOODS #250, LLC (Residential Real Estate in Baltimore County, MD)
                           13.1.1.1.1.1.3.1.18.1 SRH/LA WHISPERING WOODS #250 APARTMENTS, LLC (Residential Real Estate in
                           Baltimore County, MD)
                           13.1.1.1.1.1.3.1.19 WHISPERING WOODS #299 GP, INC. (Residential Real Estate in Baltimore County,
                           MD)
                           13.1.1.1.1.1.3.1.19.1 WHISPERING WOODS #299 LIMITED PARTNERSHIP (Residential Real Estate in
                           Baltimore County, MD)
                           13.1.1.1.1.1.3.1.19.1.1 WHISPERING WOODS #299 APARTMENTS, LLC (Residential Real Estate in
                           Baltimore County, MD)
                           13.1.1.1.1.1.3.1.20 WHISPERING WOODS #299 LIMITED PARTNERSHIP (Residential Real Estate in
                           Baltimore County, MD)
                           13.1.1.1.1.1.3.1.20.1 WHISPERING WOODS #299 APARTMENTS, LLC (Residential Real Estate in
                           Baltimore County, MD)

                           Additional information about the structure of this asset was added during the ordinary review process
                           with OGE.
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6.     14                   The structure of this entity is as follows:
                            14.1 MIDWEST PARTNERS 1 LLC (Residential Real Estate in Toledo, Middletown, Akron & Bedford
                            Heights, OH, Pittsburgh, PA, and Speedway, IN)
                            14.1.1 HEARTLAND MULTIFAMILY JV LLC (Residential Real Estate in Toledo, OH, Bedford, OH, Akron,
                            OH, Middletown, OH & Pittsburgh, PA)
                            14.1.1.1 TOLEDO PROPERTIES OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.1.1.2 HEARTLAND MEZZANINE ASSOCIATES, LLC (Residential Real Estate in Toledo, OH, Bedford,
                            OH, Akron, OH, Middletown, OH & Pittsburgh, PA)
                            14.1.1.2.1 MIRACLE MANOR PROPERTY OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.1.1.2.2 HUNTERS RIDGE PROPERTY OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.1.1.2.3 SUNNYDALE ESTATES PROPERTY OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.1.1.2.4 GEORGETOWN VILLAGE I OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.1.1.2.5 GEORGETOWN VILLAGE II OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.1.1.2.6 GEORGETOWN VILLAGE III OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.1.1.2.7 GEORGETOWN VILLAGE IV OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.1.1.2.8 CEDARWOOD VILLAGE APARTMENTS I & II OWNER LLC (Residential Real Estate in Akron, OH)
                            14.1.1.2.9 CEDARWOOD VILLAGE APARTMENTS III OWNER LLC (Residential Real Estate in Akron, OH)
                            14.1.1.2.10 CEDARWOOD RIVERBEND OWNER LLC (Residential Real Estate in Akron, OH)
                            14.1.1.2.11 BAVARIAN WOODS OWNER LLC (Residential Real Estate in Middletown, OH)
                            14.1.1.2.12 COLUMBUS PARK PROPERTY OWNER LLC (Residential Real Estate in Bedford, OH)
                            14.1.1.2.13 LELAND POINT PARTNERS GP LLC (Residential Real Estate in Pittsburgh, PA)
                            14.1.1.2.14 LELAND POINT PARTNERS LP LLC (Residential Real Estate in Pittsburgh, PA)
                            14.1.1.2.14.1 LELAND POINT LIMITED PARTNER LP (Residential Real Estate in Pittsburgh, PA)
                            14.1.1.2.14.1.1 LELAND POINT OWNER LP (Residential Real Estate in Pittsburgh, PA)
                            14.1.1.2.15 LELAND POINT GP LLC (Residential Real Estate in Pittsburgh, PA)
                            14.1.1.2.15.1 LELAND POINT OWNER LP (Residential Real Estate in Pittsburgh, PA)
                            14.1.1.3 COPPERTREE PROPERTIES OWNER LLC (Residential Real Estate in Speedway, IN)
                            14.2 HEARTLAND MULTIFAMILY JV LLC (Residential Real Estate in Toledo, OH, Bedford, OH, Akron, OH,
                            Middletown, OH & Pittsburgh, PA)
                            14.2.1 TOLEDO PROPERTIES OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.2.2 HEARTLAND MEZZANINE ASSOCIATES, LLC (Residential Real Estate in Toledo, OH, Bedford, OH,
                            Akron, OH, Middletown, OH & Pittsburgh, PA)
                            14.2.2.1 MIRACLE MANOR PROPERTY OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.2.2.2 HUNTERS RIDGE PROPERTY OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.2.2.3 SUNNYDALE ESTATES PROPERTY OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.2.2.4 GEORGETOWN VILLAGE I OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.2.2.5 GEORGETOWN VILLAGE II OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.2.2.6 GEORGETOWN VILLAGE III OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.2.2.7 GEORGETOWN VILLAGE IV OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.2.2.8 CEDARWOOD VILLAGE APARTMENTS I & II OWNER LLC (Residential Real Estate in Akron, OH)
                            14.2.2.9 CEDARWOOD VILLAGE APARTMENTS III OWNER LLC (Residential Real Estate in Akron, OH)
                            14.2.2.10 CEDARWOOD RIVERBEND OWNER LLC (Residential Real Estate in Akron, OH)
                            14.2.2.11 BAVARIAN WOODS OWNER LLC (Residential Real Estate in Middletown, OH)
                            14.2.2.12 COLUMBUS PARK PROPERTY OWNER LLC (Residential Real Estate in Bedford, OH)
                            14.2.2.13 LELAND POINT PARTNERS GP LLC (Residential Real Estate in Pittsburgh, PA)
                            14.2.2.14 LELAND POINT PARTNERS LP LLC (Residential Real Estate in Pittsburgh, PA)
                            14.2.2.14.1 LELAND POINT LIMITED PARTNER LP (Residential Real Estate in Pittsburgh, PA)
                            14.2.2.14.1.1 LELAND POINT OWNER LP (Residential Real Estate in Pittsburgh, PA)
                            14.2.2.15 LELAND POINT GP LLC (Residential Real Estate in Pittsburgh, PA)
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                            14.2.2.15.1 LELAND POINT OWNER LP (Residential Real Estate in Pittsburgh, PA)
                            14.2.3 COPPERTREE PROPERTIES OWNER LLC (Residential Real Estate in Speedway, IN)
                            14.3 HEARTLAND MULTIFAMILY JV LLC (Residential Real Estate in Toledo, OH, Bedford, OH, Akron, OH,
                            Middletown, OH & Pittsburgh, PA)
                            14.3.1 TOLEDO PROPERTIES OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.3.2 HEARTLAND MEZZANINE ASSOCIATES, LLC (Residential Real Estate in Toledo, OH, Bedford, OH,
                            Akron, OH, Middletown, OH & Pittsburgh, PA)
                            14.3.2.1 MIRACLE MANOR PROPERTY OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.3.2.2 HUNTERS RIDGE PROPERTY OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.3.2.3 SUNNYDALE ESTATES PROPERTY OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.3.2.4 GEORGETOWN VILLAGE I OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.3.2.5 GEORGETOWN VILLAGE II OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.3.2.6 GEORGETOWN VILLAGE III OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.3.2.7 GEORGETOWN VILLAGE IV OWNER LLC (Residential Real Estate in Toledo, OH)
                            14.3.2.8 CEDARWOOD VILLAGE APARTMENTS I & II OWNER LLC (Residential Real Estate in Akron, OH)
                            14.3.2.9 CEDARWOOD VILLAGE APARTMENTS III OWNER LLC (Residential Real Estate in Akron, OH)
                            14.3.2.10 CEDARWOOD RIVERBEND OWNER LLC (Residential Real Estate in Akron, OH)
                            14.3.2.11 BAVARIAN WOODS OWNER LLC (Residential Real Estate in Middletown, OH)
                            14.3.2.12 COLUMBUS PARK PROPERTY OWNER LLC (Residential Real Estate in Bedford, OH)
                            14.3.2.13 LELAND POINT PARTNERS GP LLC (Residential Real Estate in Pittsburgh, PA)
                            14.3.2.13.1 LELAND POINT PARTNERS LP LLC (Residential Real Estate in Pittsburgh, PA)
                            14.3.2.13.1.1 LELAND POINT LIMITED PARTNER LP (Residential Real Estate in Pittsburgh, PA)
                            14.3.2.13.1.1.1 LELAND POINT OWNER LP (Residential Real Estate in Pittsburgh, PA)
                            14.3.2.14 LELAND POINT GP LLC (Residential Real Estate in Pittsburgh, PA)
                            14.3.2.14.1 LELAND POINT OWNER LP (Residential Real Estate in Pittsburgh, PA)
                            14.3.3 COPPERTREE PROPERTIES OWNER LLC (Residential Real Estate in Speedway, IN)

                            As of July 20, 2017, the interest in TOLEDO PROPERTIES OWNER LLC has been divested.

                            Additional information about the structure of this asset was added during the ordinary review process
                            with OGE.

6.     15                   The structure of this entity is as follows:
                            15.1 PUCK BUILDING, LP (Commercial Real Estate in New York, NY)
                            15.1.1 NEW PUCK INVESTORS, LLC (Commercial Real Estate in New York, NY)
                            15.1.1.1 NEW PUCK, LLC (Commercial Real Estate in New York, NY)

                            Additional information about the structure of this asset was added during the ordinary review process
                            with OGE.

6.     16                   See item 4.24 for entity structure.

                            Additional information about the structure of this asset was added during the ordinary review process
                            with OGE.

6.     18                   This asset has a loan receivable from KCOF - 215 Moore LLC.
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6.     19                     The conflicting assets of this interest have been divested.

                              Additional information about the structure of this asset was added during the ordinary review process
                              with OGE.

6.     19.3                   After having been inadvertently omitted, this underlying asset was added during the ordinary review
                              process with OGE.

                              Although Filer had discussed Quadro Partners (Cadre) with OGE prior to submitting the 278e, the
                              version of the form made public on March 31, 2017 inadvertently listed only the parent company (BFPS
                              Ventures LLC) holding Filer’s interest in Cadre, not Cadre itself. Filer identified the omission during the
                              ordinary review process with OGE and revised the report to disclose this asset. Filer has been and will
                              continue to be recused from particular matters in the broker-dealer, real estate, and online financial
                              services sectors to the extent they would have a direct and predictable effect on Cadre.

6.     19.4                   This asset has been divested.

                              After having been inadvertently omitted, this underlying asset was added during the ordinary review
                              process with OGE.

6.     19.5                   After having been inadvertently omitted, this underlying asset was added during the ordinary review
                              process with OGE.

                              The structure of this entity is as follows:
                              159.1 2 Rector Street (NY) JV, LLC (Commercial Real Estate in New York, NY)
                              159.1.1 2 Rector Street (NY), LLC (Commercial Real Estate in New York, NY)

6.     19.6                   This asset has been divested.

                              After having been inadvertently omitted, this underlying asset was added during the ordinary review
                              process with OGE.

6.     19.7                   This asset has been divested.

                              After having been inadvertently omitted, this underlying asset was added during the ordinary review
                              process with OGE.

6.     19.8                   As of July 20, 2017, this asset has been divested.

                              After having been inadvertently omitted, this underlying asset was added during the ordinary review
                              process with OGE.

6.     19.9                   After having been inadvertently omitted, this underlying asset was added during the ordinary review
                              process with OGE.
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6.     19.10                   After having been inadvertently omitted, this underlying asset was added during the ordinary review
                               process with OGE.

                               This entity holds contingent rights to ownership interests in the following entities if specified revenue
                               targets are met:
                               KC Dumbo Office LLC (Commercial Real Estate in Brooklyn, NY)
                               80 ML LLC (Commercial Real Estate in New York, NY)
                               25-30 Columbia Heights (Brooklyn) Venture LLC (Real Estate Under Construction in Brooklyn, NY)
                               Warren At Bay Associates LLC (Commercial Real Estate in Jersey City, NJ)
                               K/S Westwood Partner LP (Residential Real Estate in Westwood and River Vale, NJ)
                               Middle River JV LLC (Residential Real Estate in Middle River, MD)
                               Chatham Hill Holdings LLC (Residential Real Estate in Chatham, NJ)
                               Puck Residential Associates, LLC (Residential Condominiums in New York, NY)
                               K GAIA Village 2 Associates LLC (Residential Real Estate in New York, NY)
                               EV JV GP, LLC (Residential Real Estate in New York, NY)
                               Northern Liberties JV, LLC (Residential Real Estate in Philadelphia, PA)
                               50 North One, LLC (Residential Real Estate in Brooklyn, NY)
                               Village KF 2 Associates, LLC (Residential Real Estate in New York, NY)
                               BLS Portfolio, LLC (Residential Real Estate in Brooklyn, NY)
                               Stone Portfolio, LLC (Residential Real Estate in New York, NY)
                               K Morgan Street, LLC (Residential Real Estate in Jersey City, NJ)
                               K 26 Journal Square, LLC (Commercial Real Estate in Jersey City, NJ)
                               Kushner Journal Square LLC (Commercial Real Estate in Jersey City, NJ)
                               1 Journal Square Partners Urban Renewal Company LLC (Undeveloped Real Estate in Jersey City, NJ)
                               175-225 Third JV, LLC (Undeveloped Real Estate in Brooklyn, NY)
                               184 Kent Owner, LLC (Residential Real Estate in Brooklyn, NY)
                               Pier Village III Urban Renewal Company, LLC (Undeveloped Real Estate in Long Branch, NJ)
                               KC 215 Moore, LLC (Loan Receivable from Heritage Equities; Brooklyn, NY)
                               55 Challenger Road Associates LLC (Commercial Real Estate in Ridgefield Park, NJ)
                               Kushner Skyline Promote LLC (Contingent Right to Ownership Interest in Skyline Kushner, LLC
                               (Residential Real Estate in Hasbrouck Heights & Lodi, NJ))
                               K GAIA Village 1 Associates LLC (Residential Real Estate in New York, NY)
                               K Maryland Associates LLC (Residential Real Estate in Baltimore and Prince George's County)

                               As of July 20, 2017 the interest in 1 Journal Square Partners Urban Renewal Company LLC had been
                               divested.

6.     20                      This asset is in the divestment process.

6.     21                      As of July 20, 2017, this asset has been divested.

6.     22                      Underlying assets are not disclosed due to preexisting confidentiality agreement. This asset has been
                               divested.

6.     23                      Underlying assets are not disclosed due to preexisting confidentiality agreement. This asset has been
                               divested.

6.     24                      Underlying assets are not disclosed due to preexisting confidentiality agreement. This asset has been
                               divested.
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6.     25                   Underlying assets are not disclosed due to preexisting confidentiality agreement. This asset has been
                            divested.

6.     26                   Underlying assets are not disclosed due to preexisting confidentiality agreement. This asset has been
                            divested.

6.     34                   As of July 20, 2017, this asset has been divested.

6.     35                   As of July 20, 2017, this asset has been divested.

6.     54                   This asset is in the divestment process. Filer and his family lack control over, and knowledge of, the
                            underlying assets held by the portfolio funds that the fund has invested in.

6.     55                   This promissory note arose from a divestment. Promissory note will be repaid by the first quarter of
                            2018. Value of payment fixed as of divestment. Filer and his family lack control over, and knowledge
                            of, the underlying assets held by the portfolio funds that the fund has invested in.

6.     56                   This asset has been divested.

6.     60                   This asset has been divested.

6.     65                   This asset has been divested.

6.     69                   This asset has been divested.

6.     79                   See item 13 for entity structure.

                            Additional information about the structure of this asset was added during the ordinary review process
                            with OGE.

6.     80                   See item 14 for entity structure.

                            Additional information about the structure of this asset was added during the ordinary review process
                            with OGE.

6.     81                   See item 4.33 for entity structure.

                            Additional information about the structure of this asset was added during the ordinary review process
                            with OGE.

6.     82                   As of July 20, 2017, this asset has been divested. Redemption value fixed as on Jan. 1, 2017. Filer and
                            his family lack control over, and knowledge of, the underlying assets held by the fund at the position
                            level. 2016 and 2017 income estimated based on 2015 K-1 statement.

6.     83                   This asset has been divested.

6.     84                   This asset has been divested.

6.     85                   This asset has been divested.
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PART   #                     ENDNOTE

6.     86                    This line item represents holdings in both the Nuveen Municipal Opportunity Fund (NIO) and the
                             Nuveen Enhanced AMT-Free Municipal Credit Opportunities Fund (NVG). NIO was merged into NVG in
                             April of 2016.

6.     87                    This asset has been divested.

6.     88                    This asset has been divested.

6.     89                    This asset has been divested.

6.     90                    This asset has been divested.

6.     91                    This asset has been divested.

6.     93                    This asset has been divested.

6.     94                    This asset has been divested.

6.     95                    This asset has been divested.

6.     97                    This asset has been divested.

6.     98                    This asset has been divested.

6.     101                   This asset has been divested.

6.     102                   This asset has been divested.

6.     103                   This asset has been divested.

6.     104                   This asset has been divested.

6.     105                   This asset has been divested.

6.     106                   This asset has been divested.

6.     109                   This asset has been divested.

6.     110                   This asset has been divested.

6.     113                   This asset has been divested.

6.     114                   This asset has been divested.

6.     115                   This asset has been divested.

6.     117                   This asset has been divested.

6.     118                   This asset has been divested.
             Case 1:17-cv-02693-CKK Document 1-2 Filed 12/17/17 Page 81 of 90

PART   #                     ENDNOTE

6.     120                   This asset has been divested.

6.     121                   This asset has been divested.

6.     124                   See item 4.28 for entity structure.

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     125                   See item 4.18 for entity structure.

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     126                   See item 4.19 for entity structure.

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     127                   This asset has been divested.

6.     128                   This asset has been divested.

                             The structure of this entity is as follows:
                             129.1 BRUCKNER PLAZA CENTER, LLC (Commercial Real Estate in New York, NY)
                             129.1.1 BPA CENTER LLC (Commercial Real Estate in New York, NY)
                             129.1.1.1 666 ASSOCIATES, LP (Commercial Real Estate in New York, NY)
                             129.1.1.1.1 FIFTH K TWO, L.L.C. (Commercial Real Estate in New York, NY)
                             129.1.1.1.1.1 666 FIFTH EQUITY LLC (Commercial Real Estate in New York, NY)
                             129.1.1.1.1.1.1 666 FIFTH ASSOCIATES LLC (Commercial Real Estate in New York, NY)
                             129.1.1.1.2 666 KUSHNER LENDER LLC (Commercial Real Estate in New York, NY)
                             129.1.1.1.2.1 666 FIFTH ASSOCIATES LLC (Commercial Real Estate in New York, NY)
                             129.1.1.1.3 666 FIFTH CLEANING LLC (Commercial Real Estate in New York, NY)

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     129                   This asset has been divested.

6.     130                   This asset has been divested.

6.     151                   As of July 20, 2017, this asset has been divested.

6.     154                   Underlying assets are not disclosed due to preexisting confidentiality agreement. This asset has been
                             divested.

6.     155                   This asset has been divested. 2016 and 2017 income estimated based on 2015 K-1 statement.
             Case 1:17-cv-02693-CKK Document 1-2 Filed 12/17/17 Page 82 of 90

PART   #                     ENDNOTE

6.     156                   This asset has been divested.

                             The structure of this entity is as follows:
                             157.1 666 Fifth Management LLC (Management Company; New York, NY)

                             Additional information about the structure of this asset was added during the ordinary review process
                             with OGE.

6.     157                   This asset has been divested.

6.     158                   After having been inadvertently omitted, this asset was added during the ordinary review process with
                             OGE.

                             The structure of this entity is as follows:
                             159.1 2 Rector Street (NY) JV, LLC (Commercial Real Estate in New York, NY)
                             159.1.1 2 Rector Street (NY), LLC (Commercial Real Estate in New York, NY)

6.     159                   After having been inadvertently omitted, this asset was added during the ordinary review process with
                             OGE.

6.     160                   This asset is in the divestment process.

                             After having been inadvertently omitted, this asset was added during the ordinary review process with
                             OGE.

                             The structure of this entity is as follows:
                             161.1 JCS MONMOUTH MALL-NJ (restaurant at Monmouth Mall, NJ)

6.     161                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     162                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     163                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     164                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     165                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     166                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     167                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.
             Case 1:17-cv-02693-CKK Document 1-2 Filed 12/17/17 Page 83 of 90

PART   #                     ENDNOTE

6.     168                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     169                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     170                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     171                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     172                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     173                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     174                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     175                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     176                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     177                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     178                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     179                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     180                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     181                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     182                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     183                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.
             Case 1:17-cv-02693-CKK Document 1-2 Filed 12/17/17 Page 84 of 90

PART   #                     ENDNOTE

6.     184                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     185                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     186                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     187                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     188                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     189                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     190                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     191                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     192                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     193                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     194                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     195                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     196                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     197                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     198                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     199                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.
             Case 1:17-cv-02693-CKK Document 1-2 Filed 12/17/17 Page 85 of 90

PART   #                     ENDNOTE

6.     200                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     201                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     202                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     203                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     204                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     205                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     206                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     207                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     208                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     209                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     210                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     211                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     212                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     213                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     214                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     215                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.
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PART   #                     ENDNOTE

6.     216                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     217                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     218                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     219                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

6.     220                   This asset has been divested. After having been inadvertently omitted, this asset was added during the
                             ordinary review process with OGE.

8.     2                     Filer holds this line of credit jointly with his mother.

8.     3                     Filer holds this line of credit jointly with his father.

8.     4                     Filer holds this line of credit jointly with his father.

8.     5                     Filer holds this line of credit jointly with his father.

8.     6                     Filer holds this line of credit jointly with his mother.

8.     7                     Filer holds this line of credit jointly with his father.

8.     11                    Filer holds this note jointly with his father.
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Summary of Contents

1. Filer's Positions Held Outside United States Government

Part 1 discloses positions that the filer held at any time during the reporting period (excluding positions with the United States Government). Positions are reportable
even if the filer did not receive compensation.

This section does not include the following: (1) positions with religious, social, fraternal, or political organizations; (2) positions solely of an honorary nature; (3) positions
held as part of the filer's official duties with the United States Government; (4) mere membership in an organization; and (5) passive investment interests as a limited
partner or non-managing member of a limited liability company.


2. Filer's Employment Assets & Income and Retirement Accounts

Part 2 discloses the following:

●   Sources of earned and other non-investment income of the filer totaling more than $200 during the reporting period (e.g., salary, fees, partnership share,
    honoraria, scholarships, and prizes)
●   Assets related to the filer's business, employment, or other income-generating activities that (1) ended the reporting period with a value greater than $1,000 or (2)
    produced more than $200 in income during the reporting period (e.g., equity in business or partnership, stock options, retirement plans/accounts and their
    underlying holdings as appropriate, deferred compensation, and intellectual property, such as book deals and patents)

This section does not include assets or income from United States Government employment or assets that were acquired separately from the filer's business,
employment, or other income-generating activities (e.g., assets purchased through a brokerage account). Note: The type of income is not required if the amount of
income is $0 - $200 or if the asset qualifies as an excepted investment fund (EIF).


3. Filer's Employment Agreements and Arrangements

Part 3 discloses agreements or arrangements that the filer had during the reporting period with an employer or former employer (except the United States
Government), such as the following:

●   Future employment
●   Leave of absence
●   Continuing payments from an employer, including severance and payments not yet received for previous work (excluding ordinary salary from a current employer)
●   Continuing participation in an employee welfare, retirement, or other benefit plan, such as pensions or a deferred compensation plan
●   Retention or disposition of employer-awarded equity, sharing in profits or carried interests (e.g., vested and unvested stock options, restricted stock, future share of
    a company's profits, etc.)


4. Filer's Sources of Compensation Exceeding $5,000 in a Year

Part 4 discloses sources (except the United States Government) that paid more than $5,000 in a calendar year for the filer's services during any year of the reporting
period.
                                            Case 1:17-cv-02693-CKK Document 1-2 Filed 12/17/17 Page 88 of 90
The filer discloses payments both from employers and from any clients to whom the filer personally provided services. The filer discloses a source even if the source
made its payment to the filer's employer and not to the filer. The filer does not disclose a client's payment to the filer's employer if the filer did not provide the services
for which the client is paying.


5. Spouse's Employment Assets & Income and Retirement Accounts

Part 5 discloses the following:

●   Sources of earned income (excluding honoraria) for the filer's spouse totaling more than $1,000 during the reporting period (e.g., salary, consulting fees, and
    partnership share)
●   Sources of honoraria for the filer's spouse greater than $200 during the reporting period
●   Assets related to the filer's spouse's employment, business activities, other income-generating activities that (1) ended the reporting period with a value greater
    than $1,000 or (2) produced more than $200 in income during the reporting period (e.g., equity in business or partnership, stock options, retirement plans/accounts
    and their underlying holdings as appropriate, deferred compensation, and intellectual property, such as book deals and patents)

This section does not include assets or income from United States Government employment or assets that were acquired separately from the filer's spouse's business,
employment, or other income-generating activities (e.g., assets purchased through a brokerage account). Note: The type of income is not required if the amount of
income is $0 - $200 or if the asset qualifies as an excepted investment fund (EIF). Amounts of income are not required for a spouse's earned income (excluding
honoraria).


6. Other Assets and Income

Part 6 discloses each asset, not already reported, that (1) ended the reporting period with a value greater than $1,000 or (2) produced more than $200 in investment
income during the reporting period. For purposes of the value and income thresholds, the filer aggregates the filer's interests with those of the filer's spouse and
dependent children.

This section does not include the following types of assets: (1) a personal residence (unless it was rented out during the reporting period); (2) income or retirement
benefits associated with United States Government employment (e.g., Thrift Savings Plan); and (3) cash accounts (e.g., checking, savings, money market accounts) at a
single financial institution with a value of $5,000 or less (unless more than $200 of income was produced). Additional exceptions apply. Note: The type of income is not
required if the amount of income is $0 - $200 or if the asset qualifies as an excepted investment fund (EIF).


7. Transactions

Part 7 discloses purchases, sales, or exchanges of real property or securities in excess of $1,000 made on behalf of the filer, the filer's spouse or dependent child during
reporting period.

This section does not include transactions that concern the following: (1) a personal residence, unless rented out; (2) cash accounts (e.g., checking, savings, CDs, money
market accounts) and money market mutual funds; (3) Treasury bills, bonds, and notes; and (4) holdings within a federal Thrift Savings Plan account. Additional
exceptions apply.
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8. Liabilities

Part 8 discloses liabilities over $10,000 that the filer, the filer's spouse or dependent child owed at any time during the reporting period.

This section does not include the following types of liabilities: (1) mortgages on a personal residence, unless rented out (limitations apply for PAS filers); (2) loans
secured by a personal motor vehicle, household furniture, or appliances, unless the loan exceeds the item's purchase price; and (3) revolving charge accounts, such as
credit card balances, if the outstanding liability did not exceed $10,000 at the end of the reporting period. Additional exceptions apply.


9. Gifts and Travel Reimbursements

This section discloses:

●   Gifts totaling more than $375 that the filer, the filer's spouse, and dependent children received from any one source during the reporting period.
●   Travel reimbursements totaling more than $375 that the filer, the filer's spouse, and dependent children received from any one source during the reporting period.

For purposes of this section, the filer need not aggregate any gift or travel reimbursement with a value of $150 or less. Regardless of the value, this section does not
include the following items: (1) anything received from relatives; (2) anything received from the United States Government or from the District of Columbia, state, or
local governments; (3) bequests and other forms of inheritance; (4) gifts and travel reimbursements given to the filer's agency in connection with the filer's official travel;
(5) gifts of hospitality (food, lodging, entertainment) at the donor's residence or personal premises; and (6) anything received by the filer's spouse or dependent children
totally independent of their relationship to the filer. Additional exceptions apply.
                                           Case 1:17-cv-02693-CKK Document 1-2 Filed 12/17/17 Page 90 of 90

Privacy Act Statement

Title I of the Ethics in Government Act of 1978, as amended (the Act), 5 U.S.C. app. § 101 et seq., as amended by the Stop Trading on Congressional Knowledge Act of
2012 (Pub. L. 112-105) (STOCK Act), and 5 C.F.R. Part 2634 of the U. S. Office of Government Ethics regulations require the reporting of this information. The primary use
of the information on this report is for review by Government officials to determine compliance with applicable Federal laws and regulations. This report may also be
disclosed upon request to any requesting person in accordance with sections 105 and 402(b)(1) of the Act or as otherwise authorized by law. You may inspect
applications for public access of your own form upon request. Additional disclosures of the information on this report may be made: (1) to any requesting person,
subject to the limitation contained in section 208(d)(1) of title 18, any determination granting an exemption pursuant to sections 208(b)(1) and 208(b)(3) of title 18; (2) to
a Federal, State, or local law enforcement agency if the disclosing agency becomes aware of violations or potential violations of law or regulation; (3) to another Federal
agency, court or party in a court or Federal administrative proceeding when the Government is a party or in order to comply with a judge-issued subpoena; (4) to a
source when necessary to obtain information relevant to a conflict of interest investigation or determination; (5) to the National Archives and Records Administration or
the General Services Administration in records management inspections; (6) to the Office of Management and Budget during legislative coordination on private relief
legislation; (7) to the Department of Justice or in certain legal proceedings when the disclosing agency, an employee of the disclosing agency, or the United States is a
party to litigation or has an interest in the litigation and the use of such records is deemed relevant and necessary to the litigation; (8) to reviewing officials in a new
office, department or agency when an employee transfers or is detailed from one covered position to another; (9) to a Member of Congress or a congressional office in
response to an inquiry made on behalf of an individual who is the subject of the record; (10) to contractors and other non-Government employees working on a
contract, service or assignment for the Federal Government when necessary to accomplish a function related to an OGE Government-wide system of records; and (11)
on the OGE Website and to any person, department or agency, any written ethics agreement filed with OGE by an individual nominated by the President to a position
requiring Senate confirmation. See also the OGE/GOVT-1 executive branch-wide Privacy Act system of records.


Public Burden Information

This collection of information is estimated to take an average of three hours per response, including time for reviewing the instructions, gathering the data needed, and
completing the form. Send comments regarding the burden estimate or any other aspect of this collection of information, including suggestions for reducing this
burden, to the Program Counsel, U.S. Office of Government Ethics (OGE), Suite 500, 1201 New York Avenue, NW., Washington, DC 20005-3917.

Pursuant to the Paperwork Reduction Act, as amended, an agency may not conduct or sponsor, and no person is required to respond to, a collection of information
unless it displays a currently valid OMB control number (that number, 3209-0001, is displayed here and at the top of the first page of this OGE Form 278e).
